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EXHIBIT |

 

 
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Tekita Bryant v. Loews Chicago Hotel, Inc., et al.
2018-CH-09477

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Circuit Court File
07/26/18 Class Action Complaint 1,
08/02/18 Plaintiffs Motion for Class Certification 2,
08/08/18 Affidavit of Service of Summons on ADP 3,
08/15/18 Loews Appearance 4,
08/16/18 Order entering and continuing Motion for Class Certification 5.
08/21/16 Affidavit of Service of Summons on Loews Chicago Hotel, Inc. 6.
09/09/18 Notice of Change of Address 7.
10/15/18 Electronic Notice 8.
10/18/18 ADP, LLC Appearance 9,
11/26/18 Order continuing status 10,
01/25/19 Plaintiff's Notice of Authority 11.
02/21/19 Order setting deadline to answer and setting status 12.
04/05/19 Plaintiff's Motion for leave to file First Amended Complaint 13,
04/12/19 Order granting Motion to file First Amended Complaint 14,
04/12/19 First Amended Complaint 15,

 

 

 

 

 

 

 
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Return Date: No return date scheduled

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12-Person Jury

Hearing Date: 11/26/2018 9:30 AM - 9:30 AM
Courtroom Number: 2305

Location: District 1 Court
Cook County, IL

FILED DATE: 7/26/2018 6:21PM 2018CHO9477

FILED
7/26/2018 5:21 PM

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN
COUNTY DEPARTMENT, CHANCERY DIVISION CIRCUIT CLERK

COOK COUNTY, IL
2018CH09477
TEKITA BRYANT, individually, )
and on behalf of all others similarly situated, )
)
Plaintiff, ) 2018CH09477
} Case No.
v )
)
LOEWS CHICAGO HOTEL, INC., LOEWS — ) JURY TRIAL DEMANDED
CORPORATION, and ADP LLC, )
)
Defendants. j
CLASS ACTION COMPLAINT

 

Plaintiff Tekita Bryant (“Bryant” or “Plaintiff’), by and through her attorneys, individually
and on behalf of all others similarly situated (the “Class”), brings the following Class Action
Complaint (“Complaint”) pursuant to the IHinois Code of Civil Procedure, 735 ILCS §§ 5/2-801
and 2-802, against Loews Chicago Hotel, Inc. (“Loews”), Loews Corporation (“Loews Corp.”),
and ADP LLC (“ADP”) (collectively, “Defendants”), their subsidiaries and affiliates, to redress
and curtail Defendants’ unlawful collection, use, storage, and disclosure of Plaintiff's sensitive
biometric data. Plaintiff alleges as follows upon personal knowledge as to herself, her own acts
and experiences and, as to all other matters, upon information and belief, including investigation
conducted by her attorneys.

NATURE OF THE ACTION
1. Defendant Loews is a luxury hospitality company that owns and operates twenty-

five hotels in the United States and Canada, two of which are located in Illinois.

 

 
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2. When Loews hires an employee, he or she is enrolled in its ADP employee
database. Defendants use the employee database to monitor the time worked by Loews hourly
employees.

3, While many employers use conventional methods for tracking time worked (such
as ID badge swipes or punch clocks), Loews’ employees are required to have their fingerprints
scanned by a biometric timekeeping device.

4, Biometrics are not relegated to esoteric corners of commerce. Many businesses —
such as Defendants’ — and financial institutions have incorporated biometric applications into their
workplace in the form of biometric timeclocks, and into consumer products, including such
ubiquitous consumer products as checking accounts and cell phones.

5. Unlike ID badges or time cards — which can be changed or replaced if stolen or
compromised -- fingerprints are unique, permanent biometric identifiers associated with each
employee. This exposes Loews employees to serious and irreversible privacy risks, For example,
if a database containing fingerprints or other sensitive, proprietary biometric data is hacked,
breached, or otherwise exposed — like in the recent Yahoo, eBay, Equifax, Uber, Home Depot,
MyFitnessPal, Panera, Whole Foods, Chipotle, Omni Hotels & Resorts, Trump Hotels, and
Facebook/Cambridge Analytica data breaches or misuses — employees have #o means by which
to prevent identity theft, unauthorized tracking or other unlawful or improper use of this highly
personal and private information.

6. In 2015, a data breach at the United States Office of Personnel Management
exposed the personal identification information, including biometric data, of over 21.5 million
federal employees, contractors, and job applicants. U.S, Off. of Personnel Mgmt., Cybersecurity

Incidents (2018), available at https://www.opm.gov/cybersecurity/cybersecurity-incidents.

 

 
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7. A black market already exists for biometric data, Hackers and identity thieves have
targeted Aadhaar, the largest biometric database in the world, which contains the personal and
biometric data — including fingerprints, iris scans, and a facial photograph — of over a billion Indian
citizens. See Vidhi Doshi, 4 Security Breach in India Has Left a Billion People at Risk of Identity
Theft, The Washington Post (Jan. 4, 2018), available at https://www.washingtonpost.com/news/
worldviews/wp/201 8/0 1/04/a-security-breach-in-india-has-left-a-billion-people-at-risk-of-
identity-theft/?utm_term=,b3c70259f138. In January 2018, an Indian newspaper reported that the
information housed in Aadhaar was available for purchase for less than $8 and in as little as 10
minutes. Rachna Khaira, Rs 500, 10 Minutes, and You Have Access to Billion Aadhaar Details,
The Tribune (Jan. 4, 2018), available at http:/Awww.tribuneindia.com/news/nation/rs-500-10-
minutes-and-you-have-access-to-billion-aadhaar-details/523361.html.

8, Recognizing the need to protect its citizens from situations like these, Illinois
enacted the Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1, ef seq., specifically to
regulate companies that collect and store IHinois citizens’ biometrics, such as fingerprints.

9, Notwithstanding the clear and unequivocal requirements of the law, Defendants
disregard their employees’ statutorily protected privacy rights and unlawfully collect, store,
disseminate, and use their employees’ biometric data in violation of BIPA. Specifically,
Defendants have violated and continue to violate BIPA because they did not and continue not to:

a. Properly inform Plaintiff and others similarly situated in writing of the
specific purpose and length of time for which their fingerprints were being
collected, stored, disseminated and used, as required by BIPA;

b, Provide a publicly available retention schedule and guidelines for

permanently destroying Plaintiffs and other similarly-situated individuals’
fingerprints, as required by BIPA; and

 

 
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c. Receive a written release from Plaintiff and others similarly situated to
collect, store, disseminate or otherwise use their fingerprints, as required by
BIPA.

10. Plaintiff and other similarly-situated individuals are aggrieved because they were
not: (1) informed in writing of the purpose and length of time for which their fingerprints were
being collected, stored, disseminated and used; (2) provided a publicly available retention schedule
or guidelines for permanent destruction of the biometric data; and (3) provided (nor did they
execute) a written release, as required by BIPA.

fl. Upon information and belief, Defendants Loews and Loews Corp, improperly
disclose their employees’ fingerprint data to at least one out-of-state third-party vendor, ADP,

12, Upon information and belief, Loews and Loews Corp. improperly disclose their
employees’ fingerprint data to other, currently unknown, third parties, including, but not limited
to third parties that host biometric data in their data center(s).

13. Upon information and belief, each Defendant lacks retention schedules and
guidelines for permanently destroying Plaintiffs and other similarly-situated individuals’
biometric data and have not and will not destroy their biometric data as required by BIPA.

14. Plaintiff and others similarly situated are aggrieved by each Defendants’ failure to
destroy their biometric data when the initial purpose for coilecting or obtaining such data has been
satisfied or within three years of the employee’s last interactions with the company.

15. Plaintiff and others similarly situated have suffered an injury in fact based on each
Defendant’s improper disclosures of their biometric data to third parties.

16, Plaintiff and others similarly situated have suffered an injury in fact based on each

Defendant’s violations of their legal rights.

 
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17. These violations have raised a material risk that Plaintiff's and other similarly-
situated individuals’ biometric data will be unlawfully accessed by third parties. The Illinois
Attorney General has just ranked identity theft as the top scam targeting Illinois residents. (See,
e.g., Exhibit A).

18. | Employees have a proprietary right to control their biometric information. In failing
to comply with the requirements of BIPA, employers intentionally interfere with each employee’s
right of possession and control over their valuable, unique, and permanent biometric data.

19, Each Defendant is directly liable for, and had actual knowledge of, the BIPA
violations alleged herein.

20, Accordingly, Plaintiff, on behalf of herself as well as the putative Class, secks an
Order: (1) declaring that each Defendant’s conduct violates BIPA; (2) requiring each Defendant
to cease the unlawful activities discussed herein; and (3) awarding statutory damages to Plaintiff

and the proposed Class.

PARTIES
21. Plaintiff Tekita Bryant is a natural person and a citizen of the State of Illinois.
22. Defendant Loews Chicago Hotel Inc., is a corporation existing under the laws of

the State of Delaware, with its principle place of business in Chicago, Illinois. Loews is registered
with the Illinois Secretary of State and conducts business in the State of Illinois, including Cook
County.

23. Defendant Loews Corporation, the parent company of Loews Chicago Hotel, Inc.,
is a corporation organized and existing under the laws of the State of Delaware, with its principle

place of business in New York, New York.

 

 
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24. Defendant ADP LLC is a Delaware limited liability company that is registered to
do business in Illinois.

JURISDICTION AND VENUE

25. This Court has jurisdiction over Defendants pursuant to 735 ILCS 5/2-209 because
they conduct business transactions in Illinois, committed statutory violations and tortious acts in
Illinois, and are registered to conduct business in Illinois.

26. Venue is proper in Cook County because Defendants conduct business in Cook
County and committed the statutory violations alleged herein in Cook County.

FACTUAL BACKGROUND
I. The Biometric Information Privacy Act.

27. Major national corporations started using Chicago and other locations in Illinois in
the early 2000s to test “new applications of biometric-facilitated financial transactions, including
finger-scan technologies at grocery stores, gas stations, and school cafeterias” 740 ILCS 14/5(c).
Given its relative infancy, an overwhelming portion of the public became weary of this then-
growing yet unregulated technology. See 740 ILCS 14/5.

28. — In late 2007, a biometrics company called Pay by Touch, which provided major
retailers throughout the State of Illinois with fingerprint scanners to facilitate consumer
transactions, filed for bankruptcy. The bankruptcy was alarming to the Illinois legislature because
there was suddenly a serious risk that millions of fingerprint records — which, similar to other
unique biometric identifiers, can be linked to people’s sensitive financial and personal data — could
now be sold, distributed, or otherwise shared through the bankruptcy proceedings without adequate
protections for Illinois citizens. The bankruptcy also highlighted the fact that most consumers who

used the company’s fingerprint scanners were completely unaware the scanners were not

 

 
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transmitting fingerprint data to the retailer who deployed the scanner, but rather to the now-
bankrupt company, and that their unique biometric identifiers could now be sold to unknown third
parties.

29. Recognizing the “very serious need [for] protections for the citizens of Illinois
when it [came to their] biometric information,” [linois enacted BIPA in 2008. See Illinois House
Transcript, 2008 Reg. Sess. No. 276; 740 ILCS 14/5.

30. Additionally, to ensure compliance, BIPA provides that, for each violation, the
prevailing party may recover $1,000 or actual damages, whichever is greater, for negligent
violations and $5,000, or actual damages, whichever is greater, for intentional or reckless
violations. 740 ILCS 14/20.

31. BIPA is an informed consent statute which achieves its goal by making it unlawful
for a company to, among other things, “collect, capture, purchase, receive through trade, or
otherwise obtain a person’s or a customer’s biometric identifiers or biometric information, unless
it first:

a. Informs the subject in writing that a biometric identifier or biometric
information is being collected or stored;

b, Informs the subject in writing of the specific purpose and length of term for
which a biometric identifier or biometric information is being collected,

stored, and used; and

c. Receives a written release executed by the subject of the biometric identifier
or biometric information.”

See 740 ILCS 14/15(b).
32, BIPA specifically applies to employees who work in the State of Illinois, BIPA
defines a “written release” specifically “in the context of employment [as] a release executed by

an employee as a condition of employment.” 740 ILCS 14/10.

 

 
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33. Biometric identifiers include retina and iris scans, voiceprints, scans of hand and
face geometry, and — most importantly here — fingerprints. See 740 ILCS 14/10. Biometric
information is separately defined to include any information based on an individual’s biometric
identifier that is used to identify an individual. Jd.

34.  BIPA also establishes standards for how companies must handle Illinois citizens’
biometric identifiers and biometric information. See, e.g., 740 ILCS 14/15(c)-(d). For example,
BIPA prohibits private entities from disclosing a person’s or customer’s biometric identifier or
biometric information without first obtaining consent for that disclosure. See 740 ILCS
14/15¢d)(1).

35. BIPA also prohibits selling, leasing, trading, or otherwise profiting from a person’s
biometric identifiers or biometric information (740 ILCS 14/15(c)) and requires companies to
develop and compiy with a written policy — made available to the public — establishing a retention
schedule and guidelines for permanently destroying biometric identifiers and biometric
information when the initial purpose for collecting such identifiers or information has been
satisfied or within three years of the individual’s last interaction with the company, whichever
occurs first. 740 TLCS 14/15(a).

36. The [linois legislature enacted BIPA due to the increasing use of biometric data in
financial and security settings, the general public’s hesitation to use biometric information, and —
most significantly — the unknown ramifications of biometric technology. Biometrics are
biologically unique to the individual and, once compromised, an individual is at heightened risk
for identity theft and left without any recourse.

37. BIPA provides individuals with a private right of action, protecting their right to

privacy regarding their biometrics as well as protecting their rights to know the precise nature for

 

 
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which their biometrics are used and how they are being stored and ultimately destroyed. Unlike
other statutes that only create a right of action if there is a qualifying data breach, BIPA strictly
regulates the manner in which entities may collect, store, use, and disseminate biometrics and
creates a private right of action for lack of statutory compliance.

38, Plaintiff, like the Illinois legislature, recognizes how imperative it is to keep
biometric information secure. Biometric information, unlike other personal identifiers such as a
social security number, cannot be changed or replaced if hacked or stolen,

i. Defendants Violate the Biometric Information Privacy Act.

39. By the time BIPA passed through the Illinois legislature in mid-2008, most
companies who had experimented using employees’ biometric data as an authentication method
stopped doing so.

40. However, Defendants failed to take note of the shift in Illinois law governing the
collection and use of biometric data. As a result, each Defendant continues to collect, store, use
and disseminate employees’ biometric data in violation of BIPA.

41. Specifically, when employees are hired by Loews, they are required to have their
fingerprints scanned to enroil them in its ADP employee database(s).

42. Loews uses an employee time tracking system supplied by ADP that requires
employees to use their fingerprint as a means of authentication. Unlike a traditional timeclock, all
Loews employees have to use their fingerprints to “punch” in and out of work.

43. Upon information and belief, Loews fails to inform its employees that it discloses
their fingerprint data to at least one out-of-state third-party vendor, ADP; fails to inform its
employees that it discloses their fingerprint data to other, currently unknown, third parties, which

host the biometric data in their data centers; fails to inform its employees of the purposes and

 

 
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duration for which it collects their sensitive biometric data; and fails to obtain written releases
from employees before collecting their fingerprints.

44, Upon information and belief, ADP fails to inform Loews employees that it discloses
their fingerprint data to other, currently unknown, third parties, which host the biometric data in
their data centers; fails to inform Loews employees of the purposes and duration for which it
collects their sensitive biometric data; and fails to obtain written releases from employees before
collecting their fingerprints.

45. Furthermore, each Defendant fails to provide employees with a written, publicly
available policy identifying their retention schedule and guidelines for permanently destroying
employees’ fingerprints when the initial purpose for collecting or obtaining their fingerprints is no
longer relevant, as required by BIPA.

46. The Pay by Touch bankruptcy, which triggered the passage of BIPA, highlights
why such conduct — where individuals are aware that they are providing a fingerprint but are not
aware to whom or for what purposes they are doing so — is dangerous. This bankruptcy spurred
Hhnois citizens and legislators into realizing that it is crucial for individuals to understand when
providing biometric identifiers such as a fingerprint, who exactly is collecting their biometric data,
where it will be transmitted, for what purposes it will be transmitted, and for how long. Each
Defendant disregards these obligations and their employees’ statutory rights and instead
unlawfully collect, store, use, and disseminate employees’ biometric identifiers and information,
without ever receiving the individual’s informed written consent required by BIPA.

47. Upon information and belief, each Defendant lacks retention schedules and
guidelines for permanently destroying Plaintiff's and other similarly-situated individuals’

biometric data and have not and will not destroy Plaintiffs and other similarly-situated

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individuals’ biometric data when the initial purpose for collecting or obtaining such data has been
satisfied or within three years of the employee’s last interaction with each company.

48. Loews’ employees are not told what might happen to their biometric data if and
when each Defendant merges with another company or worse, if and when each Defendant’s
business folds, or when the other third parties’ that have received their biometric data businesses
fold,

49. Since Defendants neither publish a BIPA-mandated data retention policy nor
disclose the purposes for their collection of biometric data, Loews employees have no idea
whether any Defendant sells, discloses, re-discloses, or otherwise disseminates their biometric
data. Moreover, Plaintiff and others similarly situated are not told to whom any Defendant
currently discloses their biometric data to, or what might happen to their biometric data in the
event of a merger or a bankruptcy.

50. These violations have raised a material risk that Plaintiff's and other similarly-
situated individuais’ biometric data will be unlawfully accessed by third parties.

Sl. By and through the actions detailed above, Defendants disregarded Plaintiff's and
other similarly-situated individuals’ legal rights in violation of BIPA.

YI. ~=—— Plaintiff Tekita Bryant’s Experience

52. Plaintiff Tekita Bryant worked as a Star Service Agent at the Loews Hotel Chicago
O’Hare location located at 5300 North River Road, Rosemont, illinois, 60018. Bryant worked for
Loews from January 2018 until July 2018.

53. As a condition of employment, Bryant was required to scan her fingerprint so
Loews could use it as an authentication method to track her time.

54, Loews subsequently stored Bryant’s fingerprint data in its ADP database(s).

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55. Bryant was required to scan her fingerprint each time she began and ended her
workday.

56. Bryant has never been informed of the specific limited purposes or length of time
for which any Defendant collected, stored, used, and/or disseminated her biometric data.

57. Bryant has never been informed of any biometric data retention policy developed
by any Defendant, nor has she ever been informed whether any Defendant will ever permanently
delete her biometric data.

58. Bryant has never been provided with nor ever signed a written release allowing any
Defendant to collect, store, use or disseminate her biometric data.

59. Bryant has continuously and repeatedly been exposed to the risks and harmful
conditions created by each Defendants’ violations of BIPA alleged herein.

60. No amount of time or money can compensate Bryant if her biometric data is
compromised by the lax procedures through which each Defendant captured, stored, used, and
disseminated her and other similarly-situated individuals’ biometrics, and Bryant would not have
provided her biometric data to any Defendant if she had known that they would retain such
information for an indefinite period of time without her consent.

61. A-showing of actual damages is not necessary in order to state a claim under BIPA,
Nonetheless, Bryant has been aggrieved because she suffered an injury-in-fact based on each
Defendant’s violations of her legal rights. Defendants intentionally interfered with Bryant’s right
to possess and control her own sensitive biometric data. Additionally, Bryant suffered an invasion
of a legally protected interest when each Defendant secured her personal and private biometric

data at a time when it had no right to do so, a gross invasion of her right to privacy. BIPA protects

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employees like Bryant from this precise conduct, and no Defendant had a lawful right to secure
this data or share it with third parties absent a specific legislative license to do so.

62, Bryant’s biometric information is economically valuable, and such value will
increase as the commercialization of biometrics continues to grow. As such, Bryant was not
sufficiently compensated by any Defendant for its retention and use of her and other similarly-
situated employees’ biometric data. Bryant would not have agreed te work for either Defendant
for the compensation she received if she had known that Defendants would retain her biometric
data indefinitely.

63. Bryant also suffered an informational injury because each Defendant failed to
provide her with information to which she was entitled by statute. Through BIPA, the Illinois
legislature has created a right: an employee’s right to receive certain information prior to an
employer securing their highly personal, private and proprietary biometric data — and an injury —
not receiving this extremely critical information.

64. Bryant also suffered an injury in fact because each Defendant improperly
disseminated his biometric identifiers and/or biometric information to third parties, including but
not limited to ADP and any other third party that hosted the biometric data in their data centers, in
violation of BIPA.

65. Pursuant to 740 ILCS 14/15(b), Bryant was entitled to receive certain information
prior to Defendants securing her biometric data; namely, information advising her of the specific
limited purpose(s) and length of time for which each Defendant collects, stores, uses and
disseminates her private biometric data; information regarding each Defendant’s biometric
retention policy; and, a written release allowing each Defendant to collect, store, use, and

disseminate her private biometric data. By depriving Bryant of this information, Defendants

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injured her, Public Citizen v. U.S. Department of Justice, 491 U.S. 440, 449 (1989); Federal
Election Commission v, Akins, 524 U.S, 11 (1998),

66. Finally, as a result of each Defendant’s conduct, Bryant has experienced personal
injury in the form of mental anguish. For example, Bryant experiences mental anguish and injury
when contemplating what would happen to her biometric data if any Defendant went bankrupt,
whether any Defendant will ever delete her biometric information, and whether (and to whom) any
Defendant would share her biometric information.

67. Bryant has plausibly inferred actual and ongoing harm in the form of monetary
damages for the value of the collection and retention of her biometric data; in the form of monetary
damages by not obtaining additional compensation as a result of being denied access to material
information about Defendants’ policies and practices; in the form of the unauthorized disclosure
of her confidential biometric data to third parties; in the form of interference with her right to
control and possess her confidential biometric data; and, in the form of the continuous and ongoing
exposure to substantial and irreversible loss of privacy.

68. As Bryant is not required to allege or prove actual damages in order to state a claim
under BIPA, she seeks statutory damages under BIPA as compensation for the injuries caused by
Defendants.

CLASS ALLEGATIONS

69. Pursuant to the [linois Code of Civil Procedure, 735 ILCS 5/2-801, Plaintiff brings
claims on her own behalf and as a representative of all other similarly-situated individuals pursuant
to BIPA, 740 ILCS 14/1, et seg., to recover statutory penalties, prejudgment interest, attorneys’
fees and costs, and other damages owed,

70. As discussed supra, Section 14/15(b) of BIPA prohibits a company from, among

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other things, collecting, capturing, purchasing, receiving through trade, or otherwise obtaining a
person’s or a customer’s biometric identifiers or biometric information, unless it first (1) informs
the individual in writing that a biometric identifier or biometric information is being collected or
stored; (2) informs the individual in writing of the specific purpose and length of time for which a
biometric identifier or biometric information is being collected, stored, and used; and (3) receives
a written release executed by the subject of the biometric identifier or biometric information. 740
ILCS 14/15,
71, Plaintiff seeks class certification under the Illinois Code of Civil Procedure, 735
ILCS 5/2-801 for the following class of similarly-situated employees under BIPA:
All individuals working for any Defendant in the State of Illinois who had their
fingerprints collected, captured, received, or otherwise obtained or disclosed by any
Defendant during the applicable statutory period.
72. This action is properly maintained as a class action under 735 ILCS 5/2-801
because:
A. The class is so numerous that joinder of all members is impracticable;
B. There are questions of law or fact that are common to the class;
Cc. The claims of the Plaintiff are typical of the claims of the class; and,
D. The Plaintiff will fairly and adequately protect the interests of the class.
Numerosity
73. The total number of putative class members exceeds fifty (50) individuals. The
exact number of class members can easily be determined from Defendants’ payroll records.
Commonality
74, There is a well-defined commonality of interest in the substantial questions of law
and fact concerning and affecting the Class in that Plaintiff and all members of the Class have been

harmed by Defendants’ failure to comply with BIPA. The common questions of law and fact

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include, but are not limited to the following:

class.

75.

76,

A,

K.

Whether any Defendant collected, captured or otherwise obtained
Plaintiff's biometric identifiers or biometric information;

Whether any Defendant properly informed Plaintiff of their purposes for
collecting, using, and storing her biometric identifiers or biometric
information;

Whether any Defendant obtained a written release (as defined in 740 ILCS
14/10) to collect, use, and store Plaintiff's biometric identifiers or biometric
information;

Whether any Defendant has disclosed or re-disclosed Plaintiffs biometric
identifiers or biometric information;

Whether any Defendant has sold, leased, traded, or otherwise profited from
Plaintiff's biometric identifiers or biometric information:

Whether any Defendant developed a written policy, made available to the
public, establishing a retention schedule and guidelines for permanently
destroying biometric identifiers and biometric information when the initial
purpose for collecting or obtaining such identifiers or information has been
satisfied or within three years of their last interaction with the employce,
whichever occurs first;

Whether any Defendant complies with any such written policy (if one
exists);

Whether any Defendant used Plaintiff's fingerprints to identify her;

Whether any Defendant’s violations of BIPA have raised a material risk that
Plaintiff's biometric data will be unlawfully accessed by third parties;

Whether the violations of BIPA were committed negligently; and

Whether the violations of BIPA were committed willfully.

Plaintiff anticipates that Defendants will raise defenses that are common to the

Adequacy

Plaintiff will fairly and adequately protect the interests of all members of the class,

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and there are no known conflicts of interest between Plaintiff and class members. Plaintiff,
moreover, has retained experienced counsel who are competent in the prosecution of complex
litigation and who have extensive experience acting as class counsel.

Typicality

77. The claims asserted by Plaintiff are typical of the class members she seeks to
represent. Plaintiff has the same interests and suffers from the same unlawful practices as the class
members,

78, Upon information and belief, there are no other class members who have an interest
individually controlling the prosecution of his or her individual claims, especially in light of the
relatively smail value of each claim and the difficulties involved in bringing individual litigation
apainst one’s employer. However, if any such class member should become known, he or she can
“opt out” of this action pursuant to 735 ILCS 5/2-801.

Predominance and Superiority

79, ‘The common questions identified above predominate over any individual issues,
which will relate solely to the quantum of relief due to individual class members. A class action
is superior to other available means for the fair and efficient adjudication of this controversy
because individual joinder of the parties is impracticable. Class action treatment will allow a large
number of similarly-situated persons to prosecute their common claims in a single forum
simultaneously, efficiently and without the unnecessary duplication of effort and expense if these
claims were brought individually. Moreover, as the damages suffered by each class member are
relatively small in the sense pertinent to class action analysis, the expenses and burden of

individual litigation would make it difficult for individual class members to vindicate their claims.

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80. Additionally, important public interests will be served by addressing the matter as
a class action. The cost to the court system and the public for the adjudication of individual
litigation and claims would be substantially more than if claims are treated as a class action.
Prosecution of separate actions by individual class members would create a risk of inconsistent
and varying adjudications, establish incompatible standards of conduct for Defendants and/or
substantially impair or impede the ability of class members to protect their interests. The issues in
this action can be decided by means of common, class-wide proof. In addition, if appropriate, the
Court can and is empowered to, fashion methods to efficiently manage this action as a class action.

FIRST CAUSE OF ACTION
Violation of 740 ILCS 14/1, et seq.
(On Behalf of Plaintiff and the Class)

81. Plaintiff incorporates the foregoing allegations as if fully set forth herein, .

82. BIPA requires companies to obtain informed written consent from employees
before acquiring their biometric data. Specifically, BIPA makes it unlawful for any private entity
to “collect, capture, purchase, receive through trade, or otherwise obtain a person’s or a customer’s
biometric identifiers or biometric information unless [the entity] first: (1) informs the subject.,.in
writing that a biometric identifier or biometric information is being collected or stored; (2) informs
the subject...in writing of the specific purpose and length of term for which a biometric identifier
or biometric information is being collected, stored, and used; and (3) receives a written release
executed by the subject of the biometric identifier or biometric information...” 740 ILCS 14/15(b)
(emphasis added).

83.  BIPA also prohibits private entities from disclosing a person’s or customer’s

biometric identifier or biometric information without first obtaining consent for that disclosure.

See 740 ILCS 14/15(d)(1).

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84. Furthermore, BIPA mandates that companies in possession of biometric data
establish and maintain a satisfactory biometric data retention — and, importantly, deletion — policy.
Specifically, those companies must: (1) make publicly available a written policy establishing a
retention schedule and guidelines for permanent deletion of biometric data (at most three years
after the company’s last interaction with the individual); and (ii) actually adhere to that retention
schedule and actually delete the biometric information. See 740 ILCS 14/15(a).

85. Each Defendant fails to comply with these BIPA mandates.

86. Defendant Loews Hotel Chicago, Inc., is a Delaware corporation registered to do
business in [linois and thus qualifies as a “private entity” under BIPA. See 740 ILCS 14/10.

87. Defendant Loews Corporation is a Delaware corporation registered to do business
in Illinois and thus qualifies as a “private entity” under BIPA, See 740 ILCS 14/10.

88. Defendant ADP is a Delaware limited liability company registered to do business
in Illinois and thus qualifies as a “private entity” under BIPA. See 740 ILCS 14/10.

89. Plaintiff is an individual who had her “biometric identifiers” collected by each
Defendant (in the form of her fingerprints), as explained in detail in Sections [J and III, sepra. See
740 ILCS 14/10.

90. Plaintiff's biometric identifiers were used to identify her and, therefore, constitute
“biometric information” as defined by BIPA. See 740 ILCS 14/10.

91, Each Defendant systematically and automatically collected, used, stored, and
disclosed Plaintiff's biometric identifiers and/or biometric information without first obtaining the
written release required by 740 ILCS 14/15(b)(3).

92. | Upon information and belief, Loews systematically disclosed Plaintiff's biometric

identifiers and biometric information to at least one third-party vendor, ADP.

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93. Upon information and belief, each Defendant systematically disclosed Plaintiffs
biometric identifiers and biometric information to other, currently unknown, third parties, which
hosted the biometric data in their data centers.

94. No Defendant informed Plaintiff in writing that her biometric identifiers and/or
biometric information were being collected, stored, used, and disseminated, nor did any Defendant
inform Plaintiff in writing of the specific purpose and length of term for which her biometric
identifiers and/or biometric information were being collected, stored, used and disseminated as
required by 740 ILCS 14/15(b)(1)-(2).

95, No Defendant provides a publicly available retention schedule or guidelines for
permanently destroying biometric identifiers and biometric information as specified by BIPA. See
740 ILCS 14/15(a).

96. —_ By collecting, storing, and using Plaintiff's and the Class’s biometric identifiers
and biometric information as described herein, each Defendant violated Plaintiffs and the Class’s
rights to privacy in their biometric identifiers or biometric information as set forth in BIPA. See
740 ILCS 14/1, ef seq.

97. Upon information and belief, each Defendant lacks retention schedules and
guidelines for permanently destroying Plaintiffs and the Class’s biometric data and have not and
will not destroy Plaintiff's and the Class’s biometric data when the initial purpose for collecting
or obtaining such data has been satisfied or within three years of the employce’s last interaction
with the company.

98. These violations have raised a material risk that Plaintiffs and the Class’s biometric

data will be unlawfully accessed by third parties,

20

 

 

 
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99, On behalf of herself and the Class, Plaintiff seeks: (1) declaratory relief; (2)
injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class by
requiring Defendants to comply with BIPA’s requirements for the collection, storage, and use of
biometric identifiers and biometric information as described herein; (3) statutory damages of
$5,000 for each willful and/or reckless violation of BIPA pursuant to 740 ILCS 14/20(2) or, in
the alternative, statutory damages of $1,000 for each negligent violation of BIPA pursuant to 740
ILCS 14/20(1); and (4) reasonable attorneys’ fees and costs and other litigation expenses pursuant
to 740 ILCS 14/20(3).

SECOND CAUSE OF ACTION
Negligence
(On Behalf of Plaintiff and the Class)

100. Plaintiff incorporates the foregoing allegations as if fully set forth herein.

101, Each Defendant owed Plaintiff and the Class a duty of reasonable care. Such duty
required Defendants to exercise reasonable care in the collection and use of Plaintiff's and the
Class’s biometric data.

102. Additionally, Loews owed Plaintiff and the Class a heightened duty — under which
it assumed a duty to act carefully and not put Plaintiff and the Class at undue risk of harm — because
of the employment relationship of the parties.

103, Each Defendant breached its duties by failing to implement a BIPA-compliant
biometric time tracking system with reasonable data security safeguards.

104. Specifically, each Defendant breached its duties by failing to properly inform
Plaintiff and the Class in writing of the specific purpose or length of time for which their

fingerprints were being collected, stored, used, and disseminated.

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105. Each Defendant also breached its duties by failing to provide a publicly available
retention schedule and guidelines for permanently destroying Plaintiff’s and the Class’s fingerprint
data,

106. Upon information and belief, each Defendant breached its duties because they lack
retention schedules and guidelines for permanently destroying Plaintiff’s and the Class’s biometric
data and have not and will not destroy Plaintiffs and the Class’s biometric data when the initial
purpose for collecting or obtaining such data has been satisfied or within three years of the
employce’s last interaction with either company.

107. These violations have raised a material risk that Plaintiffs and the Class’s biometric
data will be unlawfully accessed by third parties.

108. Asa direct and proximate cause of each Defendant’s negligent misrepresentations,
Plaintiff and the other Class members have suffered from diminution in the unique identifying
value of their biometric information caused by Defendants’ repeated dissemination and exposure
of such information to multiple third-parties, including ADP and data storage vendors, among
others.

109. Defendants knew or should have known that their breach would cause Plaintiff and
the other Class members to experience the foreseeable harms associated with the exposure of their
biometrics to third parties, including the discontinuation of Plaintiff's and the Class member’s
exclusive possession and control of their biometrics and the accompanying loss of the unique
identifying value of their biometrics.

110. Further, each Defendant’s breach of its duty proximately caused and continues to
cause an invasion of Plaintiff's and the Class’s privacy, an informational injury, and mental

anguish, in addition to the statutory damage provided in BIPA.

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111.

Accordingly, Plaintiff seeks an order declaring that Defendants’ conduct constitutes

negligence and awarding Plaintiff and the Class damages in an amount to be calculated at trial.

PRAYER FOR RELIEF

Wherefore, Plaintiff Tekita Bryant respectfully requests that this Court enter an Order:

A.

Certifying this case as a class action on behalf of the Class defined above,
appointing Plaintiff Tekita Bryant as Class Representative and appointing Stephan
Zouras, LLP, as Class Counsel;

Declaring that Defendants’ actions, as set forth above, violate BIPA;

Awarding statutory damages of $5,000 for each willful and/or reckless violation of
BIPA pursuant to 740 ILCS 14/20(2) or, in the alternative, statutory damages of
$1,000 for each negligent violation of BIPA pursuant to 740 ILCS 14/20(1);
Declaring that Defendants’ actions, as set forth above, constitute negligence;
Declaring that Defendants’ actions, as set forth above, were willful;

Awarding injunctive and other equitable relief as is necessary to protect the
interests of Plaintiff and the Class, including an Order requiring Defendants to
collect, store, use and disseminate biometric identifiers and/or biometric

information in compliance with BIPA;

Awarding Plaintiff and the Class their reasonable attorneys’ fees and costs and
other litigation expenses pursuant to 740 TLCS 14/20(3);

Awarding Plaintiff and the Class pre- and post-judgment interest, to the extent
allowable;

Provide such further relief as the Court deems just and equitable.

JURY TRIAL

Plaintiff demands a trial by jury for all issues so triable.

Date: July 26, 2018 Respectfully Submitted,

/sf Haley R. Jenkins
Ryan F. Stephan
James B. Zouras

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Andrew C, Fiezko

Haley R. Jenkins

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hjenkins@stephanzouras.com

 

 
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CERTIFICATE OF SERVICE

I, the attorney, hereby certify that on July 26, 2018, I filed the attached with the Clerk of

the Court using the electronic filing system which will send such filing to all attorneys of record.

/s/ Haley R. Jenkins

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Exhibit A

 

 
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Not Just Security, the Right

Security .

Data Breach QuickView Report

Data Breach Trends - First Six Months of 2017

Sponsored by:
Risk Based Security

Issued in July 2017

Mega breaches continue while pace of disclosure
shows signs of slowing

* There were 2,227 breaches reported in the first half of
2017, exposing over 6 billion records.

* Top 10 breaches exposed 5.6 billion of the 6 billion
records compromised.

* Top 10 Severity scores averaged 9.82 out of 10.0.

* The Business sector accounted for 56.5% of reported
breaches, followed by Unknown (17%}, Government (9.1%)},
Medical {9%}, and Education (8.4%}.

* The Business sector accounted for 93% of the total
records exposed, followed by Government and Unknown
{approximately 3% for each}. Medical and Education sectors
combined accounted for less than 1% of the total records
exposed year to date.

* Web (inadvertent online disclosure} continues to be the
leading cause of records compromised in 2017, accounting
for 68.3% of records exposed, but only 7.1% of incidents
reported so far this year.

* 41.6% of reported breaches were the result of Hacking,
yet accounted for 30.6% of the exposed records.

* Breaches involving U.S, entities accounted for 61% of the
breaches and approximately 30% of the exposed records.

* 29.3% of the breaches exposed between one and 1,000
records, 43.6% of breaches exposed between one and
10,000 records — virtually unchanged from Q12017.

* 121 breaches, or 5.4%, affected Third Parties.

* Fifty (50) breaches - 19 in Q2 and 31 in Q1 - exposed one
million or more records,

* Four 2017 breaches are now on the Top 10 List of All
Time Largest Breaches,

* The company DU Called, replaced River City Media for
the top spot of the single largest breach disclosed, impacting
2 dillion records.

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Mid-Year 2017 Compared to Mid-Year of the Previous Four Years

Number of Incidents by Year - Number of Records Exposed by
First 6 Months Year ~ First 6 Months

9 . In Millions

500 2,275 2,316 6,015
2,000 7 1,718
1,500 7
1,000 4

1491
500 4

379 560 273

       

 

 

 

 

2015 2016 2017

 

2013 2014 2015 2016 2017 2053

Mid-Year 2017 by Industry, by Month

Distribution of Incidents by Industry, by Month

600

 

$00
400
300
200
100
Go
JAN FEB MAR APR MAY JUN
ElBusiness Government § Medical Education Unknown

Distribution of Exposed Records by Industry, by Month

 

100.0%
50.0%
0.0%
JAN FEB MAR APR MAY JUN
3 Business ® Government 2 Medical i Education Unknown

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Mid-Year 2017 Analysis by Breach Type

Top 10 Breach Types - First 6 Months

0 500 £000

Hacking
Skimming
Phishing
Virus

Web
Undisclosed
Email
Fraud/SE

Other Mishandling

 

Stolen Laptop

Top 5 Breach Types by Records Exposed
First 6 Months
0,0% 20.0% 40.0% 60.0% 86.0% 100.0%

 

Web 68.1%

 

Hacking 30.8%

 

Stolen 0.9%
Computer

Virus 0.1%

Stolen 0.1%
Laptop

 

A
( \

The number of phishing incidents
started to decline once the U.S. tax
season came to a close,

Despite being the leading cause of
records exposed, Web
{inadvertent online disclosure)
ranked fifth on number of

\ incidents. SJ
YY

A.
f YY

While not making the top 5 list
very often, a Stolen Computer

from the COMELEC (Philippines
Election Commission) offices
resulted in 55.1 million voter

records exposed.

\ /
Yo

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Mid-Year 2017 Data Breach Analysis by Threat Vector

Number of Incidents
by Threat Vector

Outside

Inside-Accidental

Inside-Unknown

Inside-Malicious

Unknown

 

 

 

 

 

 

$00 1,000 1,500 2,000

Mid-Year 2017 Exposed Records by Threat Vector

 

Mid-Year 2017 ~ Breach Discovery Method

AY
f

16.0% of incidents were
the result of insider
activity, up slightly from
12.1% of incidents
reported in Q12017,

‘N

 

\y

A.

A single insider incident

exposed Two billion records.

~y

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Mid-Year 2017 Top 10 Breaches Data Types and Severity Scores’

 

 

 

 

‘ADD/NAA/NUM

77,000,000. ; = EMA/PWD/USR-

Mid-Year 2017 Analysis by Data Family

 

Percentage of Percentage of
Percentage of Total Exposed Percentage of Total Exposed
Total Breaches Records Total Breaches Records

 

 

   

Data Family Mid-Year 2016 Mid-Year 2016 Mid-Year 2017 Mid-Year 2017

 

   
 

 

  
 

 

Electronic | 90.18%. [> 99.98% | 93.22%. OY 99.98%
Physical 2 E86, 75% : :

 

 

 

 

 

 

 

   

 

 

 

 

  

 

4.62%
Unknown 307% 216%
Mid-Year 2017 Confidentiality Impact
Confidentality Impact a.
f ‘
Unknown , The majority of breaches
4% Potential
15% continue to result in confirmed
unauthorized access to sensitive
data
Confirmed Q f
81% ye

 

 

"See page 13 for additional detail on these incidents.
* See page 17 for a description of abbreviations,

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Mid-Year 2017 Analysis by Data Type - Percentage of Breaches

Incidents by Data Type Exposed

Name
Email Address
Physical Address

Password

  

Social Security Number

Credit Card Number 18.5%
18.5%
17.9%
15.5%
14.4%
12.0%

10.5% r

0,0% $.0% 10.0% §5.0% 20.0% 25.0% 30.0% 35.0% 40.0% 45.0%

  
  
 
 
 
  
 

Financial Account Number £
Undisclosed
User Name
Miscellaneous
Date of Birth

Phone Number

   

 

 

mee pends ip eS bracts impa

   

t cting Social Security.

 

 

 

 

Percentage of Breaches Exposing Data Types YTD 2017 vs. Prior Years

 

 

 

 

 

 

 

Data Type First 6 Months 2017 First 6 6 Months. 2016 _ a4 First 6 Months 2015
Name 40.6% 3 27.8% ne
Email Address 33.2% 45.5%
Physical Address 30.4% 12.38%
Password 28% 52.2%

 

 

 

 

 

 

 

 

 

     

The “W- 2 phishing effect” i is:more evident ‘when comparing | the percentage of breaches impacting
: 2017's top four. data types. over. time. “Access redentials in: the. form: of: username /email address”
and password remain popular. targets, but the: overall number of breaches impacting these records.
has steadily declined during the first half of 2017 as attention turns to data. ‘more alirectly \ useful for:
tax fraud, a Sis 2 . : is iE

 

   

 

 

 

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Mid-Year 2017 Analysis of Records per Breach

 

 

 

   

 

 

 

 

 

 

 

 

 

/

 

 

 

 

 

= Exposed: Records { \
Unknown/Undisclosed 1024 For the third year in a row, the
317 ok ;
1 to 100 number of incidents with
101 to 1,000 336
1,001 to 10,000 320 exposed records either unknown
10,001 to 100,000 132 or unreported increased. At this
36 ar ,
100,001 to 500,000 point in 2015, it was 27.6%; in
500,001 to 999,999 12 ;
4 Mto10 M 30 ‘ 2016, it was 35.4%.
>10M 20 v

 

 

 

Mid-Year 2017 Breach Types/Records Exposed — Top 5

 

| Percentof
Records ©

   

    

/ Breach | ate r of Records Exposed Rec

   

 

Hacking 927 1,839,750,699 1,984,629

 

  

 

 

 

 

 

 

 

 

Skimming 272 4,374 18

Phishing 253 458,964 1,814

Virus/Malware 209 6,918,120 33,101

Web 158 4,069,836,698 25,758,460 67.67%

 

 

 

Mid-Year 2017 Analysis of Incidents by NAICS Economic Sector

Distribution of Incidents by Economic Sector

 

20.0%
18.0%
16.0%
[4.0%
12.0%
10.0%
8.0%
6,0%
4.0%
2,0%
0.0% “——_s
Se ee ch Oo we ee Be PK Ske ht Wt
Ser Od Oe OS i a a a A ST oR
SS PO ot? FSP PF Se ST MH et SK QI
a aS FP VM FSF SF SS Pr BP ge oR od
we ge cm of e wi gr as rs vr YS of * re
* s $ FS Se e ee
Cd & ee ‘ cs RO e RS s
ae q q

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Distribtuion of Business Groups Within Economic Sectors — Top 3

 

         

 

 

 

 

 

Economic Sector oe Business Group
Software / Web Services 79.9%

Information (51) MasMedia st sti‘ 12% CO
Telecommunications = tT 73% |
Non-Hospital Facilities 33.3%

HealthCare (62) Hospitals = ti ttsti(<i‘édO!#*S 295% |
Practitioner Offices = tts 295%
Federal 33.8%

Public Sector (92) ‘State EEE EE EE 20.6% |
cites | 195%

 

 

 

Mid-Year 2017 Analysis by Country

Incidents by Location

Records Exposed by Location

Other

Other
USA USA
Unknown Unknown

  

 

 

- The. Top 10 countries accou unted for 4, 708, or 76. 6% of the breaches es -
‘reported and 97, 7% of the records compromised. a

 

 

 

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Mid-Year 2017 Analysis by Country — Top 10

Incidents by Country ~Top 10

 

United States

 

 

United Kingdom : 164 1367 i A ~
Canada #4 59
India i 52 North America
Australia © 34
uistra’ra accounted for
China 3 22

Uleaine 9 19 64.2% of breaches

Russian Federation § 19 \. A
v

Indonesa 4 18
Tran # 14

Mid-Year 2017 Exposed Records by Country

 

 
    

 

 

 

 

 

 

 

 

 

 

Ranking : Total Bipose :
Shon BIS SSeS Vaso react “Record Es
1 22 China 3,822,024,257 173,728,375 { 3,371,754 48.83%
2 1367 United States 3,746,193,334 2,740,449 1,760 47.86%
3 52 India 179,055,018 3,443,366 308 2.29%
4 2 Philippines 55,254,020 27,627,010 - 0.71%
5 7 Hong Kong 12,041,792 1,720,256 1,890,876 0.15%
6 4 South Africa 6,700,000 1,675,000 - 0.09%
7 104 United Kingdom 2,401,829 23,095 669 0.03%
8 59 Canada 2,107,262 35,716 503 0.03%
3 Finland 1,100,023 550,012 - 0.01%
10 Japan 722,096 103,157 121 0.01%

 

 

 

 

 

 

 

 

Large | breaches affecting’ 1, 000, 000 or. more. jecords heavily. influences the average number of: records
“lost. in. certain countries, The median number. of. records lost j in ‘the. five countries reporting the most,
breaches ranges between ; 308 and L 700, with Australia coming | in at 872.

 

 

 

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Mid-Year 2017 Distribution of Breaches By State

Incidents by US State -
Top 10

140

 

The top 10 states
represent 51% of
US breaches.

FILED DATE: 7/26/2018 5:24 PM 2018CHO09477

 

 

Mid-Year 2017 Analysis of US State Rankings- Exposed Records

 

 

   
  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Exposed “us. Total Dipoe : xpose d . percentas of USA :
Renting | state | Reco ecords/Breach | Exposed Records

1 WA 1,375,336,881 27 50,938,403 73,42%

2 NJ 33,724,579 29 1,162,917 1.31%

3 CA 10,690,370 140 76,360 0.31%

4 NY 8,163,474 90 90,705 0.19%

5 AR 4,890,000 7 698,571 0.16%

6 TX 4,777,984 98 48,755 0.15%

7 GA 3,798,732 23 165,162 0.10%

& MD 2,674,211 44 60,778 0.09%

9 Mi 2,426,296 22 110,286 0.07%

10 FL 1,519,843 94 16,169 0.02%

 

 

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Mid-Year 2017 Breaches Involving Third Parties

Third Party Breaches by Business Type

Medical

f Government

 

El Business
3 Unknown

© Education

 

* Organizations classified in the business sector account for more than 50% of the
breaches impacting data belonging to customers, clients or other 3" parties,

° Three of the largest breaches reported in the first six months impacted 3" parties.

* Hacking remains the dominant breach type for incidents impacting 3 Parties, with
regard to both the number of breaches and the number of records compromised.

 

Third Party Breaches by Breach Type -Top 10

 

 

 

 

 

 

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Mid-Year 2017 — Breach Severity Scores & Scoring

We can all readily agree that not all data breaches are created equal. Where disagreement arises is when we

attempt to rate the ‘severity’ or ‘impact’ of a breach. At Risk Based Security we have combined our knowledge of

the security industry, business experience and our comprehensive data breach information to calculate a Data

Breach Severity Score.

700

600

500

Breach Severity Scores by Quarter

 

 

 

 

400

 

300

 

200

Number of Incidents in Category

 

 

100

 

  

 

0

9.0 - 10.6 | 8.0 - 8.99

 

 

7.0 - 7.99 | 6.0 ~ 6,99 | 5.0 - 5.99 | 4.0 - 4.99 1 3.0- 3.99] 2.0- 2,99] f.0- 1.99 <1

 

1 1Q2017

12 11

27 78 319 $74 244 60 46 4

 

 

8 2Q2017

 

6 5

 

 

44 17 39 245 330 143 18 5

 

 

 

 

 

 

 

 

 

 

 

On: Q positive note, breach. severity. scores: declined i dn. 1 the. second quarter. of. 2107. 58, 2% of
breaches reported in O2 scored 3 Oo r below: while. 2 7% of au reported. breaches, scored 3.0r

below.

 

 

     

 

 

Mid-Year 2017 ~ Breach Severity Scores — Top 10

 

   

    

 

 

 

 

 

anization | Top 10 Summary - :
10 a2 DU Group (web) 2,000,000,000 user phone numbers, names and addresses
dba DU Caller | inappropriately made accessible in an uncensored public directory
10 Q1 NetEase, Inc. | (Hacking) 1,221,893,767 email addresses and passwords stolen by hackers
dba 163.com and sofd on the Dark Web by DoubleFiag
River Cit (Web) 1,374,159,612 names, addresses, IP addresses, and email addresses,
10 Qi Media lic as well as an undisclosed number of financial documents, chat logs, and
‘ backups exposed by faulty rsync backup
(Web) Approximately 198,000,000 voter names, addresses, dates of birth,
10 Q2 Deep Root phone numbers, political party affiliations, and other demographic
Analytics .
information exposed in an unsecured Amazon 53 bucket

 

 

 

 

 

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Score Reported Organization = : Top.10 Summary oe ee
9.96 Q2 Edmodo {Hacking} 77,060,000 user email addresses, usernames, and berypt hashed
passwords with saits stolen by hackers through undisclosed means
9.86 Qi EmailCar (Web} 267,693,854 email addresses and phone numbers exposed in an
unsecure MongoDB installation and jater dumped on the internet
Tencent
9.71 Qi Holdings Ltd | (Hacking) 129,696,449 email addresses and passwords stolen by hackers and
dba QQ.com_ | sold on the Dark Web by DoubleFlag
wag {Web) Roughly 135,000,000 Aadhaar numbers and 100,000,000 linked bank
ocia
9.68 Q2 Assistance account numbers, as well as names, caste, religion, addresses, phone
Programme numbers, photographs, and assorted financial details leaked on government
(india) web portals
9.56 Q2 Youku {Hacking} 91,890,110 user accounts with usernames, email addresses and
MD5 encrypted passwords compromised by hackers and offered for sale
9.45 Ot Yahoo Japan | (Hacking) 23,590,165 email addresses and passwords stolen by hackers and
sold on the Dark Web by DoubleFlag

 

 

 

 

 

Top 20 Largest Breaches All Time (Exposed Records Count)

 

 
 

  

 
  

 

 

 

 

 

 

 

 

 

. Date eae eee are eee
Highest All User phone numbers, names DU Caller
Time and addresses inappropriately 2 Billion Group (DU Business - China
5/13/2017 ‘| made accessible in an P Technology
on Caller}
uncensored public directory
Names, addresses, IP addresses,
and email addresses, as well as
Number 2 . : . . '
3/3/2017 an undisclosed number of 1.3 Billion River City Business - United
financial documents, chat logs, , Media, LLC Technology States
and backups, exposed by faulty
rsync backup.
A database holding email
Number 3 addresses and passwords stolen NetEase, Inc Business ~
2017 .2 Billi , i
1/25/20 by hackers and offered for sale 1.2 Billion dba 163.com Technology China
on the dark web.

 

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summary

 

 

Breach. a

_ | Location

 

Number 4
12/14/2016

While investigating the #4
incident on this list, a second
hacking event was discovered
targeting user names, email
addresses, phone numbers,
dates of birth, hashed passwords
and security questions and
associated answers.

4 Biflion

Yahoo

Business -
Technology

United
States

 

Number 5
9/22/2016

Hack exposes user names, email
addresses, phone numbers,
dates of birth, hashed passwords
and security questions and
associated answers.

500 Million

Yahoo

Business -
Technology

United
States

 

Number 6
40/18/2016

Hackers exploit a Local File
inclusion vulnerability,
compromising member email
addresses, usernames, and
encrypted passwords, IP
addresses and membership
Statuses,

412 Million

FriendFinder
Networks, Inc

Business -
Technology

United
States

 

Number 7
5/27/2016

Hack exposes user account
records containing SHA1
encrypted passwords, email
addresses.

360 Million

MySpace

Business -
Technology

United
States

 

Number 8
1/1/2017

Email addresses and phone
numbers were exposed in an
unsecure MongoDB installation,
which was later downloaded and
dumped on the Internet

267 Million

EmailCar

Business -
Technology

China

 

Number 9
3/22/2014

Hack of websites exposes
names, registration numbers,
usernames and passwords.

220 Million

Organization's
Name has not
been reported

Unknown

South Korea

 

Number 10
12/3/2016

Hackers offer for sale a database
containing a variety of personal
and financial details.

203 Million

Organization’s
Name has not
been reported

Unknown

Unknown

 

Number £1
10/19/2013

Fraudulent account used to gain
access to credit card numbers,
social security numbers, names,
and financial account numbers.

200 Million

Court
Ventures, Inc.

Business - Data

United
States

 

 

Number 12
6/19/2017

 

Unsecured Amazon $3 bucket
exposes voter names, addresses,
dates of birth, contact
information and voter
preferences.

 

198 Million

 

Deep Root
Analytics

 

Business /
Business

United
States

 

 

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Mis-configured database
exposes voter names, dates of

Organization's

 

 

 

 

 

 

 

 

Number 13 Uni
umber birth, addresses, phone 191 Million | Name has not Unknown nited
42/28/2015 . States
numbers, political party been reported
affiliations, and genders.
Number 14 | Hack exposes trip details of NYC Taxi & .
. sige . . Government - United
6/21/2014 customers after cracking MD5 173 Million Limousine .
4 City States
hashes Commission
Organization's .
Number 15 | Hack exposes USA voter ves United
, . 154 Million | Name has not Unknown
6/23/2016 | information. States
been reported
Hack exposed customer names,
IDs, encrypted passwords and
Number 16 | debit/ credit card numbers with 152 Million Adobe Business - United
10/3/2013 expiration dates, source code Systems, Inc. Technology States
and other custemer order
information.
Shanghai
Number 17 | Firm may have illegally bought was Roadway D&B . .
450 Mili . Business - Dat China
3/17/2012 and sold customers’ information. men Marketing are
Services Co.
Hack exposes names, encrypted
Number 18 | passwords, email addresses, 145 Million eBay, Inc Business - United
5/21/2014 | registered addresses, phone Ye ine. Retail States
numbers and dates of birth.
Number 19 North Korean Hackers expose Organization's
ume email addresses and 140 Million | Name has not Unknown South Korea
6/8/2013 . Pe
identification numbers. been reported
;
Leaky governmental websites National Social
Number 20 | expose Aadhaar numbers, ees : Government - .
: . 135 Million Assistance india
5/2/2017 banking detalis, names and Federal
Programme

 

other personal information.

 

 

 

 

 

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Methodology & Terms

Risk Based Security’s research methods include automated processes coupled with traditional human research and
analysis. Our proprietary applications crawl the Internet 24x7 to capture and aggregate potential data breach
breaches for our researchers to analyze. In addition, the research team manually verifies news feeds, blogs, and
other sources looking for new data breaches as well as new information on previously disclosed incidents. The
database also includes information obtained through Freedom of information Act (FOIA) requests, seeking breach
notification decumentation from various state and federal agencies in the United States. The research team
extends our heartfelt thanks to the individuals and agencies that assist with fulfilling our requests for information,

Data Standards and the use of “Unknown”

In order for any data point to be associated with a breach entry, Risk Based Security requires a high degree of
confidence in the accuracy of the information reported as well as the ability to reference a public source for the
information. In short, the research team does not guess at the facts. For this reason the term “Unknown” is used
when the item cannot be verified in accordance with our data validation requirements. This can occur when the
breached organization cannot be identified but leaked data is confirmed to be valid or when the breached
organization is unwilling or unable to provide sufficient clarity to the data point.

Breach Types are defined as follows:

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

‘Name ” EAMES oe es “Description: : : : 2 Ey

Disposal Computer Discovery of computers not t disposed of properly

Disposal Document | Discovery of documents not disposed of properly

Disposal Drive Discovery of disk drives not disposed of properly

Disposal Mobile Discovery of mobile devices not disposed of properly

Disposal Tape Discovery of backup tapes not disposed of properly

Email Email communication exposed to unintended third party

Fax Fax communication exposed to unintended third party

Fraud SE Fraud or scam (usually insider-related), social engineering

Hack Computer-based intrusion

Lost Computer Lost computer (unspecified type In media reports)

Lost Document Discovery of documents not disposed of properly, not stolen

Lost Drive Lost data drive (unspecified if IDE, SCS1, thumb drive, etc.)

Lost Laptop Lost taptop (generally specified as a laptop in media reports)

Lost Media Media (e.g. disks) reported to have been lost by a third party

Lost Mobile Lost mobile phone or device such as tablets, etc.

Lost Tape Lost backup tapes

Missing Document Missing document, unknown or disputed whether lost or stolen

Missing Drive Missing drive, unknown or disputed whether lost or stolen

Missing Laptop Missing laptop, unknown or disputed whether lost or stolen

Missing Media Missing media, unknown or disputed whether lost or stolen

Other Miscellaneous breach type not yet categorized

Phishing Masquerading as a trusted entity in an electronic communication to obtain data
Seizure Forcible taking of property by a government law enforcement official
Skimming Using electronic device (skimmer) to swipe victims’ credit/debit card numbers
Snail Mail Personal information in "snail mail" exposed to unintended third party
Snooping Exceeding intended privileges and accessing data not authorized to view
Stolen Computer Stolen desktop (or unspecified computer type in media reports)

Stolen Document Documents either reported or known to have been stalen by a third party
Stolen Drive Stolen data drive, unspecified if IDE, SCSi, thumb drive, etc.

Stolen Laptop Stolen Laptop (generally specified as a laptop in media reports}

Stolen Media Media generally reported or known to have been stolen by a third party

 

 

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‘| Description:

   

 

Stolen Mobile

Stolen mobile phone or device such as tablets, etc.

 

 

Stolen Tape Stolen backup tapes
Unknown Unknown or unreported breach type

 

Virus (Malware)

Exposure to personal information via virus or Trojan (possibly classified as hack)

 

Web

Web-based intrusion, data exposed to the public via search engines, public pages

 

Data Type Definitions

 

Abbreviation... | Description

 

 

Credit Card Numbers

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CCN

SSN Social Security Numbers (or Non-US Equivalent)
NAA Names

EMA Email Addresses
MISC Miscellaneous

MED Medical

ACC Account Information
DOB Date of Birth

FIN Financial information
UNK Unknown

PWD Passwords

ADD Addresses

USR User Name

NUM Phone Number

IP Intellectual Property

 

NO WARRANTY.

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completeness or that it includes all the latest data breach breaches. The information contained in this report is
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reflect judgment at the time of publication and are subject to change without notice. Any use of the information
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services,

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(about Risk Based Security

Risk Based Security (RBS) provides detailed information and analysis on Data Breaches, Vendor Risk Scores and
Vulnerability Intelligence. Our products, Cyber Risk Analytics (CRA) and VulnDB, provide organizations with
access to the most comprehensive threat intelligence knowledge bases available, including advanced search
capabilities, access to raw data via API, and email alerting to assist organizations in taking the right actions in a
timely manner, In addition, our YourCiSO offering provides organizations with on-demand access to high
quality security and information risk management resources in one, easy to use web portal,

VulnDB is the most comprehensive and timely vulnerabillty intelligence available and provides actionable
information about the latest in security vulnerabilities via an easy-to-use SaaS Portal, or a RESTful API for easy
integration into GRC tools and ticketing systems. VulnDB allows organizations to search on and be alerted to
the latest vulnerabilities, both in end-user software and the third-party libraries or dependencies that help
build applications. A subscription to VulnDB provides organizations with simple to understand ratings and
metrics on their vendors and products, and how each contributes to the organization's risk-profile and cost of
ownership.

Cyber Risk Analytics (CRA) provides actionable security ratings and threat intelligence on a wide variety of
organizations. This enables organizations to reduce exposure to the threats most likely to impact them and
their vendor base. In addition, our PreBreach vendor risk rating, the result of a deep-view into the metrics
driving cyber exposures, are used to better understand the digital hygiene of an organization and the likelihood
of a future data breach. The integration of PreBreach ratings into security processes, vendor management
programs, cyber insurance processes and risk management tools allows organizations to avoid costly risk
assessments, while enabling businesses to understand its risk posture, act quickly and appropriately to
proactively protect its most critical information assets.

 

YourClSO provides organizations with on-demand access to high quality security and information risk
management resources In one, easy to use web portal. YourC!SO provides organization ready access to a
senior executives and highly skilled technical security experts with a proven track record, matched specifically
to your needs. The YourCiSO service is designed to be an affordable long term solution for addressing
information security risks. YourCiSO brings together all the elements an organization needs to develop,
document and manage a comprehensive information security program.

 

For more information, please visit:

https://www.riskbasedsecurity.com/
https://vulndb.cyberriskanalytics.com/
https://www.cyberriskanalytics.com/
https://www.yourciso.com/

Or call 855-RBS- RISK.

NN /

 

 

 

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Return Date: No return date scheduled
Hearing Date: 8/16/2018 9:30 AM - 9:30 AM
Courtroom Number:
Location: FILED
8/2/2018 3:35 PM

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN

CIRCUIT CLERK
COUNTY DEPARTMENT, CHANCERY DIVISION COOK COUNTY IL
B 2018CH09477
g TEKITA BRYANT, individually, )
8 and on behalf of all others similarly situated, }
8 )
a Plaintiff, )
" ) Case No. 2018-CH-09477
5 v )
nN
a )
hl LOEWS CHICAGO HOTEL, INC., LOEWS _)
a CORPORATION, and ADP LLC, }
= )
Defendants. )
NOTICE OF MOTION

PLEASE TAKE NOTICE that on Thursday, August 16, 2018 at_9:30 a.m, or as soon
thereafter as counsel may be heard, I shall appear before the Honorable Pamela M. Meyerson, or
any judge sitting in her stead, in the courtroom usually occupied by her at 50 W. Washington St.,
Chicago, Illinois, Room 2305, and present PLAINTIFF’S MOTION FOR CLASS
CERTIFICATION,

Respectfully submitted,

ts! Haley R. Jenkins
Attorneys for Plaintiff

STEPHAN ZOURAS, LLP

205 N. Michigan Avenue, Suite 2560
Chicago, IL 60601

Telephone: 312-233-1550

 

 
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CERTIFICATE OF SERVICE

I, the attorney, hereby certify that on August 2, 2018, I filed the attached with the Clerk
of the Court using the electronic filing system which will send such filing to all attorneys of

record,

/s/ Haley R. Jenkins

 

 

 
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Return Date: No return date scheduled
Hearing Date: 3/16/2018 9:30 AM - 9:30 AM
Courtroom Number:

Location:

FILED DATE: 8/2/2018 3:35 PM = 2018CH09477

FILED

8/2/2018 3:35 PM

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN
CIRCUIT CLERK

COOK COUNTY, IL

COUNTY DEPARTMENT, CHANCERY DIVISION

2078CH09477
TEKITA BRYANT, individually,

and on behalf of all others similarly situated,

Plaintiff,
Case No. 2018-CH-09477
LOEWS CHICAGO HOTEL, INC., LOEWS

CORPORATION, and ADP LLC,

Defendants.

ne a i adi a

PLAINTIFE’S MOTION FOR CLASS CERTIFICATION AND REQUEST FOR
DISCOVERY ON CERTIFICATION ISSUES

Plaintiff Tekita Bryant (“Plaintiff’) alleges that Defendants, Loews Hotel Chicago, Inc.
(“Loews”), Loews Corporation (“Loews Corp.”) and Kronos, Inc. (Kronos”) (collectively,
“Defendants”), systematically violated the Biometric Information Privacy Act (“BIPA”) 740 ILCS
14/1, ef seg. This case is well suited for class certification pursuant to 735 ILCS 5/2-801.
Specifically, Plaintiff seeks to certify a class consisting of hundreds of former and current
similarly-situated employees who worked for Defendant Loews in the State of Illinois who had
their fingerprints unlawfully collected, captured, received, otherwise obtained, or disclosed by
Defendants during the applicable statutory period in violation of BIPA. The question of liability is
a legal question that can be answered in one fell swoop. As Plaintiff's claims and the claims of
similarly-situated individuals all arise from Defendants’ uniform policies and practices, they
satisfy the requirement of 735 ILCS 5/2-80] and should be certified.

Plaintiff moves for class certification to protect members of the proposed class, employees

whose proprietary and legally protected personal and private biometric data was invaded by

1

 

 
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Defendants. Plaintiff believes that the evidence and argumentation submitted within this motion
are sufficient to allow the class to be certified now. However, in the event the Court (or
Defendants) wishes for the parties to undertake formal discovery prior to the Court’s consideration
of this motion, Plaintiff requests that the Court allow her to supplement her briefing and defer the
response and reply deadlines.
I RELEVANT BACKGROUND
A. The Biometric Information Privacy Act

Major national corporations started using Chicago and other locations in Illinois in the
early 2000s to test “new [consumer] applications of biometric-facilitated financial transactions,
including finger-scan technologies at grocery stores, gas stations, and school cafeterias,” 740 ILCS
14/3(c). Given its relative infancy, an overwhelming portion of the public became wary of this
then-growing, yet unregulated, technology. See 740 ILCS 14/5,

The Biometric Information Privacy Act, 740 ILCS 14/1, et seg, was enacted in 2008,
arising from concerns that these experimental uses of finger-scan technologies created a “very
serious need of protections for the citizens of Illinois when it comes to biometric information.”
Illinois House Transcript, 2008 Reg. Sess. No. 276. Under the Act, it is unlawful for a private
entity to, among other things, “collect, capture, purchase, receive through trade, or otherwise
obtain a person’s or a customer’s biometric identifiers or biometric information unless it first:

(1) Informs the subject ... in writing that a biometric identifier or
biometric information is being collected or stored;

(2) Informs the subject... in writing of the specific purpose and length
of term for which a biometric identifier or biometric information is
being collected, stored, and used; and

(3) Receives a written release executed by the subject of the biometric
identifier or biometric information.”

 

 
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740 ILCS 14/15¢(b).

Although there may be benefits with using biometrics in the workplace, there are also
serious risks. Unlike ID badges or time cards — which can be changed or replaced if stolen or
compromised — fingerprints are a unique, permanent biometric identifier associated with each
individual. These biometrics are biologically unique to the individual; once compromised, the
individual has we means by which to prevent identity theft, unauthorized tracking, or other
unlawful or improper use of this information. This exposes individuals to serious and irreversible
privacy risks. For example, if a biometric database is hacked, breached, or otherwise exposed — as
in the recent Yahoo, eBay, Equifax, Uber, Home Depot, MyFitnessPail, Panera, Whole Foods,
Chipotle, Omni Hotels & Resorts, Trump Hotels, and Facebook/Cambridge Analytica data
breaches, to name a few ~ individuals have no means to prevent the misappropriation and theft of
their proprietary biometric makeup. Thus, recognizing the need to protect its citizens from harms
like these, Illinois enacted BIPA specifically to regulate the collection, use, safeguarding, handling,
storage, retention, and destruction of biometric identifiers and information.

A. Factual Allegations

Plaintiff Tekita Bryant filed this class action against Defendants on July 26, 2018, to
redress Defendants’ unlawful collection, use, storage, and disclosure of biometric information of
their employees under BIPA. In her Class Action Complaint, Chatman provided detailed
allegations that Loews employees were and continue to be universally required to scan their
fingerprints for enrollment in its employee database(s) as a condition of their employment, but are
not: (1) informed in writing of the purpose(s) and length of time for which fingerprint data is being

collected, stored, used, and disseminated by Defendants; (2) provided a publicly available retention

 
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schedule or guidelines for permanent destruction of the data by Defendants; and (3) provided (nor
did they execute) a written release for Defendants, as required by BIPA. See Compl. ff 9-10.
Bryant worked as a Star Service Agent for Loews, at its location located at 5300 North
River Road, Rosemont, Illinois, 60018. Zd. | 52. Bryant worked for Defendant Loews from
approximately January 2018, to July 2018. /d. As an employee and as a condition of her
employment, Bryant was required to scan her fingerprint so that Loews could use it as an
authentication method to track her time. Jd. J 53. Defendants subsequently stored Loews’
fingerprint data in its ADP employee database(s). /d. | 54. Bryant was required to scan her
fingerprint at the start and end of every work day. Jd. 4] 55. However, Defendants failed and
continue to fail to inform C & B’s employees, including Bryant, of the extent of the purposes for
which they collect employees’ sensitive biometric data or to whom the data is disclosed. Id. Jf] 56-
57. Defendants similarly failed to provide Loews’ employees, including Bryant, with a written,
publicly available policy identifying its retention schedule and guidelines for permanently
destroying employees’ fingerprint data when the initial purpose for collecting or obtaining their
fingerprint is no longer relevant, as required by BIPA. fd. Ff] 57, 105. Employees, including
Bryant, have no knowledge when they leave the company of when — if ever — their biometric
identifiers will be removed from Defendants’ database(s). Id. | 47. Loews’ employees are not told
what might happen to their biometric data if and when it merges with another company or, worse,
if and when Defendants’ entire business folds. /d. | 48. Because Defendants neither publishes a
BIPA-mandated data retention policy nor discloses the purposes for its collection of biometric
data, employees, including Bryant, have no idea whether any Defendant sells, discloses, re-
discloses, or otherwise disseminates their biometric data. fd. 49. Nor are employees told to whom

any Defendant currently discloses their biometric data or what might happen to their biometric

 

 
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data in the event of a merger or a bankruptcy. /d. Finally, Defendants never secured a written
release executed by any of Loews’ employees, including Bryant, permitting them to collect, store,
use, and disseminate employees’ biometric data, as required by BIPA. Jd. YJ 9-10, 43-44, 58, 94.

Accordingly, Defendants’ practices violated BIPA. As a result of Defendants’ violations,
Plaintiff and similarly-situated individuals were subject to Defendants’ common and uniform
policies and practices and were victims of its scheme to unlawfully collect, store, use, and
disseminate its employees’ biometric data in direct violation of BIPA. As a result of Defendants’
violations of BIPA, Plaintiff and all other similarly-situated individuals suffered an invasion of
privacy and other damages.!

Plaintiff now seeks class certification for the following similarly-situated individuals,
defined as:

All individuals working for Loews in the State of Illinois who had their fingerprints

collected, captured, received, or otherwise obtained or disclosed by any Defendant

during the applicable statutory peried.

Given Defendants’ standard practices defined above and the straightforward and common
legal questions presented in this case, Plaintiff now moves for class certification. Notably, this
motion is being filed shortly after the Complaint was filed and before any Defendant has
responded. The parties have not discussed settlement, neither settlement offers nor demands have

been made, and a scheduling order has not been issued. For the reasons discussed herein, Plaintiff's

request should be granted.

 

1 BIPA does not require Plaintiff and the putative class to have suffered actual damages. Nonetheless,
Plaintiff and the putative class have suffered an invasion of a legally protected interest when Defendants
secured their personal and private biometric data at a time when it had no right to do so, an invasion of
Plaintiff's and the putative Class’s right to privacy; an informational injury because Defendants did not
provide them with information to which they were entitled by statute; and mental anguish when
contemplating what would happen to their biometric data if and when Defendants go out of business,
whether Defendants will ever delete their biometric information, and whether (and te whom) Defendants
share their biometric information.

 

 

 
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Il STANDARD FOR CLASS CERTIFICATION

“The basic purpose of a class action is the efficiency and economy of litigation.” CE Design
Ltd. v. C & T Pizza, Inc., 2015 IL App. (1st) 131465, 49 Cl. App. Ct. May 8, 2015) (citing Miner
v. Gillette Co,, 87 Ill. 2d 7, 14 (1981)). “In determining whether to certify a proposed class, the
trial court accepts the allegations of the complaint as true and should err in favor of maintaining
class certification.” CE Design Lid., 2015 IL App. (1st) 131465, | 9 (citing Ramirez v. Midway
Moving & Storage, Inc., 378 Ill. App. 3d 51, 53 (2007)). Under Section 2-801 of the Code of Civil
Procedure, a class may be certified if the following four requirements are met:

(1) the class is so numerous that a joinder of all members is impracticable;

(2) there are questions of fact or law common to the class that predominate over any
questions affecting only individual members;

(3) the representative parties will fairly and adequately protect the interest of the class; and

(4) the class action is an appropriate method for the fair and efficient adjudication of the
controversy.

See Smith y, Illinois Cent. R.R. Co.,223 Ill. 2d 441, 447 (2006) (citing 735 ILCS 5/2-801). Notably,
“Ta} trial court has broad discretion in determining whether a proposed class meets the
requirements for class certification.” CE Design Ltd., 2015 IL App. (Ist) 131465, | 9 (citing
Ramirez, 378 Ill. App. 3d at 53), Here, the allegations and facts in this case amply demonstrate
that the four certification factors are met.
lil ARGUMENT

Plaintiff's claims here are especially suited for class certification because Defendants
treated all employees who worked for them identically for the purposes of applying BIPA. All of
the putative class members in this case were uniformly subjected to the same illegal and unlawful

collection, storage, use, and dissemination of their biometric data that was required as a condition

 
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of employment throughout the class period. Plaintiff meets each of the statutory requirements for
maintenance of this suit as a class action. Thus, the class action device is ideally suited and is far
superior to burdening the Court with many individual lawsuits to address the same issues,
undertake the same discovery, and rely on the same testimony.

A. The Class Is So Numerous That Joinder of All Members Is Impracticable,

Numerosity is not dependent on a plaintiff setting forth a precise number of class members
or a listing of their names, See Cruz v. Unilock Chicago, 383 IIL App. 3d 752, 771 (2d Dist. 2008)
(“Of course, plaintiffs need not demonstrate a precise figure for the class size, because a good-
faith, non-speculative estimate will suffice; rather, plaintiffs need demonstrate only that the class
is sufficiently numerous to make joinder of all of the members impracticable.”) (internal citations
omitted); Hayna v. Arby's, Inc., 99 HI. App. 3d 700, 710-11 (Ist Dist. 1981) (“It is not necessary
that the class representative name the specific individuals who are possibly members of the
class.”). Courts in Illinois generally find numerosity when the class is comprised of at least 40
members, See Wood River Area Dey. Corp. vy. Germania Fed. Sav. Loan Ass'n, 198 Ill. App. 3d
445, 450 (Sth Dist. 1990).

In the present case, there can be no serious dispute that Plaintiff meets the numerosity
requirement, The class of potential plaintiffs is sufficiently large to make joinder impracticable.’
As a result of Defendants’ violations of BIPA, Plaintiff and all similarly-situated individuals were
subjected to Defendants’ common and uniform policies and practices and were victims of
Defendants’ schemes to unlawfully collect, store, use, and disseminate their extremely personal

and private biometric data in direct violation of BIPA. As a result of Defendants’ violations of the

 

2 Upon information and belief, Loews employs hundreds of workers, many of whom are members
of the class,

 

 
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Act, Plaintiff and all other similarly-situated individuals suffered an invasion of privacy as well as
informational and personal injury. The precise number in the class cannot be determined until
discovery records are obtained from Defendants, Nevertheless, class membership can be easily
determined by reviewing Defendants’ records. A review of Defendants’ files regarding the
collection, storage, use, and dissemination of employees’ biometric data performed during the
class period is al! that is needed to determine membership in Plaintiff's proposed class. See e.¢.,
Chultem v. Ticor Title Ins. Co., 401 TH. App. 3d 226, 233 (st Dist. 2010) (reversing Circuit Court’s
denial of class certification and holding that class was certifiable over defendant’s objection that
“the proposed class was not ascertainable, because the process of reviewing defendant’s
transaction files to determine class membership would be burdensome”); Young v. Nationwide
Mut. Ins. Co., 693 F.3d 532, 539-40 (6th Cir. 2012) (rejecting the argument that manual review
of files should defeat certification agreeing with district court’s reasoning that, if manual review
was a bar, “defendants against whom claims of wrongful conduct have been made could escape
class-wide review due solely to the size of their businesses or the manner in which their business
records were maintained,” and citing numerous courts that are in agreement, including Perez v.
First Am. Title Ins. Co., 2009 WL 2486003, at *7 (D. Ariz. Aug. 12, 2009) (“Even if it takes a
substantial amount of time to review files and determine who is eligible for the [denied] discount,
that work can be done through discovery”). Once Defendants’ records are obtained, the Court will
know the precise number of persons affected,

Absent certification of this class action, Loews’ employees may never know that their legal

rights have been violated, and as a result, may never obtain the redress to which they are entitled

 

3 “Section 2-801 is patterned after Rule 23 of the Federal Rules of Civil Procedure and, because of
this close relationship between the state and federal provision, ‘federal decisions interpreting Rule 23 are
persuasive authority with regard to questions of class certification in Illinois.” Cruz, 383 HI. App. 3d at
761 (quoting Avery v. State Farm Mutual Automobile Insurance Co,, 216 Mll.2d 100, 125 (2005)).

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under BIPA. Illinois courts have noted that denial of class certification where members of the
putative class have no knowledge of the lawsuit may be the “equivalent of closing the door of
fustice” on the victims. Wood River Area Dev. Corp. v. Germania Fed. Sav, & Loan Assn., 198
I.App.3d 445, 452 (Sth Dist. 1990). Further, recognizing the need to protect its citizens from
harms such as identity theft, IHinois enacted BIPA specifically to regulate the collection, use,
safeguarding, handling, storage, retention, and destruction of biometric identifiers and
information. A class action would help ensure that Plaintiff and all other similarly-situated
individuals have a means of redress against Defendants for its widespread violations of BIPA.

B. Common Questions Of Law And Fact Exist That Predominate Over Any
Questions Solely Affecting Individual Members Of The Class.

Courts analyze commonality and predominance under Section 2-801 by identifying the
substantive issues that will control the outcome of the case. See Bemis v. Safeco Ins. Co. of Am.,
407 Ill. App. 3d 1164, 1167 (Sth Dist. 2011); Cruz, 383 IIL App. 3d at 773. The question then
becomes whether those issues will predominate and whether they are common to the class,
meaning that “favorable adjudication of the claims of the named plaintiffs will establish a right of
recovery in other class members.” Cruz, 383 IIL. App. 3d at 773. As stated by the Court of Appeals,
the question is will “common ... issues be the subject of the majority of the efforts of the litigants
and the court{?]” Bemis, 407 Ill. App. 3d at 1168. The answer here ts “yes.”

At the heart of this litigation is Defendants’ culpable conduct under BIPA. The issues are
simple and straightforward legal questions that plainly lend themselves to class-wide resolution.
Notwithstanding the clear and unequivocal requirements of the law, Defendants disregarded
Plaintiff's and other similarly-situated individuals’ statutorily-protected privacy rights and
unlawfully collected, stored, used, and disseminated their biometric data in direct violation of

BIPA. Specifically, Defendants have violated and continues to violate BIPA because it failed and

 

 
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continues to fail to: (1) inform Plaintiff or the putative class in writing of the specific purpose(s)
and length of time for which their fingerprints were being collected, stored, used, and disseminated
as required by BIPA; (2) provide a publicly available retention schedule and guidelines for
permanently destroying Plaintiff's and the putative class’s fingerprints, as required by BIPA; and
(3) receive a written release from Plaintiff or the putative class to collect, capture, or otherwise
obtain their fingerprints, as required by BIPA. Defendants treated the entire proposed class in
precisely the same manner, resulting in identical violations of BIPA. These common practices
create common issues of law and fact. In fact, the legality of Defendants’ collection, storage, use,
and dissemination of its employees’ biometric data is the focus of this litigation,

Indeed, once this Court determines whether Defendants’ practices of collecting, storing,
and using individuals’ biometric data without adhering to the specific requirements of BIPA
constitutes violations thereof, liability for the claims of class members will be determined in one
stroke. The material facts and issues of law are substantially the same for the members of the class,
and therefore these common issues could be tried such that proof as to one claimant would be
proof as to all members of the class. This alone establishes predominance. The only remaining
questions will be whether Defendants’ violations caused members of the class to suffer damages
and the proper measure of damages and injunctive relief, which in and of themselves are questions
common to the class. Accordingly, a favorable adjudication of the Plaintiffs claims in this case
will establish a right of recovery to all other class members, and thus the commonality and
predominance requirements weigh in favor of certification of the class.

C. The Named Plaintiff And Class Counsel Are Adequate Representatives Of The
Class.

When evaluating adequacy, courts look to whether the named plaintiff has the same

interests as those of the class and whether he or she will fairly represent them. See CE Design Lid.,

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2015 IL App. (1st) 131465, 7 16. In this case, Plaintiffs interest arises from statute. The class
representative, Tekita Bryant, is a member of the proposed class and will fairly and adequately
protect the class’s interests. Plaintiff, as a condition of employment, was required to have her
fingerprints scanned for both accountability and time tracking purposes. Defendants subsequently
stored Plaintiff's fingerprints in their database(s). Plaintiff has never been informed of the specific
limited purposes (if any) or length of time for which any Defendant collected, stored, used, or
disseminated her biometric data. Plaintiff has never been informed of any biometric data retention
policy developed by any Defendant, nor has she ever been informed of whether any Defendant
will ever permanently delete her fingerprints. Finally, Plaintiff has never been provided, nor did
she ever sign, a written release allowing any Defendant to collect, store, use, or disseminate her
fingerprints. Thus, Plaintiff was a victim of the same uniform policies and practices of Defendant
as the individuals she seeks to represent and is not seeking any relief that is potentially antagonistic
to other members of the class. What is more, Plaintiff has the interests of those class members in
mind, as demonstrated by her willingness to sue on a class-wide basis and step forward as the class
representative, which subjects her to discovery, (See Exhibit A — Affidavit of Tekita Bryant). This
qualifies her as a conscientious representative plaintiff and satisfies the adequacy of representation
requirement.

Proposed Class Counsel, Stephan Zouras, LLP, will also fairly and adequately represent
the class. Proposed Class Counsel are highly qualified and experienced attorneys. (See Exhibit B
- Affidavit of Haley R. Jenkins and the Firm Resume attached thereto as Exhibit 1), Stephan
Zouras, LLP, are recognized attorneys in class action lawsuits and have been designated as class
counsel in numerous class actions in state and federal courts. (/d.). Thus, proposed Class Counsel,

too, are adequate and have the ability and resources to manage this lawsuit.

1]

 

 
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D. A_ Class Action Is The Appropriate Method For Fair And_ Efficient
Adjudication Of This Controversy.

Finally, a class action is the most appropriate method for the fair and efficient adjudication
of this controversy, rather than bringing individual suits which could result in inconsistent
determinations and unjust results. “It is proper to allow a class action where a defendant is alleged
to have acted wrongfully in the same basic manner toward an entire class.” P./.’s Concrete
Pumping Service, Inc. v. Nextel West Corporation, 345 Ul. App. 3d 992, 1003 (2d Dist, 2004).
“The purported class representative must establish that a successful adjudication of its individual
claims will establish a right of recovery or resolve a central issue on behalf of the class members.”
Id.

Here, Plaintiff's claim stems from Defendants’ common and uniform policies and
practices, resulting in common violations of BIPA for all members of the class. Thus, class
certification will obviate the need for unduly duplicative litigation that might result in inconsistent
judgments concerning Defendants’ practices. Wenthold v. AT&T Technologies, Inc., 142 Ill. App.
3d 612 (1st Dist. 1986). Without a class, the Court would have to hear dozens, if not hundreds, of
additional individual cases raising identical questions of liability. Moreover, class members are
better served by pooling resources rather than attempting to litigate individually. CE Design Ltd.,
2015 IL App. (1st) 131465, {| 28-30 (certifying TCPA class where statutory damages were alleged
and rejecting arguments that individual lawsuits would be superior). In the interests of justice and
judicial efficiency, it is desirable to concentrate the litigation of all class members’ claims in a
single forum. For all of these reasons, the class action is the most appropriate mechanism to

adjudicate the claims in this case.

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E. In The Event The Court Or Defendants Seeks More Factual Information
Regarding This Motion, The Court Should Allow Supplemental And
Deferred Briefing Following Discovery.

There is no meaningful need for discovery for the Court to certify a class in this matter;
Defendants’ practices and policies are uniform. If, however, the Court wishes for the Parties to
engage in discovery, the Court should keep the instant motion pending during the discovery period,
allow Plaintiff a supplemental brief, and defer Defendants’ response and Plaintiffs reply. Plaintiff
is moving as early as possible for class certification in part to avoid the “buy-off problem,” which
occurs when a defendant seeks to settle with a class representative on individual terms in an effort
to moot the class claims asserted by the class representative. Plaintiff is also moving for class
certification now because the class should be certified, and because no meaningful discovery is
necessary to establish that fact. The instant motion is far more than a placeholder or barebones
memorandum. Rather, Plaintiff's full arguments are set forth based on the facts known at this
extremely early stage of litigation. Should the Court wish for more detailed factual information,
the briefing schedule should be extended.

IV. Conclusion

For the reasons stated above, Plaintiff respectfully requests that the Court enter an Order:
(1) certifying Plaintiffs claims as a class action; (2) appointing Plaintiff Tekita Bryant as Class
Representative; (3) appointing Stephan Zouras, LLP as Class Counsel; and (4) authorizing court-
facilitated notice of this class action to the class. In the alternative, this Court should allow

discovery, allow Plaintiff to supplement this briefing, and defer response and reply briefs.

Date: August 2, 2018 Respectfully Submitted,

és/ Haley R. Jenkins
Ryan F. Stephan
James B. Zouras

Haley R. Jenkins

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ATTORNEYS FOR PLAINTIFF

CERTIFICATE OF SERVICE

L, the attorney, hereby certify that on August 2, 2018, I filed the attached with the Clerk

of the Court using the electronic filing system which will send such filing to all attorneys of

record.

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/s/ Haley RB. Jenkins

 

 
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Exhibit A

 

 
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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, CHANCERY DIVISION

TEKITA BRYANT, individually,
and on behalf of all others similarly situated,

Plaintiff,
Case No, 2018-CH-09477

LOEWS CHICAGO HOTEL, INC., LOEWS
CORPORATION, and ADP LLC,

<<
al

Defendant.

AFFIDAVIT OF TEKITA BRYANT
1, Tekita Bryant, being first duly cautioned, swear and affirm as follows:
|. [am over the age of 18 and competent to testify.
2, Iam the Named Plaintiff and proposed Class Representative in this case.

3, T understand what it means to be a class representative. As a class representative, J am
looking out for the interests of the other class members.

4. I do not have any conflicts with the class members because they were treated like I was
with respect to this lawsuit. I have their interests in mind, as well as my own, in bringing
this lawsuit.

FURTHER YOUR AFFIANT SAYETH NOT.

DoocuSigned by:
7/27/2018 [aan oo
Date: G3EEGRFRI9D457,..

Tekita Bryant

 

 
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Exhibit B

 

 

 
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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, CHANCERY DIVISION

TEKITA BRYANT, individually,
and on behalf of all others similarly situated,

Plaintiff,
Case No. 2018-CH-09477
v.

LOEWS CHICAGO HOTEL, INC., LOEWS
CORPORATION, and ADP LLC,

Defendant,

AFFIDAVIT OF HALEY R. JENKINS
I, Haley R. Jenkins, being first duly cautioned, swear and affirm as follows:
1. Lam one of Plaintiffs Counsel in the above-referenced matter,

2. Isubmit this Affidavit in support of Plaintiff's Motion for Class Certification and Request
for Discovery on Certification Issues.

3. lam an associate of the law firm of Stephan Zouras, LLP. Attached hereto as Exhibit | is

a true and correct copy of the firm’s resume.

FURTHER YOUR AFFIANT SAYETH NOT.

Date: August 1, 2018 (sf Haley R. Jenkins
Haley R. Jenkins

Subscribed and sworn to
before me on this 1° day of |

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, — > ADRIANNA P AL
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Exhibit 1 of
Exhibit B

 
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ATTORNEYS AT LAW stephanzouras.com

 

FIRM PROFILE

STEPHAN ZOURAS, LLP is a law firm concentrating on helping people in class and individual civil litigation. The firm's
attorneys have broad litigation, trial and appellate experience in the areas of wage and hour law and other employment
disputes, mass torts and catastrophic personal injury, consumer protection, products liability and other complex
litigation.

Our Chicago-based firm actively litigates cases in federal and state courts throughout the United States. The firm's two
founding partners, James B. Zouras and Ryan F. Stephan, have successfully prosecuted claims ranging from individual
wrongful death and other catastrophic injury cases to complex, multi-district class and collective actions on behalf of
over one hundred thousand individuals against many of the largest corporations in the world,

PRINCIPAL ATTORNEYS

JAMES B. ZOURAS is a founder and principal of Stephan Zouras, LLP. A 1995 graduate of DePaul University College of
Law, Jim served as Editor of the Law Review, graduated in the top 10% of his class and was admitted to the Order of the
Coif. Jim has helped thousands of people recover tens of millions of dollars in damages in individual and class actions
arising under federal wage and hour laws ineluding the Fair Labor Standards Act ("FLSA") and comparable state wage
laws, other complex litigation, and catastrophic personal injury actions involving wrongful death, vehicle crashes,
products liability, premises liability and construction negligence. Jim has been appointed lead or co-lead counsel on a
large number of contested class actions throughout the United States. He has successfully tried over a dozen jury trials
and argued over 14 appeals as lead appellate counsel before the federal and state appellate courts. In 2000, Him was
named among the Chicago Daily Law Builetin’s "Top 40 Lawyers Under Age 40," one of the youngest lawyers ever
bestowed that honor. Jim and his cases have been profiled by numerous media outlets including the Chicago Tribune,
the Chicago Sun-Times, Bloomberg BNA, Billboard Magazine and TMZ. Jim has also been interviewed by CBS Consumer
Watch. Jim is frequently invited as a speaker at national class action litigation seminars.

RYAN F. STEPHAN is a founder and principal of Stephan Zouras, LLP. A 2000 graduate from Chicago Kent College of
Law, Ryan has helped thousands of clients recover damages in cases involving unpaid overtime, employment disputes,
business litigation, products liability and personal injury. Ryan has successfully tried cases to verdict including obtaining
a $9,000,000 verdict on behalf of 200 employees who were misclassified and denied overtime pay. Ryan has also served
as lead or co-lead counsel on numerous complex class and collective action cases involving wage and hour matters and
has helped recover damages for tens of thousands of wronged employees. In these cases, Ryan has helped establish
precedent in wage ana hour law, forced major corporations to change unlawful employment practices and helped
recover tens of millions of dollars in unpaid wages for his clients. Ryan and his cases have been profiled by numerous
media outlets including Good Morning America, Fortune, ESPN, Fox News, The Guardian, The New York Times, Think
Progress, USA Today and Vice Sports.

Ryan and Jim are admitted to the United States Supreme Court as well as the Trial Bar of the United States District Court
for the Northern District of Illinois. In addition, they have been admitted or admitted pro hac vice to prosecute class
actions in the Southern and Eastern Districts of New York, the District of New Jersey, the Eastern and Middle Districts of

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ATTORNEYS AT LAW stephanzouras.com

    

Pennsylvania, the Western District of North Carolina, the Superior Court for the State of California, the Central District
of Illinois, , the District of Minnesota the Eastern District of Michigan, the Eastern District of Missouri, the District of
Maryland, the Southern District of Ohio, the Northern, Middle and Southern Districts of Florida, the Northern District of
Texas, the District of Massachusetts, the District of Minnesota, the First Judicial District of Pennsylvania, the Western
District of Washington and the Southern and Northern Districts of Iowa.

In every consecutive year since 2009, Chicago Magazine's Super Lawyer Section selected bath Jim and Ryan as two of
the top attorneys in Illinois, a distinction given to no more than 5% of the lawyers in the state.

PARTNERS

ANDREW C. FICZKO graduated from Drake University Law School in 2009. A tireless advocate for working people,
Andy has spent his entire professional career litigating on behalf of empioyees in class and collective actions nationwide.
Andy has helped thousands of clients recover damages in cases involving unpaid minimum and overtime wages and
other benefits. Andy served as the second chair in two major federal jury trials to verdict on behalf of Plaintiffs in wage
and hour matters and one state jury trial to verdict on behalf of Plaintiffs in a breach of contract maiter.

Andy has been admitted to the Trial Bar of the United States District Court for the Northern District of Illinois since
December 2012 and has been admitted or admitted pro hac vice to the Southern District of New York, the Southern
and Northern Districts of Iowa, District of Massachusetts, Eastern District of Pennsylvania, and the Western District of
Washington.

In 2014, 2015, and 2016 Andy was recognized by Chicago Magazine's Super Lawyer section as a Rising Star, a distinction
given to no more than 2.5% of Hlinois lawyers.

TERESA M., BECVAR is a 2013 graduate of Chicago-Kent College of Law, where she served as Editor of the Law Review
and graduated in the top 15% of her class. Teresa assists Stephan Zouras, LLP clients with employment and consumer
protection issues. Teresa has experience working on a wide range of employment cases, including wage and hour class
and collective actions and employment discrimination cases. Teresa has been admitted pro Aac vice to the Eastern and
Southern Districts of New York, the Western District of Washington, the Middle District of Florida and the Central District
of California,

In 2016, Teresa was recognized by Chicago Magazine's Super Lawyer section as a Rising Star, a distinction given to no
more than 2.5% of IHinois lawyers.

ASSOCIATE ATTORNEYS

CATHERINE T. MITCHELL graduated from The John Marshall Law School in 2015. Catherine litigates on behalf of
Stephan Zouras, LLP’s clients in both class action and individual litigation, representing peaple in a wide-range of legal
disputes, including unpaid wages, employee misclassification, mass torts, antitrust, and consumer fraud, Catherine is an
active member of the Women’s Bar Association of illinois and the Young Lawyers Society of the Chicago Bar Association,
and served as a Chapter Editor for the Second Edition of BNA’s Age Discrimination in Employment Act Treatise, Catherine
is admitted to practice in Illinois, the District of Colorado, the Eastern District of Wisconsin (admission pending) and has

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been admitted pro hac vice to the Southern and Eastern District of New York, the District of Florida-Tampa Division, the
Southern District of Jowa and the Eastern District of North Carolina.

HALEY R. JENKINS graduated cum /aude from Chicago-Kent College of Law in 2016. Haley litigates on behalf of
Stephan Zouras, LLP’s clients in both class action and individual litigation. A spirited advocate, Haley represents clients
in legal disputes involving unpaid wages, employee misclassification, antitrust, consumer fraud, whistleblower actions,
and gu/ tam cases, She is currently a member of the jegal team pursuing the first-ever lawsuit for minimum wage
violations on behalf of the cheerleading squad of an NBA team. Haley is admitted to practice in Illinois and the District
of Colorado and has been admitted pro hac vice to the Middle District of Pennsylvania.

OF COUNSEL

DAVID J. COHEN, a highly skilled and successful class-action attorney, joined Stephan Zouras, LLP in April 2016 and
manages our Philadelphia office. Dave has spent 22 years fighting to protect the rights of thousands of employees,
consumers, shareholders, and union members. Before joining Stephan Zouras, Dave worked on, and ran, dozens of
significant antitrust, consumer, employment and securities matters for four highly-regarded Philadelphia firms, Before
Joining the private sector, Dave completed a unique clerkship with the Hon. Stephen E, Levin in the Philadelphia Court
of Common Pleas, during which he not only helped to develop a respected and efficient system for the resolution of
the Court's class action cases, but also contributed to several well-regarded works on class actions. Dave earned a ).D.
from the Temple University School of Law in 1994, While attending law school, Dave was awarded the Barristers Award
for excellence in trial advocacy and worked as a teaching assistant for Hon, Legrome Davis (E.D. Pa.) as part of Temple's
award-winning Integrated Trial Advocacy program. Dave graduated with honors from the University of Chicago in 1991,

Dave is admitted to practice in the United States Court of Appeals for the Third Circuit, the United States Court of
Appeals for the Sixth Circuit, the United States District Court for the Eastern District of Pennsylvania, the United States
District Court for the Middle District of Pennsylvania, the United States District Court for the Western District of
Pennsylvania, the United States District Court for the District of New Jersey and the state courts of Pennsylvania and
New Jersey. He is a member of the American and Philadelphia Bar Associations.

PHILIP J. GIBBONS, JR., a highly-accomplished Plaintiff's class action attorney in his own right, joined Stephan Zouras,
LLP in June 2017 and manages our Charlotte office. Phil focuses entirely on employment law, with an emphasis on
helping employees recover unpaid wages including overtime, Phil began his legal career with a large national law firm,
representing and counseling corporations and employers, Since 2001, Phil has exclusively represented employees, Phil
is recognized by his peers as a highly skilled employment lawyer. He is listed in Best Lawyers in America and Super
Lawyers. In addition, he has a perfect 10.0 rating on Avvo.com and an "A/V" rating with Martindale Hubble, which is the
highest rating an attorney can receive. Phil has extensive experience litigating single and multi-plaintiff wage and hour
lawsuits under the Fair Labor Standards Act, recovering unpaid overtime and minimum wages for thousands of
employees throughout the United States.

Phil is admitted to practice in North Carolina, Indiana, Seventh Circuit Court of Appeals, Sixth Circuit Court of Appeals,

Third Circuit Court of Appeals, Tenth Circuit Court of Appeals, U.S. District Courts Western District North Carolina, Middle
District North Carolina, Southern District of Indiana, Northern District of Indiana, and Eastern District of Michigan.

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REPRESENTATIVE TRIALS, VERDICTS AND JUDGMENTS

Franco, et al. v. Ideal Mortgage Bankers, d/b/a Lend America 12/14/17 ~ Trial Court Judgment
Na, 07-cv-3956 (United Statas District Court for the Eastern District of New York)

The Court entered a $15.2 million judgment on behalf of several hundred loan officers who were deprived of
rninimum wages and overtime in violation of federal and state law,

Frisari v. DISH Network 8/25/16 — Arbitration Judgment
No, 18-160-00743 1-12 (AAA Arbitration)

The Arbitrator certified and granted final judgment in excess of seven figures for a class of over 1,000 New Jersey inside
sales associates who performed wark before and/or after their shifts without pay and were not paid the proper overtime
rate when they worked in excess of 40 hours a week.

Huskey v. Ethicon Inc. 9/10/2014 - Jury Verdict
No, 2:12-cv-05201 (United States District Court for the Southern District of West Virginia)

Stephan Zouras, LLP helped secure a $3,270,000.00 jury verdict in one of the bell-weather trial cases in the multi-district
litigation against Johnson & Johnson's Ethicon unit for defective design, failure to warn and negligence related to
transvaginal mesh device.

Lee v. THR 5/22/14 — Trial Court Judgment
No. 12-cv-3078 (United States District Court for the Central District of Iinois)

As a result of the efforts of class counsel Stephan Zouras, LLP, the Court entered a judgment for a class of employees
given job titles such as "Buyers," “Auditors” and “Managers” for unpaid overtime in the sum of $12,207,880.84.

Vilches et al. v. The Travelers Companies, Inc. 12/12/12 - Arbitration Judgment
No. 77-760-000355-11 (American Arbitration Association)

Following a contested evidentiary hearing, Stephan Zouras, LLP secured a significant monetary award on behalf of a
group of insurance appraiser employees seeking unpaid earned overtime under the FLSA.

Kyriakoulis, at al. v. DuPage Health Center 11/8/12 - Jury Verdict
Ne. 10-cv-7902 (United States District Court for the Northern District of Ilinois)

Stephan Zouras, LLP achieved a favorable jury verdict on behalf of several medical assistants deprived of minimum and
overtime wages in violation of federal and Illinois law.

Smith v. Safety-Ileen Systems, Inc. 7/11/12 - Jury Verdict
No. 10-cv-6574 (United States District Court for the Northern District of illinois)
Stephan Zouras, LLP achieved a favorable jury verdict on behalf of a chemical handler deprived of overtime wages in

this donning and doffing action brought under the FLSA.

Wong v. Wice Logistics 1/30/12 - Jury Verdict
Neo. 08 L 13380 (Circuit Court of Cook County, filinois)

Stephan Zouras, LLP recovered unpaid commissions and other damages for Plaintiff based on her claims under the
lilinois Wage Payment and Collection Act.

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Daniels et al. v. Premium Capital Financing 10/18/11 - Jury Verdict
No. 08-cv-4736 (United States District Court for the Eastern District of New York}

Stephan Zouras, LLP were appointed lead class and trial counsel and achieved a jury verdict in excess of $9,000,000.00
on behalf of over 200 loan officers who were deprived of minimum wages and overtime pay.

Ferrand v. Lopas 5/22/01 - Jury Verdict
No. 00 £ 2502 (Circuit Court of Cook County, Law Division, State of IHlinois)

Jury verdict in excess of available liability insurance policy limits entered in favor of seriously-injured pedestrian, resulting
in Hability against insurance carrier for its bad faith refusal to tender the policy limits before trial.

REPRESENTATIVE RESOLVED CLASS AND COLLECTIVE ACTIONS

Courts have appointed the firm's partners as lead or co-lead counsel in numerous class and collective actions
in which they achieved six, seven and eight-figure verdicts or settlements including:

Kaminski v. Bank of America, NLA. 2/15/17 - Final Approval
No, 16-cv-10844 (United States District Court for the Northern District of Illinois)

Final approval for class settlement in the amount of $850,000 in unpaid wages was granted and awarded to a class of
approximately 100 employees working as Senior Specialist-Securities and Operation Market Professionals.

Byrne v. Centegra Health System 1/29/17 - Final Approval
Na. 717-cv-00078 (United States District Court for the Northern District of Iflinais)

The Court granted final approval of class settlement for $425,000 in unpaid overtime wages on behalf of registered
nurses, physical therapists, occupational therapists, speech therapists and other similarly-designated skilled care
positions who were misclassified as exempt under federal and state wage laws.

Donoghue v. Verizon Communications, Inc. 11/16/17 - Final Approval
No. 16-cv-4742 (United States District Court for the Eastern District of Pennsylvania)

The Court granted final approval of class settlement for $800,0000 in unpaid overtime wages on behalf of wireline
workers who were hired to fill in for Verizon employees during a strike. Despite regularly working 65 hours per week,
these employees were classified as exempt and denied overtime wages.

Tompkins v. Farmers Insurance Exchange 9/27/17 - Final Approval
No. 14-cv-3737 (United States District Court for the Eastern District of Pennsylvania)

The Court granted final approval of a $775,000.00 class settlement on behalf misclassified loan officers seeking unpaid
overtime wages.

In re Sears Holdings Corporation Stockholder and Derivative Litigation 5/9/17 ~ Final Approval
No. 17081-VCL (Court of Chancery of the State of Delaware)

Stephan Zouras, LLP represented the Named Plaintiff in a $40 million settlement in connection with a 2015 sale by Sears
of 235 properties to Seritage Growth Properties.

Oaks v. Sears 4/12/17 - Final Approval
Noa, 1:15-ev-71378 (United States District Court for the Northern District of Ilinois}

Stephan Zouras, LLP settled on behalf of thousands of consumers who own or once owned Sears Kenmore grills in a
product defect class action.

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Hauser v. Alexian Brothers Home Health 4/06/17 - Final Approval
No, 15-cv-6462 (United States District Court for the Northern District of Ifinois)

Stephan Zouras, LLP settled for $1 million on behalf of home health care clinicians who were misclassified as “exempt”
and deprived of earned overtime wages.

Leiner v. Johnson & Johnson 1/31/17 - Finat Approval
No. 15-cv-5876 (United States District Court for the Nerthern District af Hfinois)

The Court granted final approval of a $5 million settlement for consumers nationwide in a consumer fraud class
action. Stephan Zouras, LLP represented consumers who were deceived into paying premium prices for Johnson &
Johnson baby bedtime products which falsely claimed to help babies sleep better.

McPhearson v. 33 Management 11/3/16 — Final Approval
No, 15-ch- 17202 (Circuit Court of Cook County, IL)

The Court granted final approval of class settlement on behalf of tenants of a Chicago apartment building where the
landlords violated the City of Chicago Residential Landlord and Tenant Ordinance by collecting and holding tenant
security deposits without paying interest earned,

Cook v. Bank of America 8/2/16 ~ Final Approval
No. 18-cv-07778 (United States District Court for the Northern District of Hlinols}

The Court granted final approval of $3,250,000 settlement for an Illinois Class and FLSA Collective on behalf of
individuals who worked as Treasury Services Advisors and who were misclassified as exempt from earned overtime

wages,

Altnor v. Preferred Freezer Services, Inc. 7/18/16 - Final Approval
No. 14-cy-7042 (United States District Court for the Eastern District of Pennsylvania}

The firm’s attorneys served as lead counsel in this lawsuit seeking recovery of wages for unpaid meal break work for a
class of 80 cold storage warehouse workers.

Lukas v. Advocate Health Care 6/29/16 — Final Approval
No, 14-cv-2746 (United States District Court for the Northern District of illinois)

The Court granted final approval of a $4,750,000 settlement for a federal FLSA and Illinois Minimum Wage Law collective
class of home health care clinicians who were wrongly classified as “exempt” from federal and state overtime laws.

Kurgan v. Chiro One Wellness Centers LLC 4/27/16 - Final Approval
No. 10-cv-1899 (United States District Court for the Northern District of Hlinois)

The Court granted Plaintiffs’ motion for Section 216(b) certification of Plaintiffs’ FLSA claim, granted Rule 23 certification
of Plaintiffs’ claims under the Illinois Minimum Wage Law and appointed Stephan Zouras, LLP as counsel for a class of
chiropractic technicians and assistants.

Heba v. Comcast 4/6/16 - Final Approval
No, 12-477 (First Judicial District of Pennsylvania Court of Common Pleas of Philadelphia)

The Court granted class certification to Customer Account Executives who worked at Comcast's Pennsylvania call centers
and were required to work 15 minutes a day before their scheduled start time without pay. As lead counsel, Stephan
Zouras, LLP achieved a favorable resolution for over 6,000 class members.

Johnson v. Casey's General Stores, Inc. 3/3/16 — Final Approval
No. 14-cv-3086 (United States District Court for the Western District of Missouri)

The Court granted final approval on behalf of a certified class of employees of Casey's General Stores, Inc. to redress
violations of the Fair Credit Reporting Act (FCRA).

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Fields v. Bancsource, Inc. 2/3/16 - Final Approval
No. 14-cv-7202 (United States District Court for the Northern District of ilinois)

The Court entered an order granted Plaintiffs’ motion for Section 216(b) certification of a class of field engineers who
were deprived of overtime for hours worked in excess of 40 in given workweeks,

Elder, et al. v. Comcast Corporation 1/11/16 - Final Approval
No. 12-cv-1157 (United States District Court for the Northern District of Hlinois)

The Court granted Plaintiffs’ motion for conditional certification and appointed Stephan Zouras, LLP as counsel for a
class of cable technicians who allege they were deprived of overtime wages in violation of federal law.

Posada, et al. v. Continental Home Loans, Inc, 1/13/16 - Final Approval
15-cv-4203 (United States District Court for the Eastern District of New York)

Stephan Zouras, LLP was appointed class counsel and achieved a substantial settlement on behalf of a class of loan
officers deprived of minimum and overtime wages.

Struett v, Susquehanna Bank 10/27/15 — Final Approval
No. 15-cv-176 (United States District Court for the Eastern District of Pennsylvania)

The firm’s attorneys served as co-lead counsel in this jawsuit which recovered $300,000 in unpaid overtime wages for
31 misclassified loan officers.

Faust, et al. v. Comcast Corporation 10/11/15 - Final Approval
No, 10-cv-2336 (United States District Court for the Northern District of Maryland)

The Court granted Plaintiffs’ motion for conditional certification and appointed Stephan Zouras, LLP lead counsel for a
class of call center employees.

Butler, et al. v. Direct Sat 9/3/15 - Final Approval
No, 10-cv-08747 DKC (United States District Court for the District of Maryland)

Stephan Zouras, LLP reached favorable resolution on behalf of a finally-certified collective class of technicians working
in DirectSat's Maryland warehouses who were not paid overtime,

Sosnicki v. Continental Home Loans, Inc. 7/30/15 - Final Approval
No. 12-cv- 1130 (United States District Court for the Eastern District of New York)

As lead class counsel, Stephan Zouras, LLP achieved a six-figure settlement on behalf of a collective class of loan officers
who were deprived of minimum wages and overtime in violation of federal and state law.

Bordell v. Geisinger Medical Center 4/8/15 — Final Approval
No. f2-cv- 1688 (Northumberland Court of Common Pleas)

The firm's attorneys served as lead counsel in this lawsuit which challenged Defendant's workweek averaging practices
and recovered $499,000 in unpaid overtime wages for hospital workers.

Harvey, et al. v. AB Electrolux, et al. 3/23/15 — Final Approval
No, 17-cev-2036 (United States District Court for the Northern District of Iowa)
As lead counsel, Stephan Zouras, LLP achieved a six-figure settlement amount on behalf of hundreds of production

workers seeking unpaid earned wages,
Price v. NCR Corporation 3/18/15 —- Final Approval

No. 51-610-908-12 (AAA Arbitration)
As lead class counsel, Stephan Zouras, LLP achieved a seven figure, arbitrator approved settlement on behalf of

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thousands of Customer Engineers nationwide who were deprived overtime wages in violation of federal law.

Frebes, et al. v. Maske Restaurants, LLC 1/15/15 - Final Approval
Ne. 13-cv-3473 (United States District Court for the Northern District of Illinois)

Stephan Zouras, LLP was appointed class counsel and achieved a substantial settlement on behalf of hundreds of servers,
bartenders and bussers forced to participate in an illegal “tip pooi."

Jones v. Judge Technical Services Inc. 12/15/14 - Final Approval
No, 11 -cv-6970 (United States District Court for the Eastern District of Pennsylvania)

As lead class counsel, Stephan Zouras, LLP prevailed on summary judgment and subsequently achieved a seven-figure
settlement on behalf of IT workers who were designated under the "Professional Day” or “Professional Week"
compensation plan, misclassified as exempt from the FLSA and denied overtime pay.

Howard, et al. v. Securitas Security Services USA, Inc, 5/7/14 - Final Approval
No, 08-cv-2746 (United States District Court for the Northern District of Ilinois)

and Hawkins v. Securitas Security Services USA, Inc.

No. 09-cv-3633 (United States District Court for the Northern District of iHinois)

For settlement purposes, the Court certified a class of approximately ten thousand security guards seeking damages for
unpaid wages and overtime under the FLSA and Illinois Minimum Wage Law.

Thomas v. Matrix Corporation Services 2/12/14 ~ Final Approval
No, 10-cv-5093 (United States District Court for the Northern District of Hlinois)

As lead counsel, Stephan Zouras, LLP achieved a six-figure settlement on behalf of a class of hundreds of technicians
who allege they were deprived of overtime wages in violation of federal law,

Ingram v. World Security Bureau 12/17/13 ~ Final Approval
No. 11-cv-6566 (United States District Court for the Northern District of Ilinois)

Stephan Zouras secured a class settlement on behalf of several hundred security officers deprived of minimum wages
and overtime in violation of federal and state law.

Sexton v. Franklin First Financia! 9/30/13 ~ Final Approval
No, 08-cv-04956 (United States District Court for the Eastern District of New York)

Stephan Zouras, LLP achieved a settlement on behalf of a class of approximately 150 loan officers deprived of minimum
wages and overtime in violation of the FLSA.

Outlaw v. Secure Health, £.P. 9/24/13 - Final Approval
No. 11-cv-602 (United States District Court for the Eastern District of Pennsylvania)

The firm's attorneys served as lead counsel in this lawsuit seeking recovery of wages for unpaid pre-shift, meal break
and uniform maintenance work for a class of 35 nursing home workers.

Robinson v. RCN Telecom Services, Inc. 8/5/13 - Final Approval
No. 10-cv-6841 (United States District Court for the Eastern District of Pennsylvania)

The firm's attorneys served as co-lead counsel in this lawsuit which recovered $375,000 in unpaid overtime wages for
misclassified cable television installers.

Holland v. Securitas Security Services USA, Inc. 7/26/13- Final Approval
No. 8C 394708 (Superior Court of California, County of Los Angeles)

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As class counsel, Stephan Zouras, LLP achieved a six figure settlement on behalf of thousands of security officers who
allege they were deprived of overtime wages in violation of federal law.

Jankoski v. Heath Consultants, inc. 7/2/13 - Final Approval
No, 12-cv-04549 (United States District Court for the Northern District of Ilfinois}

Stephan Zouras, LLP was appointed lead counsel and achieved a settlement on behalf of gas management technicians
deprived of minimum wages and overtime in violation of the FLSA.

Ord v. First National Bank of Pennsylvania 6/21/13 = Final Appreval
No. 12-cv-766 (United States District Court for the Western District of Pennsylvania)

The firm's attorneys served as co-lead counsel in this consumer fraud lawsuit which recovered $3,000,000 for consumers
who had been made to pay improper overdraft fees.

Holley v. Erickson Living Management, LLC 6/13/13 - Final Approvai
No, 11-cv-2444 (United States District Court for the Eastern District of Pennsylvania)

The firm's attorneys served as lead counsel in this lawsuit seeking recovery of wages for unpaid pre-shift and meal break
work for a class of 63 nursing home workers,

Hansen, et al. v. Per Mar Security Services 5/15/13 - Final Approval
No. 09-cv-459 (United States District Court for the Southern District of Iowa)

Stephan Zouras, LLP was appointed class counsel and secured a settlement for hundreds of security guards deprived of
minimum wages and overtime in violation of federal and state law.

Pomphrett v. American Home Bank 3/14/13 - Final Approval
No, 12-ev-2511 (United States District Court for the Eastern District of Pennsylvania)

The firm's attorneys served as co-lead counsel in this lawsuit which recovered $2,400,000 in unpaid overtime wages for
misclassified loan officers.

Murphy v. Rayan Brothers, et al. 2/22/13 - Final Approval
No. 11 CH 03949 (Circuit Court of Cook County, Chancery Division, State of Ilinois)

Stephan Zouras, LLP achieved class wide recovery on behalf of a class of tenants for violations of the Chicago Residential
Landlord and Tenant Ordinance (RLTO),

Glatts v. Crozer-Keystone Health System 2/6/13 - Final Approval
No, 0904-1314 (Philadelphia Court of Common Pleas)

The firm’s attorneys served as co-lead counsel in this lawsuit which challenged Defendant's workweek averaging
practices and recovered $1,200,000 in unpaid overtime wages for hospital workers.

Chambers v. Front Range Environmental, LLC 1/23/13 - Final Approval
No. 12-cv-891 (United States District Court for the Northern District of Hlinois)
Stephan Zouras, LLP was appointed as class counsel and resolved this action on behalf of a class of maintenance workers.

Piehl v. Baytree National Bank 1/3/13 - Final Approval
No. f2-cv- 1364 (United States District Court for the Northern District of IHinois)

Stephan Zouras, LLP was appointed class counsel and resolved this action on behalf of a class of Indiana loan officers

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who were paid on a commission-only basis and deprived of earned minimum wage and overtime in violation of the
FLSA,

Searson v. Concord Mortgage Corporation 11/19/12 - Final Approval
No, 07-cv-3909 (United States District Court for the Eastern District of New York)

Stephan Zouras, LLP achieved @ settlement on behalf of a class of 80 loan officers deprived of minimum wages and
overtime in violation of the FLSA.

ElNenbecker, et al. v. North Star Cable Construction, Inc., et al. 11/14/12 - Final Approval
No, 09-cv-7293 (United States District Court far the Northern District of Hlinois)

Stephan Zouras, LLP obtained Rule 23 certification, were appointed lead counsel, and achieved a significant monetary
resolution for a class of several hundred cable technicians seeking unpaid overtime wages and the recovery of improper
deductions from their pay.

Williams, et al. v. Securitas Security Services USA, Inc. 11/8/12 - Final Approval
No. 10-cv-7187 (United States District Court for the Eastern District of Pennsylvania)

As lead class counsel, Stephan Zouras, LLP achieved a settlement on behalf of a class of Pennsylvania security guards
who were not paid for all time spent in training and orientation.

Lacy, et al. v. The University of Chicago Medical Center 11/6/12 - Final Approval
No. 11-cv-5268 (United States District Court for the Northern District of Illinois)

As lead class counsel, Stephan Zouras, LLP achieved a FLSA settlement for a collective class of hospital respiratory
therapists,

Molyneux, et al. v. Securitas Security Services USA, Inc. 11/5/12 - Final Approval
No. 10-cv-588 (United States District Court for the Southern District of Iowa}

As lead class counsel, Stephan Zouras achieved a settlement on behalf of a class of Iowa and Wisconsin security guards
who were not paid for all time spent in training and orientation.

Davis v. FPI Iowa, LLC 9/6/12 - Final Approval
No. 11-cv-233 (United States District Court for the Southern District of lowa)

As class counsel, Stephan Zouras, LLP achieved a settlement on behalf of a collective class of production employees,

Kernats, et al. v. Comcast Corporation 5/28/12 - Final Approval!
No, 09-cv-3368 (United States District Court for the Northern District of Hlinois)
As lead class counsel, Stephan Zouras, LLP achieved a seven-figure settlement on behalf of over 7,500 Customer Account

Representatives (CAEs} for unpaid wages in a Rule 23 class action brought under Illinois wage law.

Garcia, et al. v. Loffredo Fresh Produce Co.,, Inc. 5/24/12 - Final Approval
No, 11-cv-249 (United States District Court for the Southern District of Iowa)

As class counsel, Stephan Zouras, LLP achieved a settlement on behalf of a collective class of produce processing
employees.

Larsen, et al. v. Clearchoice Mobility, Inc., et al. 3/21/12 - Final Approval
No, 11-cv-1701 (United States District Court for the Northern District of Hlinois)

Stephan Zouras, LLP achieved an FLSA settlement on behalf of a collective class of retail sales consultants.

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Etter v. Trinity Structural Towers 1/26/12 - Final Approval
No. 17-cv-249 (United States District Court for the Southern District of Iowa}
As class counsel, Stephan Zouras, LLP achieved a settlement on behalf of a collective class of production employees.

Petersen, et al v. Marsh USA, Inc. et al. 9/21/11 - Final Approval
No. 10-cv-1506 (United States District Court for the Northern District of Ilinois)

Stephan Zouras, LLP achieved a six-figure settlement on behalf of over 30 analysts who claimed they were misclassified
under the FLSA.

Thompson v. World Alliance Financial Corp. 8/5/11 + Final Approval
No. 08-cv-4947 (United States District Court for the Eastern District of New York)

Stephan Zouras, LLP were appointed lead counsel and achieved a settlernent on behalf of a class of over one hundred
loan officers deprived of minimum wages and overtime in violation of federal and state law.

Vaughan v. Mortgage Source LLC, et al. 6/16/11 - Final Approval
No. 08-cv-4737 (United States District Court for the Eastern District of New York)

Stephan Zouras, LLP were appointed lead counsel and achieved a settlement on behalf of a class of loan officers deprived
of minimum wages and overtime in violation of federal and state law.

Harris, et al. v. Cheddar's Casual Cafe, Inc. 6/1/11 - Final Approval
No. 57 460 00557 10 (AAA Arbitration)

Stephan Zouras served as lead counsel in six-figure class settlement on behalf of over 100 restaurant workers deprived
of minimum wages and overtime.

Turner v. Mercy Health System 4/20/11 - Final Approval
No, 0801-3670 (Philadelphia Court of Common Pleas)

The firm’s attorneys served as co-lead counsel in this lawsuit which challenged Defendant's workweek averaging
practices and, in a case of first Impression, recovered $2,750,000 in unpaid overtime wages for hospital workers.

Brown et al. v. Vision Works, et al. 3/4/11 - Final Approval
No. 18-cv-07130 (United States District Court for the Northern District of Iffinois}

As lead class counsel, Stephan Zouras, LLP achieved a settlement on behalf of retail store managers improperly classified
as exempt from overtime.

Havard v. Osceola Foods, Inc., et al. 2/28/11 - Final Approval!
No. LA CV 09111290 (lowa District for Clarke County, lowa}

As lead class counsel, Stephan Zouras, LLP achieved a class settlement on behalf of meat processing plant employees
who were not properly paid for donning and doffing activities performed before their shifts, during meal breaks and
after their shifts.

Lagunas v. Cargill Meat Solutions Corp. 1/27/11 - Final Approval
No. 10-cv-00220 (United States District Court for the Southern District of Iowa}

Stephan Zouras, LLP served as co-lead counsel in class settlement on behalf of meat processing plant employees who
were not properly paid for donning and doffing activities performed before their shifts, during meal breaks and after
their shifts.

Anderson v. JCG Industries, Inc. 9/2/10 - Final Approval
No. 09-cv-1733 (United States District Court for the Northern District of Hlinois}

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Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 82 of 182 PagelID #:89

ce PoE Re 205 North Michigan Avenue, Suite 2560
Coe Chicago, Iiois 60601
“ poe P 312-233-3590 | F 312-233-1560

ATTORNEYS AT LAW stephanzouras.com

     

As lead class counsel, Stephan Zouras, LLP achieved a six-figure settlement on behalf of meat processing plant
employees who were not properly paid for time worked before their shifts, during meal breaks and after their shifts,

Cedeno, et al. v. Home Mortgage Desk, Corp., et al. 6/15/10 - Final Approval
No, 08-ev-1768 (United States District Court for the Eastern District of New York)

Stephan Zouras, LLP along with co-counsel was appointed lead counsel and achieved a six-figure settlement on behalf
of a Section 216(b} collective class of loan officers deprived of overtime wages.

Perkins, et al. v. Specialty Construction Brands, Inc, 11/15/09 - Final Approval
No. 09-cv-1678 (United States District Court for the Northern District of Hlinois}

As lead class counsel, Stephan Zouras, LLP achieved a six-figure wage and hour settlement on behalf of a collective class
of plant employees for claims of unpaid overtime, including time worked before the start of their shifts, during breaks
and after the end of their shifts,

Wineland, et al. v. Casey's General Stores, Inc. 10/22/09 - Final Approval
No, 08-cv-00020 (United States District Court for the Southern District of Iowa)

Stephan Zouras, LLP along with co-counsel was appointed lead counsel and achieved a seven-figure settlement on
behalf of a Section 216(b) collective class and Rule 23 class of over 10,000 cooks and cashiers for unpaid wages, including
time worked before and after their scheduled shifts and while off-the-clock.

Jones, et al. v. Casey's General Stores, Inc. 10/22/09 - Final Approval
No. 07-ev-400 (United States District Court for the Southern District of Iowa)

Stephan Zouras, LLP along with co-counsel was appointed lead counsel and achieved a seven-figure settlement on
behalf of a Section 2 | 6(b) collective class and Rule 23 class of assistant store managers for unpaid wages, including
time worked before and after their scheduled shifts and while off-the-clock.

Stuart, et ai. v. College Park, et al. 12/11/07 - Final Approval
No. 05 CH 09699 (Circuit Court af Cook County, Chancery Division, State of Hlinois)

The firm's partners served as co-lead counsel in this case brought on behalf of a class of tenants who were seeking the
refund of their security deposits. As a result of their efforts, Mr. Stephan and Mr. Zouras helped achieve a six-figure
settlement on behalf of a class of over 100 tenants.

Huebner et al. v. Graham C Stores 11/15/07 - Final Approval
No. 06 CH 09695 (Circuit Court of Cook County, Chancery Division, State of Ilinois)

Ryan Stephan of Stephan Zouras, LLP served as co-lead counsel in this wage and hour case involving claims for unpaid
wages by a class of gas station employees. Mr. Stephan helped achieve a six-figure settlement for over 100 employees.

Perez, et al. v. RadioShack Corporation 9/14/07 - Final Approval
No, @2-cv-7884 (United States District Court for Northern District of ifinofs)

The firm's partners served as co-lead counsel! in this nationwide Fair Labor Standards Act ("FLSA") overtime action
brought on behalf of 4,000 retail store managers. Plaintiffs claimed they were improperly classified as exempt from the
FLSA and owed overtime compensation for all hours worked in excess of 40 each week. In a case of first impression, the
Court granted summary judgment in favor of a sub-class of Plaintiffs who did not "regularly and customarily" supervise
at least 80 hours of subordinate time per week at least 80% of the time as required by the executive exemption of the
FLSA. The reported decision is Perez v. RadioShack Corp., 386 F. Supp. 979 (N.D. Ill, 2005). As a result of the efforts of

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FILED DATE: 8/2/2018 3:35 PM 2018CHO9477

Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 83 of 182 PagelD #:90

4 Po OP: 205 North Michigan Avenue, Suite 2560
A : pes Chicago, Illinois 60601
. ; P 312-233-1550 | F 312-233-1560

ATTORNEYS AT LAW stephanzouras.com

 

Plaintiffs’ counsel, Plaintiffs obtained a nearly $9 million settlement on the eve of trial,

Reinsmith, et al. v. Castlepoint Mortgage 4/3/07 - Final Approval
Ne. 05-cv-011768 (United States District Court, Eastern District of Massachusetts}

The firm's partners served as co-lead counsel in this action brought on behalf of a collective class of loan officers seeking
to recover unpaid overtime. Mr. Stephan and Mr. Zouras helped achieve a seven-figure settlement on behalf of over

100 loan officers in this case.

Kutcher, et al. v. B&A Associates 11/20/06 - Final Approval
No. 03 CH 07670 (Circuit Court of Cook County, Chancery Division, State of Illinois)

The firm's partners served as co-lead counsel in this case brought on behalf of a class of tenants who were seeking
damages based on alleged security deposit violations. As a result of their efforts, Mr. Stephan and Mr. Zouras helped
achieve a six-figure settlement on behalf of a class of over 100 tenants,

Ciesla, et al. v, Lucent Technologies, Inc. 7/31/06 - Final Approval
Nea. 05-cv- 1641 (United States District Court for the Nerthern District of illinois)
The firm's partners served as co-lead counsel in this breach of contract class action against a high-tech communications

company. Mr. Stephan and Mr. Zouras helped obtain a seven-figure settlement on behalf of the class.

Casale, et al. v. Provident Bank 7/25/05 - Final Approval
No. 04-cy-2009 (United States District Court for the District of New Jersey)

The firm's partners served as co-lead counsel in this case brought on behalf of a collective class of over 100 loan officers
who were seeking damages based on wage and hour violations of the FLSA. As a result of their efforts, Mr. Stephan and
Mr. Zouras helped achieve a seven-figure settlement on behalf of the Plaintiffs.

- Corbin, et al. v. Barry Realty 3/22/05 - Final Approval

No. G2 CH 16003 (Circuit Court of Cook County, Chancery Division, State of iinois)

The firm's partners served as co-lead counsel in this case brought on behalf of a class of tenants who were seeking the
refund and interest on their security deposits as called for by the Chicago Residential Landlord Tenant Ordinance. As a
result of their efforts, Mr. Stephan and Mr. Zouras helped achieve a six-figure settlement on behalf of a class of over
100 tenants,

BIOMETRIC INFORMATION PRIVACY CLASS ACTION LAWSUITS

Our firm is at the forefront of BIPA litigation to protect the biometric data and privacy of employees and
consumers. We have brought numerous class action lawsuits against employers and other retail businesses
who have collected biometric data without consent and without instituting the proper safeguards including:

* Doporcyk, et al. v. Mariano’s
No. 17-cv-05250 (United States District Court for the Northern District of Ilinois)
e =DBixon, et al. v. Smith Senior Living
No. 17-cv-08033 (United States District Court for the Northern District of Ifinois)
« Fields, et af. v. Abra Auto Body & Glass
No, 17-CH-12277 (Circuit Court of Cook County, Chancery Divisien, State of Ilinois)

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Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 84 of 182 PagelID #:91

    

i SoS 205 North Michigan Avenue, Suite 2560
oe Chicago, Hlinois 60601
~ a P 312-243-1560 | F 342-233-1560

TORNEYS AT LAW stephanzouras.com

Goings, et al. v. Applied Acoustics
No. 77-CH-14944 (Circuit Court of Cook County, Chancery Division, State of Hlinois)

_ Liu, et al. v. Four Seasons

No. 17-CH-14949 (Circuit Court of Cook County, Chancery Division, State of Hinais)
Mims, et al. v. Hilton

No. 17-CH-15781 (Circuit Court of Cook County, Chancery Division, State of Hfinais)
Morris, et al. v. Wow Bao

No. 17-CH-12029 (Circuit Court af Cook County, Chancery Division, State of Hlinois)
Ogen, et al. v. Wyndham Hotels & Resorts

No. 17-CH- 15626 (Circuit Court of Cook County, Chancery Division, State of Illinois)
Watts, et al. v. Chicago Lakeshore Hospital

No. 17-cv-07773 (United States District Court for the Northern District of Ilinois)
Williams, et al. v. Rockford Tool

No. 17-CH-000770 (Circuit Court of Winnebago County, Chancery Division, State of Ilinais)

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Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 85 of 182 PagelID #:92

 
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SHERIFF'S OFFICE OF COOK COUNTY
AFFIDAVIT OF SERVICE

 

CASENUMBER: 2018CHO9477 SHERIFFNUMBER: 02845966 MULT.SER.: 1 DOC. TYPE: CHAN
DIEDATE: 08/18/2018 RECEIVEDDATE: 07/31/2018 FILED DATE: 07/26/2018 DIST: 604

DEFENDANT: ADP LLC PLAINTIFF: | BRYANT, TEKITA
ADDRESS: 208 S LASALLE ATTORNEY: STEPHAN ZOURAS LLP
CITY: CHICAGO ADDRESS: 208 N MICHIGAN 2560
STATE: IL ZIP CODE: 60604 CITY: CHICAGO

ATTACHED FEE AMT: STATE: IL ZIP CODE: 60601

SERVICE INFORMATION: RM 802 CT CORPORATION SYSTEM

 

| CERTIFY THAT | SERVED THE DEFENDANT/RESPONDENT AS FOLLOWS:
(1) PERSONAL SERVICE: BY LEAVING A COPY OF THE WRIT/ORDER WITH THE DEFENDANT/RESPONDENT
Oo PERSONALLY, AND INFORMING DEFENDANT/RESPONDENT OF CONTENTS.
(2} SUBSTITUTE SERVICE: BY LEAVING A COPY OF THE SUMMONS AND COMPLAINT AT THE DEFENDANT'S USUAL
PLACE OF ABODE WITH A FAMILY MEMBER OR PERSON RESIDING THERE, 13 YEARS OR OLDER, AND INFORMING
(1 THAT PERSON OF THE CONTENTS OF THE SUMMONS. ALSO, A COPY OF THE SUMMONS WAS MAILED TO THE
"DEFENDANT AT HIS OR HER USUAL PLACE OF ABODE ON THE DAY OF _ 20.
(3) UNKNOWN OCCUPANTS: BY LEAVING A COPY OF THE SUMMONS AND COMPLAINT NAMING "UNKNOWN
OCCUPANTS" WITH A PERSON OF THE AGE GF 13 OR UPWARDS OCCUPYING SAID PREMISE,
(4) CORP/CO/BUS/PART: BY LEAVING THE APPROPRIATE NUMBER OF COPIES OF THE SUMMONS, COMPLAINTS,
m INTERROGATORIES, JUDGMENTS, CERTIFICATIONS AND NOTICES WITH THE REGISTERED AGENT, AUTHORIZED
—— PERSON OR PARTNER OF THE DEFENDANT CORPORATION __—-s«s COMPANY____ BUSINESS PARTNERSHIP ___

(5) PROPERTY RECOVERED: NO ONE PRESENT TO RECEIVE ORDER OF COURT. ORDER POSTED IN PLAIN VIEW,

(6) S.0.$/D.0.1.: BY LEAVING THE SUMMONS AND COMPLAINT WITH THE SECRETARY OF THE STATE/DIRECTOR OF
ti INSURANCE OF THE STATE OF ILLINOIS, AN AGENT OF SAID DEFENDANT LISTED ABOVE. ANY AGENT OF SAID

——~—~ CORPORATION NOT FOUND IN THE COUNTY OF COOK,
O

Jo

O

7} CERTIFIED MAIL

**** COMPLETE THIS SECTION IF WRIT IS A THIRD PARTY CITATION/GARNISHMENT ****
(8) AND BY MAILING ON THE ___ DAY OF 20 A COPY OF THE THIRD PARTY GARNISHMENT/CITATON
SUMMONS AND NOTICE TO THE JUDGMENT DEBTOR'S LAST KNOWN ADDRESS AS INDICATED IN THE NOTICE
WITHIN (2} BUSINESS DAYS OF SERVICE UPON GARNISHEE/THIRD PARTY DEFENDANT.

 

 

 

THE NAMED DEFENDANT WAS NOT SERVED FOR THE GIVEN REASON BELOW:

 

 

O.. (01)NoOcoNnTACT 0 (05) WRONG ADDRESS 0) (09) DECEASED
Oo (02) MOVED 1 = {06) NO SUCH ADDRESS (10) NO REGISTED AGENT
[J (03) EMPTY LOT OO (07) EMPLOYER REFUSAL (14) OUT OF COOK COUNTY
CF (04) NOT LISTED OG (08) CANCELLED BY PLAINTIFF ATTY (12) OTHER REASON (EXPLAIN)
EXPLANATION:
WRIT SERVED ON: K STARKS ATTEMPTED SERVICES
SEX: F RACE: BL AGE: 40 Date Time Star #

 

THIS 03 DAY OF August 20 18
TIME: 71:50 AM

 

 

THOMAS J. DART,
SHERIFF, BY: /S/ | THOMAS, JOSHUA D/S #11069 |, DEPUTY

Page 1 of 2

 
Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 87 of 182 PagelD #:94

SHERIFF'S OFFICE OF COOK COUNTY
AFFIDAVIT OF SERVICE

 

CASE NUMBER: 2018CH09477 SHERIFF NUMBER: 02845966 MULT.SER.: 1 DOC. TYPE: CHAN
DIEDATE: 08/18/2018 RECERVED DATE: 07/31/2018 FILEDDATE: 07/26/2018 DIST: 604

 

Date Time Star #

Page 2 of 2

 
Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 88 of 182 PagelID #:95

 

 
FILED DATE: 8/8/2018 10:29 AM 2018CH09477

 

Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 89 of 182 PagelID #:96

ALBANY COUNTY SHERIFF’S OFFICE

County Court House Albany, New York 12207 (518) 487-5400
WVWW.LALBANYCOUNTYSHERIFF,.COM

 

CRAIG D. APPLE, SR.

MICHAEL 8, MONTELEONE ERIFE KERRY B, THOMPSON
SHERIFF
UNDERSHERIFF CHIEF DEPUTY
WILLIAM M. RICE LEON A. BORMANN
CHIEF DEPUTY ACTING CHIEF DEPUTY

COOK COUNTY CIRCUIT COURT

State of ILLINOIS CERTIFICATE OF SERVICE
CORPORATE SERVICE

 

TEKITA BRYANT, ETAL

YS. Index Number - 2018CH09477

LOEWS CORPORATION Sheriff File Number - 18003388

 

 

 

| certify thatlam an Albany County Deputy Sheriff and that am not a party to the above-entitled
action. | further certify that i made service of the within described papers upon LOEWS
CORPORATION, the defendant in the following manner.

Papers Served: SUMMONS; CLASS ACTION COMPLAINT FILED
8/8/2018 10:29 AM
Address Where DOROTHY BROWN
80 STATE STREET CIRCUIT CLERK
Service was Made C/O CORP SERVICE CO COOK COUNTY, IL
ALBANY, NY 12207 2018CH09477
Date and Time
Of Service 8/3/2018 at 11:10 AM
CORPORATION

By delivering to and leaving with LITIGATION MANAGEMENT CSC_ the REPRESENTATIVE for the
Defendant personally a true copy thereof,

STATUTORY FEE

Af the fime of service, a statutory fee of was also left with the person mentioned and
described herein.

DESCRIPTION The person served was approximately: Skin Color: White, Hair Color: Blond,
Gender; Female Height: 5’ 4" Weight: 180 Age: 460.

aa
Dated: 7 — fem

Friday, August 03, 2018
JOHN LAWRENCE
DEPUTY SHERIFF

 
FILED DATE: 8/8/2018 10:28 AM 2018CHO9477

Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 90 of 182 PagelID #:97

CERTIFICATE OF SERVICE

I, the attorney, hereby certify that on August 8, 2018, I filed the attached with the Clerk
of the Court using the electronic filing system which will send such filing to all attorneys of

record.

/s/ Haley R. Jenkins

 

 

 
Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 91 of 182 PageID #:98

 
Return, Date: No return date scheduled
: pear ce ~ + . -

Heari

Courtroom Number: No hearing scheduled

Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 92 of 182 PageID #:99

Ab A heb cy ed (12/30/15) CCL N530

FILED

Location: No hearing scheduled [NN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS = 9/15/2018 4:27 PM

FILED DATE: 3/15/2018 4:27 PM 2018CHO9477

COUNTY DEPARTMENT, CHANCERY DIVISION DOROTHY BROWN
CIRCUIT CLERK
COOK COUNTY, IL

2018CH09477
TEKITA BRYANT, individually, and on behalf of all others similarly situated,

 

Plaintiff |... 2018-CH-09477

 

Calendar: 11
LOEWS CHICAGO HOTEL, INC., LOEWS CORPORATION, and ADP, LLC,

Defendant

 

APPEARANCE

GENERAL APPEARANCE 0900 - APPEARANCE - PEE PAID; 0909 - APPEARANCE - NO FEE;
0904 - APPEARANCE FILED - FEE WAIVED

[CL] JURY DEMAND 1900 - APPEARANCE & JURY DEMAND - FEE PAID
1909 - APPEARANCE & JURY DEMAND - NO FEE

‘The undersigned enters the appearance of: CL] Plaintiff Defendant

LOEWS CORPORATION

 

 

(Insert litigant’s name.)

/s/ Melissa A. Siebert

Signature

 

INITIAL COUNSEL OF RECORD LIPRO SE
[ADDITIONAL APPEARANCE LJ SUBSTITUTE APPEARANCE

A copy of this appearance shall be given to all parties who have appeared and have not been found by the
Court to be in defaule.

 

Atty. No.: 46365 [J Pro Se 99500

{Please complete the following contact information.)

Name: BAKER & HOSTETLER LLP Pro Se Only: (JI have read and agree to the terms of
Atty. for: LOEWS CORPORATION the Clerk’s Office Electronic Notice Policy and choose

 

to opt in to electronic notice from the Clerk’s office for

. 191 N Wacker Dr, Suite 3400 . . :
Address: BOKST AT Sune this case at this email address:

City/State/Zip: Chicago, IL 60606
Telephone: 312-416-6200

 

 

 

Primary Email: msiebert@bakerlaw.com

Secondary Email: mneubeck@bakerlaw.com

 

 

Tertiary Email:

 

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Page 1 of 1

 
Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 93 of 182 PageID #:100

 

 
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Order (Rev. 02/24/05) CCG N002
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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 

 

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Case, MAWOSPre A” AnAC o€ Mevewleer Uo, 20\C
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Attorney No.:; \5 4 Judge Pamela McLean Meyerson

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irc — 2097
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City/State/Zip: Cy COAL VC bO(o6{ A)
Telephone: AN? (ee 1550

Judge ‘ Judge’s No.

 

 

 

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 
Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 95 of 182 PagelID #:102

 
  

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DOROTHY BROWN

 

 

 
 

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Sancamon County Sueriers Oprice

“Keeping the Peace Since 182i”

 

 

 

 

WES BARR
Administration - (217} 753-6855 #1 Sheriffs Plaza Investigations - (217) 753-6840
Civil Process/Records - (217) 753-6846 Springfield, IL 62701 Corrections - (217) 753-6886

 

SG TRACKING #18- 4
 Kedatick te 10

certify that I served this summons as follows:

i)

Personal service on an individual, by leaving a copy of the
summons and complaint with the defendant personally

Abode service on an individual, by leaving a copy of the summons
and complaint with a member of the household thirteen (13) years
or older, informing said person of the contents thereof, and also
by sending a copy of the summons, in a sealed envelope, postage

s paid, to the individual listed in the summons,

Corporation service, by leaving a copy of the summons and

complaint with an agent or officer of the corporation listed in
the summons.

“\
7

Other service, as deseribed below.

Case Number (A C+ FT ct t a

Name of defendant (OWS Ct LOO (S 414] . Ane i
somone Saat wren XU Le VBL

Sex Cay F) race [> __ Approx. age

Date of service 017) /2018 Time Gd

Date of Mailing

 

 

Address at which Paper was served:

WO \ Slesesa py DR
SPE (A Ee

Service fees (Circle One) 342.00 or $82.00

Circle Qne: PAiD PAUPER NO CHARGE

Wesley L. Bafr, Sheriff of Sangamon County
By , Deputy aos é |

IN PARTNERSHIP WITH THE COMMUNITY

 
FILED DATE: 8/21/2018 2:02 PM 2018CHO9477

Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 97 of 182 PageID #:104

CERTIFICATE OF SERVICE

I, the attorney, hereby certify that on August 21, 2018, | filed the attached with the Clerk
of the Court using the electronic filing system which will send such filing to all attorneys of

record.

/sf Haley R. Jenkins

 

 

 
Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 98 of 182 PagelD #:105

 

 
FILED DATE: 9/19/2018 4:55 PM 2018CH09477

Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 99 of 182 PagelID #:106

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, CHANCERY DIVISION

TEKITA BRYANT, individually and on
behalf of all others similarly situated,

Plaintiff,

vv.

LOEWS CHICAGO HOTEL, INC., LOWES
CORPORATION, and ADP LLC,

Defendants.

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FILED

9/19/2018 4:55 PM
DOROTHY BROWN
CIRCUIT CLERK
COOK COUNTY, IL

Case No. 2018-ch-09477

Honorable Judge Pamela McLean
Meyerson

NOTICE OF CHANGE OF ADDRESS

PLEASE TAKE NOTICE that Stephan Zouras, LLP (“Stephan Zouras”) notifies the Court

and all counsel that, effective September 19, 2018, Stephan Zouras has relocated to the following

address:

Stephan Zouras, LLP
100 N. Riverside Plaza, Suite 2150
Chicago, Illinois 60606
T: (312) 233-1550

This Court and all parties are hereby instructed to make notice of this address change and

send all notices, order, pleadings, and other correspondence regarding the captioned matter to the

new address.

Dated: September 19, 2018

Respectfully submitted,

és! Ryan F Stephan

One of the Attorneys for Plaintiffs
Ryan F. Stephan

James B. Zouras

Andrew C. Fiezko

Haley R. Jenkins

100 N. Riverside Plaza, Suite 2150
Chicago, Illinois 60606
rstephan@stephanzouras.com
jzouras@stephanzouras.com
aficzko@stephanzouras.com
hjenkins@stephanzouras.com
FIRM ID # 43734

 

 
FILED DATE: 9/19/2018 4:55 PM 2018CH09477

Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 100 of 182 PagelD #:107

CERTIFICATE OF SERVICE

I, the attorney, hereby certify that on September 19, 2018 I served a true and correct copy of
the foregoing Notice of Change of Address by U.S. Mail and email, upon the following:

Melissa A. Siebert

BAKER & HOSTETLER LLP
191 N. Wacker Drive, Suite 3100
Chicago, Illinois 60606
msiebert@bakerlaw.com
Attorney for Defendant Lowes

/s/ Ryan F.. Stephan

 

 
Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 101 of 182 PagelD #:108

 

 

 
CIRCUIT COURT OR GACKEUTEV-03195 Document #: 1-1 Filed: 05/10/19 Page 102 of 182 PagelD #:109

CHANCERY DIV., RM. B02 DALEY CTR.
CHICAGO, IL, 60602

ID: CH2018CHO9477 2018101S0900009
TO: STEPHAN ZOURAS LLP
AT: KBOWERSESTEPHANZOURAS ,CON

see ee, NOTICE © * ®t
CASE 18-CH-09477
CALENDAR 11

BRYANT TERITA Ve LOEWS CHICaGO HOTEL, INC.

THERE WILL BE A CASE NANAGEMENT CALL OF YOUR CASE ON MONDAY

THE 26TH DAY OF NOVENBER 2015 IN ROOM 2305 AT 9:30 A.M,

RICHARD J. DALEY CENTER, CHICAGO, IL. 60602.

* ok Ww * 6YOU HUST APPEAR OR AN APPROPRIATE ORDER * * * *

* * w * WAY BE ENTEREP AFFECTING YOUR RIGHTS * * * *

NOTE: EF THIS CASE HAS BEEN ALREADY DISMISSED OR IF THIS CASE

HAS A COURT DATE SET BY COURT ORDER, YOU MAY DISREGARD THIS
NOTICE

 

 

 
Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 103 of 182 PagelD #:110

 

 

 
FILED DATE: 10/18/2018 5:34 PM 2018CH09477

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Appearance (12/30/15) CCL N530
FILED

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS eat OROWN
COUNTY DEPARTMENT, CHANCERY DIVISION CIRCUIT CLERK

COOK COUNTY, IL
2018CH09477

TEKITA BRYANT,

 

Plindlf | 33. 2018-CH-09477

 

Calendar, Judge Pamela McLean Meyerson

 

LOEWS CHICAGO HOTEL, INC., et al.,

 

Defendant
APPEARANCE
GENERAL APPEARANCE 0900 - APPEARANCE - BEE PAID; 0909 - APPEARANCE - NO FEE;
0904 - APPEARANCE FILED - FEE WAIVED
[C) JURY DEMAND 1900 - APPEARANCE & JURY DEMAND - FEE PAID
1909 - APPEARANCE & JURY DEMAND - NO FEE
The undersigned enters the appearance of: C] Plaintiff Defendant
ADP, LLC

 

 

(Lisert litigant’s name.)

fs/ David C. Layden

Signature

 

INITIAL COUNSEL OF RECORD CIPRO SE
[JADDITIONAL APPEARANCE CJ SUBSTITUTE APPEARANCE

A copy of this appearance shall be given to all partics who have appeared and have not been found by the
Court to be in default.

 

Arty. No.: 08003 [Pro Se 99500

(Please complete the following contact information.)

Name: Jenner & Block LLP/David C. Layden Pro Sc Only: C] I have read and agree to the terms of
Atty, for; Defendant ADP, LLC the Clerk’s Office Electronic Notice Policy and choose

 

to opt in to electronic notice from the Clerk's office for

Address; 353 N. Clark Street this case at this ernail address:

City/State/Zip: Chicago, IL 60654
‘Telephone: (312) 222-9350 — — . _

j, dayden@jenner.com

 

 

 

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Secondary Email:

Tertiary Email:

 

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Page 1 of 1

 

 

 
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Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 106 of 182 PagelD #:113

Order (Rev. 02/24/05) CCG N002
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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 

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DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 

 

 
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Return Date: No return date scheduled
Hearing Date: No hearing scheduled
Courtroom Number: No hearing scheduled
Location: No hearing scheduled

FILED
1/25/2019 5:06 PM

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN

COUNTY DEPARTMENT, CHANCERY DIVISION

CIRCUIT CLERK
COOK COUNTY, IL

& 2018CGH09477
5 TEKITA BRYANT, individually, )

® and on behaif of all others similarly situated, )

s )

= Plaintiff, )

8 ) Case No. 2018-CH-09477
: ¥ )

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ui LOEWS CHICAGO HOTEL, INC., LOEWS )

a CORPORATION, and ADP LLC, }

i )

i Defendants. )

NOTICE OF AUTHORITY

 

Piecase take notice that Plaintiff hereby submits the attached [linois Supreme Court

Opinion in Rosenbach v. Six Flags Entertainment Corp., No. 123186 (Jan. 25, 2019), for the

Court’s consideration.

Date: January 25, 2019

Respectfully Submitted,

/s/ Haley R, Jenkins
ONE OF PLAINTIFF’S ATTORNEYS

Ryan F. Stephan

James B. Zouras

Andrew C, Ficzko

Haley R. Jenkins

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CERTIFICATE OF SERVICE

1, the attorney, hereby certify that on January 25, 2019 I electronically filed the attached
with the Clerk of the Court using the ECF system which will send such filing to all attorneys of

record,

/s/ Haley R. Jenkins

 

 
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Return Date: No return date scheduled
Hearing Date: No hearing scheduled
Courtroom Number: No hearing scheduled

Location: No hearing scheduled FILED

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CIRCUIT CLERK
COOK COUNTY, IL

. 2019 IL 123186 2018CH09477
i IN THE

5 SUPREME COURT

ay OF

é THE STATE OF ILLINOIS

 

(Docket No. 123186)

STACY ROSENBACH, as Mother and Next Friend of Alexander Rosenbach, Appellant, v.
SIX FLAGS ENTERTAINMENT CORPORATION et ai., Appellees.

Opinion filed January 25, 2019.

CHIEF JUSTICE KARMEIER delivered the judgment of the court, with
opinion.

Justices Thomas, Kilbride, Garman, Burke, Theis, and Neville concurred in the
judgment and opinion.

OPINION

qi The Biometric Information Privacy Act (Act) (740 ILCS 14/1 ef seg. (West
2016)) imposes numerous restrictions on how private entities collect, retain,
disclose and destroy biometric identifiers, including retina or iris scans,
fingerprints, voiceprints, scans of hand or face geometry, or biometric information.
Under the Act, any person “aggrieved” by a violation of its provisions “shall have a

 

 

 
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right of action *** against an offending party” and “may recover for each
violation” the greater of liquidated damages or actual damages, reasonable attorney
fees and costs, and any other relief, including an injunction, that the court deems
appropriate. fd, § 20. The central issue in this case, which reached the appellate
court by means of a permissive interlocutory appeal pursuant to Illinois Supreme
Court Rule 308 (effi Jan. 1, 2016), is whether one qualifies as an “aggrieved”
person and may seek liquidated damages and injunctive relief pursuant to the Act if
he or she has not alleged some actual injury or adverse effect, beyond violation of
his or her rights under the statute. The appellate court answered this question in the
negative. In its view, “a plaintiff who alleges only a technical violation of the
statute without alleging some injury or adverse effect is not an aggrieved person”
within the meaning of the law. (Emphasis in original.) 2017 IL App (2d) 170317,
{| 23. We granted leave to appeal (Ill. S. Ct. R. 315(a) (eff. Nov. 1, 2017)) and now
reverse and remand to the circuit court for further proceedings.

BACKGROUND

The question the appellate court was asked to consider in this case arose in the
context of a motion to dismiss pursuant to section 2-615 of the Code of Civil
Procedure (Code) (735 ILCS 5/2-615 (West 2016)). We therefore take the
following well-pleaded facts from the complaint and accept them as true for
purposes of our review. Cochran v. Securitas Security Services USA, Inc., 2017 IL
121200, € 11.

Six Flags Entertainment Corporation and its subsidiary Great America LLC
own and operate the Six Flags Great America amusement park in Gurnee, Illinois.
Defendants sell repeat-entry passes to the park. Since at least 2014, defendants
have used a fingerprinting process when issuing those passes. As alleged by the
complaint, their system “scans pass holders’ fingerprints; collects, records and
stores ‘biometric’ identifiers and information gleaned from the fingerprints; and
then stores that data in order to quickly verify customer identities upon subsequent
visits by having customers scan their fingerprints to enter the theme park,”
According to the complaint, “[t]his makes entry into the park faster and more
seamless, maximizes the time pass holders are in the park spending money, and
eliminates lost revenue due to fraud or park entry with someone else’s pass.”

 

 
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In May or June 2014, while the fingerprinting system was in operation, Stacy
Rosenbach’s 14-year-old son, Alexander, visited defendants’ amusement park on a
school field trip. In anticipation of that visit, Rosenbach had purchased a season
pass for him online. Rosenbach paid for the pass and provided personal information
about Alexander, but he had to complete the sign-up process in person once he
arrived at the amusement park.

The process involved two steps. First, Alexander went to a security checkpoint,
where he was asked to scan his thumb into defendants’ biometric data capture
system. After that, he was directed to a nearby administrative building, where he
obtained a season pass card. The card and his thumbprint, when used together,
enabled him to gain access as a season pass holder.

Upon returning home from defendants’ amusement park, Alexander was asked
by Rosenbach for the booklet or paperwork he had been given in connection with
his new season pass. In response, Alexander advised her that defendants did “it all
by fingerprint now” and that no paperwork had been provided.

The complaint alleges that this was the first time Rosenbach learned that
Alexander’s fingerprints were used as part of defendants’ season pass system.
Neither Alexander, who was a minor, nor Rosenbach, his mother, were informed in
writing or in any other way of the specific purpose and length of term for which his
fingerprint had been collected. Neither of them signed any written release regarding
taking of the fingerprint, and neither of them consented in writing “to the
collection, storage, use sale, lease, dissemination, disclosure, redisclosure, or trade
of, or for [defendants] to otherwise profit from, Alexander’s thumbprint or
associated biometric identifiers or information.”

The school field trip was Alexander’s last visit to the amusement park.
Although he has not returned there since, defendants have retained his biometric
identifiers and information. They have not publicly disclosed what was done with
the information or how long it will be kept, nor do they have any “written policy
made available to the public that discloses [defendants’] retention schedule or
guidelines for retaining and then permanently destroying biometric identifiers and
biometric information,”

 

 
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In response to the foregoing events, Rosenbach, acting in her capacity as
mother and next friend of Alexander (see 755 ILCS 5/11-13(d) (West 2016)),
brought this action on his behalf in the circuit court of Lake County.' The action
seeks redress for Alexander, individually and on behalf of all other similarly
situated persons, under the Act (740 ILCS 14/1 et seg. (West 2016)), which, as
noted at the outset of this opinion, provides that any person “aggrieved” by a
violation of the Act’s provisions “shall have a right of action *** against an
offending party” and “may recover for each violation” the greater of liquidated
damages or actual damages, reasonable attorney fees and costs, and any other
relief, including an injunction, that the court deems appropriate (/d. § 20).

The complaint, as amended, is in three counts. Count I seeks damages on the
grounds that defendants violated section 15(b) of the Act (id. § 15(b)) by
(1) collecting, capturing, storing, or obtaining biometric identifiers and biometric
information from Alexander and other members of the proposed class without
informing them or their legally authorized representatives in writing that the
information was being collected or stored; (2) not informing them in writing of the
specific purposes for which defendants were collecting the information or for how
long they would keep and use it; and (3) not obtaining a written release executed by
Alexander, his mother, or members of the class before collecting the information.
Count [I requests injunctive relief under the Act to compel defendants to make
disclosures pursuant to the Act’s requirements and to prohibit them from violating
the Act going forward. Count III asserts a common-law action for unjust
enrichment.

Defendants sought dismissal of Rosenbach’s action under both sections 2-615
and 2-619 of the Code (735 ILCS 5/2-615, 2-619 (West 2016)) in a combined
motion filed pursuant to section 2-619.1 (id § 2-619.1). As grounds for their
motion, defendants asserted that one of the named defendants had no relation to the
facts alleged, that plaintiff had suffered no actual or threatened injury and therefore

 

Although Stacy Rosenbach has been referred to as the plaintiff in these proceedings, that is not
technically accurate. Alexander is the plaintiff. Rosenbach is his next friend. A next friend of a
minor is not a party to the litigation but simply represents the real party, who, as a minor, lacks
capacity to sue in his or her own name. See Biue v. People, 223 U1, App. 3d 594, 596 (1992), During
oral argument, counsel for Rosenbach confirmed that she appears here solely on behalf of her son
and asserts no claim for herself.

 
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lacked standing to sue, and that plaintiff's complaint failed to state a cause of action
for violation of the Act or for unjust enrichment.

Following a hearing, and proceeding only under section 2-615 of the Code, the
circuit court denied the motion as to counts I and I], which sought damages and
injunctive relief under the Act, but granted the motion as to count III, the unjust
enrichment claim, and dismissed that claim with prejudice.

Defendants sought interlocutory review of the circuit court’s ruling under
Tilinois Supreme Court Rule 308 (eff. Jan. 1, 2016) on the grounds that it involved a
question of law as to which there is substantial ground for a difference of opinion
and that an immediate appeal might materially advance the ultimate termination of
the litigation. The following two questions of law were identified by the circuit
court:

(1) “[w]hether an individual ts an aggrieved person under §20 of the Illinois
Biometric Information Privacy Act, 740 ILCS 14/20, and may seek statutory
liquidated damages authorized under §20(]) of the Act when the only injury he
alleges is a violation of §15(b) of the Act by a private entity who collected his
biometric identifiers and/or biometric information without providing him the
required disclosures and obtaining his written consent as required by §15(b) of
the Act,” and

(2) “[w]hether an individual is an aggrieved person under §20 of the Illinois
Biometric Information Privacy Act, 740 ILCS 14/20, and may seek injunctive
relief authorized under §20(4) of the Act, when the only injury he alleges is a
violation of §15(b) of the Act by a private entity who collected his biometric
identifiers and/or biometric information without providing him the required
disclosures and obtaining his written consent as required by §15(b) of the Act.”

The appellate court granted review of the circuit court’s order and answered
both certified questions in the negative. In its view, a plaintiff is not “aggrieved”
within the meaning of the Act and may not pursue either damages or injunctive
relief under the Act based solely on a defendant’s violation of the statute.
Additional injury or adverse effect must be alleged. The injury or adverse effect
need not be pecuniary, the appellate court held, but it must be more than a
“technical violation of the Act.” 2017 IL App (2d) 170317, § 28.

 

 

 
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Rosenbach petitioned this court for leave to appeal. Ili. S. Ct. R. 315 (eff. Nov.
1, 2017). We allowed her petition and subsequently permitted friend of the court
briefs to be filed in support of her position by the Electronic Privacy Information
Center and by a consortium of groups including the American Civil Liberties
Union, the Center for Democracy and Technology, and the Electronic Frontier
Foundation. See Ili. S. Ct. R. 345 (eff. Sept. 20, 2010). The court also permitted the
Restaurant Law Center and Illinois Restaurant Association, the Internet
Association, and the Illinois Chamber of Commerce to file friend of the court briefs
in support of defendants.

ANALYSIS

Because this appeal concerns questions of law certified by the circuit court
pursuant to [llinois Supreme Court Rule 308 (eff. Jan. 1, 2016), our review is
de novo. Rozsavolgyi v. City of Aurora, 2017 IL 121048, 4 21. De novo review is
also appropriate because the appeal arose in the context of an order denying a
section 2-615 motion to dismiss (Marshall v. Burger King Corp., 222 Ul. 2d 422,
429 (2006)) and its resolution turns on a question of statutory interpretation (Eads
v. Heritage Enterprises, Inc., 204 Ill. 2d 92, 96 (2003)).

The Biometric Privacy Information Act (740 ILCS 14/1 et seg. (West 2016)),
on which counts I and II of Rosenbach’s complaint are founded, was enacted in
2008 to help regulate “the collection, use, safeguarding, handling, storage,
retention, and destruction of biometric identifiers and information.” fd. § 5(g). The
Act defines “biometric identifier’ to mean “a retina or iris scan, fingerprint,
voiceprint, or scan of hand or face geometry.” fd. § 10. “Biometric information”
means “any information, regardless of how it is captured, converted, stored, or
shared, based on an individual’s biometric identifier used to identify an individual.”
fd. Tt is undisputed that the thumbprint collected by defendants from Rosenbach’s
son, Alexander, when they processed his season pass constituted a biometric
identifier subject to the Act’s provisions and that the electronically stored version
of his thumbprint constituted biometric information within the meaning of the law.

Section 15 of the Act (fd. § 15) imposes on private entities such as defendants
various obligations regarding the collection, retention, disclosure, and destruction
of biometric indentifiers and biometric information. Among these is the following:

 

 
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“(b) No private entity may collect, capture, purchase, receive through trade,
or otherwise obtain a person’s or a customer’s biometric identifier or biometric
information, unless it first:

(1) informs the subject or the subject’s legally authorized representative
in writing that a biometric identifier or biometric information is being
collected or stored;

(2) informs the subject or the subject’s legally authorized representative
in writing of the specific purpose and length of term for which a biometric
identifier or biometric information is being collected, stored, and used; and

(3) receives a written release executed by the subject of the biometric
identifier or biometric information or the subject’s legally authorized
representative.” Id. § 15(b).

{21 These provisions are enforceable through private rights of action. Specifically,
section 20 of the Act provides that “[a]ny person aggrieved by a violation of this
Act shall have a right of action in a State circuit court or as a supplemental claim in
federal district court against an offending party.” Jd § 20. Section 20 further
provides that

“[a] prevailing party may recover for each violation:

(1) against a private entity that negligently violates a provision of this
Act, liquidated damages of $1,000 or actual damages, whichever is greater;

(2) against a private entity that intentionally or recklessly violates a
provision of this Act, liquidated damages of $5,000 or actual damages,
whichever is greater;

(3) reasonable attorneys’ fees and costs, including expert witness fees
and other litigation expenses; and

(4) other relief, including an injunction, as the State or federal court
may deem appropriate.” fd.

q 22 As noted earlier in this opinion, Rosenbach’s complaint alleges that defendants
violated the provisions of section 15 of the Act when it collected her son’s

 
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thumbprint without first following the statutorily prescribed protocol. For the
purposes of this appeal, the existence of those violations is not contested. The basis
for defendants’ current challenge is that no other type of injury or damage to
Rosenbach’s son has been alleged. Rosenbach seeks redress on her son’s behalf and
on behalf of a class of similarly situated individuals based solely on defendants’
failure to comply with the statute’s requirements. In defendants’ view, that is not
sufficient, They contend that an individual must have sustained some actual injury
or harm, apart from the statutory violation itself, in order to sue under the Act.
According to defendants, violation of the statute, without more, is not actionable.

While the appellate court in this case found defendants’ argument persuasive, a
different district of the appellate court subsequently rejected the identical argument
in Sekura v. Krishna Schaumburg Tan, Inc., 2018 TL App (1st) 180175. We reject it
as well, as a recent federal district court decision correctly reasoned we might do.
Inve Facebook Biometric Information Privacy Litigation, 326 F.R.D, 535, 545-47
(N.D. Cal. 2018).

We begin our analysis with basic principles of statutory construction. When
construing a statute, our primary objective is to ascertain and give effect to the
legislature’s intent, That intent is best determined from the plain and ordinary
meaning of the language used in the statute. When the statutory language is plain
and unambiguous, we may not depart from the law’s terms by reading into it
exceptions, limitations, or conditions the legislature did not express, nor may we
add provisions not found in the law. Acme Markets, Inc. v. Callanan, 236 Ill. 2d 29,
37-38 (2009).

Defendants read the Act as evincing an intention by the legislature to limit a
plaintiffs right to bring a cause of action to circumstances where he or she has
sustained some actual damage, beyond violation of the rights conferred .by the
statute, as the result of the defendant’s conduct. This construction is untenable.
When the General Assembly has wanted to impose such a requirement in other
situations, it has made that intention clear. Section 10a(a) of the Consumer Fraud
and Deceptive Business Practices Act (815 ILCS 505/10a(a) (West 2016)) is an
example. To bring a private right of action under that law, actual damage to the
plaintiff must be alleged. Oliveira v. Amoco Oil Co., 201 Ill, 2d 134, 149 (2002);
Haywood y. Massage Envy Franchising, LLC, 887 F.3d 329, 333 (7th Cir. 2018),

 

 

 
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In contrast is the AIDS Confidentiality Act (410 ILCS 305/1 et seg. (West
2016)). There, the legislature authorized private rights of action for monetary relief,
attorney fees, and such other relief as the court may deem appropriate, including an
injunction, by any person “aggrieved” by a violation of the statute or a regulation
promulgated under the statute. /d. § 13. Proof of actual damages is not required in
order to recover. Doe v. Chand, 335 Ill. App. 3d 809, 822 (2002).

Section 20 of the Act (740 ILCS 14/20 (West 2016)), the provision that creates
the private right of action on which Rosenbach’s cause of action is premised,
clearly follows the latter model. In terms that parallel the AIDS Confidentiality
Act, it provides simply that “[a]ny person aggrieved by a violation of this Act shall
have a right of action in a State circuit court or as a supplemental claim in federal
district court against an offending party.” Jd.

Admittedly, this parallel, while instructive (Hartney Fuel Oil Co. v. Hamer,
2013 IL 115130, § 25), is not dispositive. Separate acts with separate purposes need
not, after all, define similar terms in the same way. Rather, “ ‘the same word may
mean one thing in one statute and something different in another, dependent upon
the connection in which the word is used, the object or purpose of the statute, and
the consequences which probably will result from the proposed construction.
[Citations.]’” People v. Ligon, 2016 IL 118023, | 26 (quoting Mack v. Seaman,
113 LL. App. 3d 151, 154 (1983)). Accepted principles of statutory construction,
however, compel the conclusion that a person need not have sustained actual
damage beyond violation of his or her rights under the Act in order to bring an
action under it.

As with the AIDS Confidentiality Act, the Act does not contain its own
definition of what it means to be “aggrieved” by a violation of the law. Where, as
here, a statutory term is not defined, we assume the legislature intended for it to
have its popularly understood meaning. Likewise, if a term has a settled legal
meaning, the courts will normally infer that the legislature intended to incorporate
that established meaning into the law. People v, Johnson, 2013 IL 114639, 4 9.
Applying these canons of construction, it is clear that defendants’ challenge to
Rosenbach’s right to bring suit on behalf of her son is meritless.

More than a century ago, our court held that to be aggrieved simply “means
having a substantial grievance; a denial of some personal or property right.” Glos v.

 

 
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People, 259 lil. 332, 340 (1913). A person who suffers actual damages as the result
of the violation of his or her rights would meet this definition of course, but
sustaining such damages is not necessary to qualify as “aggrieved.” Rather, “[a]
person is prejudiced or aggrieved, in the legal sense, when a legal right is invaded
by the act complained of or his pecuniary interest is directly affected by the decree
or judgment.” (Emphasis added.) Id,

This understanding of the term has been repeated frequently by Illinois courts
and was embedded in our jurisprudence when the Act was adopted. See American
Surety Co. v. Jones, 384 Ill. 222, 229-30 (1943); In re Estate of Hinshaw, 19 IIL
App. 2d 239, 255 (1958); In re Estate of Harmston, 10 TH. App. 3d 882, 885 (1973);
Greeling v. Abendroth, 351 Ill. App, 3d 658, 662 (2004), We must presume that the
legislature was aware of that precedent and acted accordingly. See People v. Cole,
2017 IL 120997, { 30.

The foregoing understanding of the term is also consistent with standard
definitions of “aggrieved” found in dictionaries, which we may consult when
attempting to ascertain the plain and ordinary meaning of a statutory term where, as
here, the term has not been specifically defined by the legislature. Jn re MZ, 2016
IL 120232, | 26. Merriam-Webster’s Collegiate Dictionary, for example, defines
aggrieved as “suffering from an infringement or denial of legal rights.”
Merriam-Webster’s Collegiate Dictionary 25 (11th ed. 2006). Similariy, the
leading definition given in Black’s Law Dictionary is “having legal rights that are
adversely affected.” Black’s Law Dictionary 77 (9th ed. 2009), This is therefore the
meaning we believe the legislature intended here.

Based upon this construction, the appellate court’s response to the certified
questions was incorrect. Through the Act, our General Assembly has codified that
individuals possess a right to privacy in and control over their biometric identifiers
and biometric information. See Patel v. Facebook Inc., 290 F. Supp. 3d 948, 953
(N.D. Cal. 2018). The duties imposed on private entities by section 15 of the Act
(740 ILCS 14/15 (West 2016)) regarding the collection, retention, disclosure, and
destruction of a person’s or customer’s biometric identifiers or biometric
information define the contours of that statutory right. Accordingly, when a private
entity fails to comply with one of section 15’s requirements, that violation
constitutes an invasion, impairment, or denial of the statutory rights of any person

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or customer whose biometric identifier or biometric information is subject to the
breach. Consistent with the authority cited above, such a person or customer would
clearly be “aggrieved” within the meaning of section 20 of the Act (fd. § 20) and
entitled to seek recovery under that provision. No additional consequences need be
pleaded or proved. The violation, in itself, is sufficient to support the individual’s
or customer’s statutory cause of action.

In reaching a contrary conclusion, the appellate court characterized violations
of the law, standing alone, as merely “technical” in nature. 2017 IL App (2d)
170317, { 23. Such a characterization, however, misapprehends the nature of the
harm our legislature is attempting to combat through this legislation. The Act vests
in individuals and customers the right to contro! their biometric information by
requiring notice before collection and giving them the power to say no by
withholding consent. Patel, 290 F. Supp. 3d at 953. These procedural protections
“are particularly crucial in our digital world because technology now permits the
wholesale collection and storage of an individual’s unique biometric
identifiers—identifiers that cannot be changed if compromised or misused,” /d. at
954, When a private entity fails to adhere to the statutory procedures, as defendants
are alleged to have done here, “the right of the individual to maintain [his or] her
biometric privacy vanishes into thin air. The precise harm the Illinois legislature
sought to prevent is then realized.” Jd. This is no mere “technicality.” The injury is
real and significant.

This construction of the law is supported by the General Assembly’s stated
assessment of the risks posed by the growing use of biometrics by businesses and
the difficulty in providing meaningful recourse once a person’s biometric
identifiers or biometric information has been compromised. In enacting the law, the
General Assembly expressly noted that

“Tb}iometrics are unlike other unique identifiers that are used to access finances
or other sensitive information. For example, social security numbers, when
compromised, can be changed. Biometrics, however, are biologically unique to
the individual; therefore, once compromised, the individual has no recourse, is
at heightened risk for identity theft, and is likely to withdraw from
biometric-facilitated transactions.” 740 ILCS 14/5(c) (West 2016).

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The situation is particularly concerning, in the legislature’s judgment, because
“(t]he full ramifications of biometric technology are not fully known.” /d. § 5(f).

The strategy adopted by the General Assembly through enactment of the Act is
to try to head off such problems before they occur. It does this in two ways. The
first is by imposing safeguards to insure that individuals’ and customers’ privacy
rights in their biometric identifiers and biometric information are properly honored
and protected to begin with, before they are or can be compromised. The second is
by subjecting private entities who fail to follow the statute’s requirements to
substantial potential liability, including liquidated damages, injunctions, attorney
fees, and litigation expenses “for each violation” of the law (id. § 20) whether or
not actual damages, beyond violation of the law’s provisions, can be shown.

The second of these two aspects of the law is as integral to implementation of
the legislature’s objectives as the first. Other than the private right of action
authorized in section 20 of the Act, no other enforcement mechanism is available. It
is clear that the legislature intended for this provision to have substantial force.
When private entities face liability for failure to comply with the law’s
requirements without requiring affected individuals or customers to show some
injury beyond violation of their statutory rights, those entities have the strongest
possible incentive to conform to the law and prevent problems before they occur
and cannot be undone. Compliance should not be difficult; whatever expenses a
business might incur to meet the law’s requirements are likely to be insignificant
compared to the substantial and irreversible harm that could result if biometric
identifiers and information are not properly safeguarded; and the public welfare,
security, and safety will be advanced. That is the point of the law. To require
individuals to wait until they have sustained some compensable injury beyond
violation of their statutory rights before they may seek recourse, as defendants
urge, would be completely antithetical to the Act’s preventative and deterrent
purposes.

In sum, defendants’ contention that redress under the Act should be limited to
those who can plead and prove that they sustained some actual injury or damage
beyond infringement of the rights afforded them under the law would require that
we disregard the commonly understood and accepted meaning of the term
“aggrieved,” depart from the plain and, we believe, unambiguous language of the

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law, read into the statute conditions or limitations the legislature did not express,
and interpret the law in a way that is inconsistent with the objectives and purposes
the legislature sought to achieve. That, of course, is something we may not and will
not do. Solich v. George & Anna Portes Cancer Prevention Center of Chicago,
Inc., 158 Hil. 2d 76, 83 (1994); Exelon Corp. v. Department of Revenue, 234 Il. 2d
266, 275 (2009).

CONCLUSION

For the foregoing reasons, we hold that the questions of law certified by the
circuit court must be answered in the affirmative. Contrary to the appellate court’s
view, an individual need not allege some actual injury or adverse effect, beyond
violation of his or her rights under the Act, in order to qualify as an “aggrieved”
person and be entitled to seek liquidated damages and injunctive relief pursuant to
the Act. The judgment of the appellate court is therefore reversed, and the cause is
remanded to the circuit court for further proceedings.

Certified questions answered.
Appellate court judgment reversed.

Cause remanded.

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Order (Rev. 02/24/ 05) CCG N002,

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

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ORDER

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Judge Pamela McLean Meyerson

FEB 21 2019
Attorney No.: AG Sb S Circuit Cout 2097
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DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 

 

 
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Case: 1:19-cv-03195 Document #: 1-1 Filed: 05/10/19 Page 126 of 182 PagelD #:133

Return Date: No return date scheduled
Hearing Date: 4/16/2019 9:30 AM - 9:30 AM
Courtroom Number:

Location: FILED

4/5/2019 12:57 PM
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN

CIRCUIT CLERK
COUNTY DEPARTMENT, CHANCERY DIVISION COOK COUNTY. IL

2018CH09477
TEKITA BRYANT, individually, and on

behalf of all others similarly situated,
Plaintiff, Case No. 2018-CH-09477

Honerable Judge Pamela McLean
Meyerson

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LOEWS CHICAGO HOTEL, INC.,
LOWES CORPORATION, and ADP LLC,

Swern” nme’ Soom Some” nme” ner ee Sine! eee”

Defendants.

FILED DATE: 4/5/2019 12:57 PM 2018CHO9477

NOTICE OF MOTION

PLEASE TAKE NOTICE that on Tuesday, April 16, 2019 at 9:30 a.m. or as soon
thereafter as counsel may be heard, I shall appear before the Honorable Judge Pamela McLean
Meyerson, or any judge sitting in her stead, in the courtroom usually occupied by her at 50 West
Washington, Chicago, Illinois, Room 2305, and present PLAINTIFF’S MOTION FOR
LEAVE TO FILE FIRST AMENDED COMPLAINT.

Respectfully submitted,

/s/ Haley R, Jenkins

Haley R. Jenkins

STEPHAN ZOURAS, LLP

100 N. Riverside Plaza, Suite 2150
Chicago, IL 60606

Telephone: 312-233-1550
hjenkins@stephanzouras.com

 

 
FILED DATE: 4/8/2019 12:57 PM 2018CH09477

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CERTIFICATE OF SERVICE

I, an attorney, hereby certify that on April 5, 2019 a true and correct copy of the
foregoing PLAINTIFF’S MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT
was electronically filed via this Court’s electronic filing system and will send notification of such

filing to the listed attorneys of record.

&/ Haley R. Jenkins

 

 
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Hearing Date: No hearing scheduled

Courtroom Number: No hearing scheduled
Location: No hearing scheduled

FILED DATE: 4/5/2019 12:45 PM = 2018CH09477

FILED
4/5/2019 12:45 PM
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN

CIRCUIT CLERK
COUNTY DEPARTMENT, CHANCERY DIVISION COOK COUNTY, IL

2018CH09477

TEKITA BRYANT, individually, }
and on behalf of all others similarly situated, )
)
Plaintiff, )

) Case No. 2018-CH-9477
v )
)
LOEWS CHICAGO HOTEL, INC., LOEWS _ )
CORPORATION, and ADP LLC, )
)
Defendants. )

PLAINTIFF’S MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT

Piaintiff Tekita Bryant, by and through counsel, moves this Honorable Court for leave to
file Plaintiffs First Amended Complaint pursuant to the [llinois Rules of Civil Procedure, 735
ILCS 5/2-616. In support thereof, Plaintiff states as follows:

1, On July 26, 2018, Plaintiff filed a Class Action Complaint seeking damages for
Defendants’ alleged violations of the Illinois Biometric Information Privacy Act (““BIPA”), 740
ILCS 14/1, et seq. See Class Action Complaint. In particular, Plaintiff alleged that Defendants
unlawfully collect, store, and use employees’ biometric data in violation of BIPA. See generally,
id,

2. Plaintiff seeks to amend her Complaint in order to add substantive allegations that
will enhance her claims in light of the Hlinois Supreme Court’s decision in Rosenbach v. Six Flags
Ent. Corp, 2019 IL 123186.

3, Additionally, Plaintiff seeks to amend her Complaint in order to add an additional

Defendant, Loews COH Operating Company, LLC,

 

 

 
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4, The Illinois Rules of Civil Procedure set forth a liberal policy for allowing a

plaintiff to amend a complaint. See 735 ILCS 5/2-616.

5. Defendants will not be prejudiced by Plaintiff filing an Amended Complaint.

6. The interests of justice are served by allowing Plaintiff to amend her Complaint.

For the foregoing reasons, Plaintiff respectfully requests this Honorable Court grant her

leave to file her First Amended Complaint, attached hereto as Exhibit A.

Date: April 5, 2019

Respectfully Submitted,

{sf Haley R. Jenkins

Ryan F. Stephan

James B, Zouras

Andrew C. Fiezkco

Haley R. Jenkins

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CERTIFICATE OF SERVICE

I, the attorney, hereby certify that on April 5, 2019 J electronically filed the attached with
the Clerk of the Court using the electronic filing system and will send such filing to all attorneys

of record,

/s/ Haley R. Jenkins

 

 
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Hearing Date: No hearing scheduled
Courtroom Number: No hearing scheduled
Location: No hearing scheduled

FILED DATE: 4/5/2019 12:45PM 2018CH09477

EXHIBIT A

FILED

4/5/2019 12:45 PM
DOROTHY BROWN
CIRCUIT CLERK
COOK COUNTY, IL
2018CH09477

 

 

 
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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, CHANCERY DIVISION

TTEKITA BRYANT, individually,
and on behalf of all others similarly situated,

Plaintiff,
Case No. 2018-CH-9477

LOEWS CHICAGO HOTEL, INC., LOEWS JURY TRIAL DEMANDED
CORPORATION, LOEWS COH OPERATING

COMPANY, LLC and ADP LLC,

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ne

Defendants.

FIRST AMENDED COMPLAINT

Plaintiff Tekita Bryant (“Bryant” or “Plaintiff’), by and through her attorneys, individually
and on behalf of all others similarly situated (the “Class”), brings the following Class Action
Complaint (“Complaint”) pursuant to the Ifinois Code of Civil Procedure, 735 ILCS §§ 5/2-801
and 2-802, against Loews Chicago Hotel, Inc. (“Loews Chicago”), Loews Corporation (“Loews
Corp.”), Loews COH Operating Company, LLC (“Loews COH”) (collectively, “Loews”), and
ADP LLC (“ADP”) (together with Loews, “Defendants’’), their subsidiaries and affiliates, to
redress and curtail Defendants’ unlawful collection, use, storage, and disclosure of Plaintiffs
sensitive biometric data. Plaintiff alleges as follows upon personal knowledge as to herself, her
own acts and experiences and, as to ali other matters, upon information and belief, including
investigation conducted by her attorneys.

NATURE OF THE ACTION
1, Defendant Loews is a luxury hospitality company that owns and operates twenty-

five hotels in the United States and Canada, two of which are located in IIlinois.

 

 
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2. When Loews hires an employee, he or she is enrolled in its ADP employee
database. Defendants use the employee database to monitor the time worked by Loews’ hourly
employees.

3. While many employers use conventional methods for tracking time worked (such
as ID badge swipes or punch clocks), Loews’ employees are required to have their fingerprints
scanned by a biometric timekeeping device.

4. Biometrics are not relegated to esoteric corners of commerce. Many businesses ~
such as Defendants’ — and financial institutions have incorporated biometric applications into their
workplace in the form of biometric timeclocks, and into consumer products, including such
ubiquitous consumer products as checking accounts and cell phones.

5. Unlike ID badges or time cards — which can be changed or replaced if stolen or
compromised — fingerprints are unique, permanent biometric identifiers associated with each
employee. This exposes Loews employees to serious and irreversible privacy risks. For example,
if a database containing fingerprints or other sensitive, proprietary biometric data is hacked,
breached, or otherwise exposed — like in the recent Yahoo, eBay, Equifax, Uber, Home Depot,
MyFitnessPal, Panera, Whole Foods, Chipotle, Omni Hotels & Resorts, Trump Hotels, and
Facebook/Cambridge Analytica data breaches or misuses — employees have no means by which
to prevent identity theft, unauthorized tracking or other unlawful or improper use of this highly
personal and private information.

6. In 2015, a data breach at the United States Office of Personnel Management
exposed the personal identification information, including biometric data, of over 21.5 million
federal employees, contractors, and job applicants. U.S. Off. of Personnel Mgmt., Cybersecurity

Incidents (2018), available at https:/(www.opm.gov/cybersecurity/cy bersecurity-incidents.

 

 
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7. An illegal market already exists for biometric data. Hackers and identity thieves
have targeted Aadhaar, the largest biometric database in the world, which contains the personal
and biometric data — including fingerprints, iris scans, and a facial photograph — of over a billion
Indian citizens. See Vidhi Doshi, A Security Breach in India Has Left a Billion People at Risk of
Identity Theft, The Washington Post (Jan. 4, 2018), available at
https://www. washingtonpost.com/news/worldviews/wp/20 1 8/0 1/04/a-security-breach-in-india-
has-left-a-billion-people-at-risk-of-identity-theft/?utm_term=.b3c70259f138. In January 2018, an
Indian newspaper reported that the information housed in Aadhaar was available for purchase for
less than $8 and in as little as 10 minutes. Rachna Khaira, Rs 500, 10 Minutes, and You Have
Access to Billion Aadhaar Details, The Tribune (Jan. 4, 2018), available at
http://www.tribuneindia.com/news/nation/rs-500- | 0-minutes-and-you-have-access-to-billion-
aadhaar-details/523361 html,

8. Recognizing the need to protect its citizens from situations like these, Illinois
enacted the Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1, et seg., specifically to
regulate companies that collect and store Illinois citizens’ biometrics, such as fingerprints.

9, Notwithstanding the clear and unequivocal requirements of the law, each
Defendant disregards Loews’ employees’ statutorily protected privacy rights and unlawfully
collects, stores, disseminates, and uses their employees’ biometric data in violation of BIPA.
Specifically, each Defendant has violated and continue to violate BIPA because they did not and
continue not to:

a. Properly inform Plaintiff and others similarly situated in writing of the specific
purpose and length of time for which their fingerprints were being collected, stored,
and used, as required by BIPA;

b. Receive a written release from Plaintiff and others similarly situated to collect,
store, or otherwise use their fingerprints, as required by BIPA;

 

 
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c. Provide a publicly available retention schedule and guidelines for permanently
destroying Plaintiffs and other similarly-situated individuals’ fingerprints, as
required by BIPA; and

d. Obtain consent from Plaintiff and others similarly situated to disclose, redisclose,
or otherwise disseminate their fingerprints to a third party as required by BIPA,

10. Accordingly, Plaintiff seeks an Order: (1) declaring that each Defendant’s conduct
violates BIPA; (2) requiring each Defendant to cease the unlawful activities discussed herein; and

(3) awarding statutory damages to Plaintiff and the proposed Class.

PARTIES
11, Plaintiff Tekita Bryant is a natural person and a citizen of the State of Illinois.
12. Defendant Loews Chicago Hotel Inc., was a corporation existing under the laws of

the State of Delaware during the statutory period, with its principle place of business in Chicago,
Illinois. Loews was registered with the Illinois Secretary of State and conducted business in the
State of Illinois, including Cook County, during the statutory period.

13, Defendant Loews Corporation, the parent company of Loews Chicago Hotel, Inc.,
and Loews COH Operating Company, LLC is a corporation organized and existing under the laws
of the State of Delaware, with its principle place of business in New York, New York. Loews
Corp. is registered with the Illinois Secretary of State and conducts business in the State of Illinois,
including Cook County.

14. Defendant Loews COH Operating Company, LLC ts a limited Hability company
organized and existing under the laws of the State of Delaware, with its principle place of business
in New York, New York. Loews COH is registered with the Illinois Secretary of State and conducts

business in the State of Illinois, including Cook County.

 

 
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15. Defendant ADP LLC is a Delaware limited liability company that is registered to
de business in IHinois.

JURISDICTION AND VENUE

16. This Court has jurisdiction over Defendants pursuant to 735 ILCS 5/2-209 because
they conduct business transactions in [linois, committed statutory violations and tortious acts in
Himois, and are registered to conduct business in Ilinois,

17. | Venue is proper in Cook County because Defendants conduct business in Cook
County and committed the statutory violations alleged herein in Cook County.

FACTUAL BACKGROUND
I. The Biometric Information Privacy Act

18. In the early 2000s, major national corporations started using Chicago and other
Jocations in [linois to test “new applications of biometric-facilitated financial transactions,
including finger-scan technologies at grocery stores, gas stations, and school cafeterias.” 740 ILCS
§ 14/3(c). Given its relative infancy, an overwhelming portion of the public became weary of this
then-growing yet unregulated technology. See 740 ILCS § 14/5.

19. In late 2007, a biometrics company called Pay by Touch, which provided major
retailers throughout the State of Illinois with fingerprint scanners to facilitate consumer
transactions, filed for bankruptcy. That bankruptcy was alarming to the Illinois Legislature because
suddenly there was a serious risk that millions of fingerprint records — which, like other unique
biometric identifiers, can be linked to people’s sensitive financial and personal data — could now
be sold, distributed, or otherwise shared through the bankruptcy proceedings without adequate
protections for [linois citizens. The bankruptcy also highlighted the fact that most consumers who

used the company’s fingerprint scanners were completely unaware that the scanners were not

 
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actually transmitting fingerprint data to the retailer who deployed the scanner, but rather to the
now-bankrupt company, and that their unique biometric identifiers could now be sold to unknown
third parties.

20. Recognizing the “very serious need [for] protections for the citizens of I[linois
when it [came to their] biometric information,” Ilinois enacted BIPA in 2008. See Hlinois House
Transcript, 2008 Reg. Sess. No. 276; 740 ILCS § 14/5,

21, Additionally, to ensure compliance, BIPA provides that, for each violation, the
prevailing party may recover $1,000 or actual damages, whichever is greater, for negligent
violations and $5,000, or actual damages, whichever is greater, for intentional or reckless
violations, 740 ILCS 14/20.

22.  BIPA is an informed consent statute which achieves its goal by making it unlawful
for a company to, among other things, collect, capture, purchase, receive through trade, or
otherwise obtain a person’s or a customer’s biometric identifiers or biometric information, unless
it first:

a. Informs the subject in writing that a biometric identifier or biometric information
is being collected, stored and used;

b. Informs the subject in writing of the specific purpose and length of term for which
a biometric identifier or biometric information is being collected, stored, and used;

and

c. Receives a written release executed by the subject of the biometric identifier or
biometric information.

See 740 ILCS § 14/15(b).
23, __BIPA specifically applies to employees who work in the State of Illinois, BIPA
defines a “written release” specifically “in the context of employment [as] a release executed by

an employee as a condition of employment.” 740 ILCS 14/10.

 

 
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24. Biometric identifiers include retina and iris scans, voiceprints, scans of hand and
face geometry, and ~ most importantly here — fingerprints. See 740 ILCS § 14/10. Biometric
information is separately defined to include any information based on an individual’s biometric
identifier that is used to identify an individual. Jd.

25. BIPA also establishes standards for how companies must handle Illinois citizens’
biometric identifiers and biometric information. See, e.g., 740 ILCS § 14/15(c)-(d). For example,
BIPA prohibits private entities from disclosing a person’s or customer’s biometric identifier or
biometric information without first obtaining consent for such disclosure. See 740 ILCS §
14/15(d)(1).

26. BIPA also prohibits selling, leasing, trading, or otherwise profiting from a person’s
biometric identifiers or biometric information (740 ILCS § 14/15(c)) and requires companies to
develop and comply with a written policy — made available to the public — establishing a retention
schedule and guidelines for permanently destroying biometric identifiers and biometric
information when the initial purpose for collecting such identifiers or information has been
satisfied or within three years of the individual’s last interaction with the company, whichever
occurs first, 740 ILCS § 14/15{a),

27, The Illinois legislature enacted BIPA due to the increasing use of biometric data in
financial and security settings, the general public’s hesitation to use biometric information, and —
most significantly — the unknown ramifications of biometric technology. Biometrics are
biologically unique to the individual and, once compromised, an individual is at heightened risk
for identity theft and left without any recourse.

28, BIPA provides individuals with a private right of action, protecting their right to

privacy regarding their biometrics as well as protecting their rights to know the precise nature for

 

 
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which their biometrics are used and how they are being stored and ultimately destroyed. Unlike
other statutes that only create a right of action if there is a qualifying data breach, BIPA strictly
regulates the manner in which entities may collect, store, use, and disseminate biometrics and
creates a private right of action for lack of statutory compliance.

29, _—‘ Plaintiff, like the Illinois legislature, recognizes how imperative it is to keep
biometric information secure. Biometric information, unlike other personal identifiers such as a

social security number, cannot be changed or replaced if hacked or stolen.

il. Defendants Violate the Biometric Information Privacy Act.

30, By the time BIPA passed through the Illinois legislature in mid-2008, most
companies who had experimented with using individuals’ biometric data stopped doing so.

31. However, each Defendant failed to take note of the shift in Hlinois law governing
the collection, use and dissemination of biometric data. As a result, each Defendant continues to
collect, store, use, and disseminate employees’ biometric data in violation of BIPA.

32. Specifically, when employees are hired by Loews, they are required to have their
fingerprints scanned to enroll them in its ADP employee database(s).

33. Loews uses an employee time tracking system supplied by ADP that requires
employees to use their fingerprint as a means of authentication. Unlike a traditional timeclock, all
Loews employees have to use their fingerprints to “punch” in and out of work.

34, Upon information and belief, Loews and Loews COH failed and continue to fail to
inform their employees that they disclose or disclosed their fingerprint data to Loews Corp.,; failed
and continue to fail to inform their employees that they disclose or disclosed their fingerprints to
at least one out-of-state third-party vendor, ADP, and likely others; fail to inform their employees

that they disclose their fingerprint data to other, currently unknown, third parties, which host the

 

 
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biometric data in their data centers; fail to inform its employees of the purposes and duration for
which they collect sensitive biometric data; and fail to obtain written releases from employees
before collecting their fingerprints.

35. Upon information and belief, ADP failed and continues to fail to inform Loews
employees that it discloses their fingerprint data to other, currently unknown, third parties, which
host the biometric data in their data centers; fails to inform Loews employees of the purposes and
duration for which it collects their sensitive biometric data; and fails to obtain written releases
from Loews employees before collecting their fingerprints.

36. Furthermore, each Defendant fails to provide Loews’ employees with a written,
publicly available policy identifying their retention schedule and guidelines for permanently
destroying employees’ fingerprints when the initial purpose for collecting or obtaining their
fingerprints is no longer relevant, as required by BIPA.

37, The Pay by Touch bankruptcy that catalyzed the passage of BIPA highlights why
such conduct — where individuals are aware that they are providing a fingerprint but not aware to
whom or for what purposes they are doing so — is dangerous. That bankruptcy spurred [linois
citizens and legislators into realizing that it is crucial for individuals to understand when providing
biometric identifiers, such as a fingerprint, who exactly is collecting their biometric data, where it
will be transmitted and for what purposes, and for how long. Each Defendant disregards these
obligations and Loews’ employees’ statutory rights and instead unlawfully collects, stores, uses,
and disseminates Loews’ employees’ biometric identifiers and information, without ever receiving
the individual’s informed written consent required by BIPA.

38. Upon information and belief, each Defendant lacks retention schedules and

guidelines for permanently destroying Plaintiffs and other similarly-situated individuals’

 

 
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biometric data and has not and will not destroy Plaintiffs and other similarly-situated individuals’
biometric data when the initial purpose for collecting or obtaining such data has been satisfied or
within three years of the individual’s last interaction with each company.

39. Loews’ employees are not told what might happen to their biometric data if and
when any Defendant merges with another company or worse, if and when any Defendant’s entire
business folds, or when the other third parties that have received employees’ biometric data
businesses fold.

40, Since no Defendant publishes a BIPA-mandated data-retention policy or discloses
the purposes for their collection and use of biometric data, Loews’ employees have no idea the
extent to whom any Defendant sells, discloses, re-discloses, or otherwise disseminates their
biometric data. Nor are Plaintiff and the putative Class told to whom any Defendant currently
discloses their biometric data, or what might happen to their biometric data in the event ofa merger
or a bankruptcy.

41. These violations have raised a material risk that Plaintiff's and other similarly-
situated individuals’ biometric data will be unlawfully accessed by third parties.

42. By and through the actions detailed above, each Defendant disregards Plaintiff's
and other similarly-situated individuals’ legal rights in violation of BIPA.

If. Plaintiff Tekita Bryant’s Experience

43. Plaintiff Tekita Bryant worked as a Star Service Agent at the Loews Hotel Chicago

O’Hare location located at 5300 North River Road, Rosemont, Illinois, 60018. Bryant worked for

Loews from January 2018 until July 2018,

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44, As a condition of employment, Bryant was required to scan her fingerprint so
Loews could use it as an authentication method to track her time, Loews subsequently stored
Plaintiff's fingerprint data in its ADP employee database(s).

45, Plaintiff was required to scan her fingerprint each time she clocked in for work and
clocked out of work.

46. Plaintiff has never been informed of the specific limited purposes or length of time
for which any Defendant collected, stored, used, and/or disseminated her biometric data.

47, Plaintiff has never been informed of any biometric data retention policy developed
by any Defendant, nor has she ever been informed of whether any Defendant will ever permanently
delete her biometric data.

48. Plaintiff has never been provided with nor ever signed a written release allowing
any Defendant to collect, store, use, or disseminate her biometric data.

49. Plaintiff has continuously and repeatedly been exposed to the risks and harmful
conditions created by Defendants’ multiple violations of BIPA alleged herein.

30, No amount of time or money can compensate Plaintiff if her biometric data is
compromised by the lax procedures through which Defendants captured, stored, used, and
disseminated her and other similarly-situated individuals’ biometrics. Moreover, Plaintiff would
not have provided her biometric data to Defendants if she had known that they would retain such
information for an indefinite period of time without her consent.

51. A showing of actual damages is not necessary in order to state a claim under BIPA.
see Rosenbach yv. Six Flags Ent. Corp., 2019 IL 123186, § 40 (“[A]Jn individual need not allege

some actual injury or adverse effect, beyond violation of her or her rights under the Act, in order

1]

 
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to qualify as an “aggrieved” person and be entitled to seek liquidated damages and injunctive relief
pursuant to the Act”).

52. As Plaintiff is not required to allege or prove actual damages in order to state a
claim under BIPA, she seeks statutory damages under BIPA as compensation for the injuries
caused by Defendants. Rosenbach, 2019 IL 123186, | 40.

CLASS ALLEGATIONS

53. Pursuant to the Illinois Code of Civil Procedure, 735 ILCS 5/2-801, Plaintiff brings
claims on her own behalf and as a representative of all other similarly-situated individuals pursuant
to BIPA, 740 ILCS § 14/1, et seq., to recover statutory penalties, prejudgment interest, attorneys’
fees and costs, and other damages owed.

54. As discussed supra, Section 14/15(b) of BIPA prohibits a company from, among
other things, collecting, capturing, purchasing, receiving through trade, or otherwise obtaining a
person’s or a customer’s biometric identifiers or biometric information, unless it first (1) informs
the individual in writing that a biometric identifier or biometric information is being collected or
stored; (2) informs the individual in writing of the specific purpose and length of time for which a
biometric identifier or biometric information is being collected, stored, and used; and (3) receives
a written release executed by the subject of the biometric identifier or biometric information. 740
ILCS § 14/15.

55, Plaintiff seeks class certification under the Illinois Code of Civil Procedure, 735 §
ILCS 5/2-801 for the following class of similarly-situated individuals under BIPA:

All individuals working for Defendants Loews, Loews Corp., and/or Loews COH

in the State of Illinois who had their fingerprints collected, captured, received,

obtained, maintained, stored, or disclosed by any Defendant during the applicable

statutory period.

56. This action is properly maintained as a class action under 735 ILCS § 5/2-801

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because:
A. The class is so numerous that joinder of all members is impracticable;
B. There are questions of law or fact that are common to the class;
Cc. The claims of the Plaintiff are typical of the claims of the class; and,
D. The Plaintiff will fairly and adequately protect the interests of the class.
Numerosity
57. The total number of putative class members exceeds fifty (50) individuals. The
exact number of class members can easily be determined from Lowes’ payroll records.
Commonality
38. There is a well-defined commonality of interest in the substantial questions of law
and fact concerning and affecting the Class in that Plaintiff and all members of the Class have been
harmed by Defendants’ failure to comply with BIPA, The common questions of law and fact
include, but are not limited to the following:

A. Whether any Defendant collected, captured or otherwise obtained
Plaintiff's and the Class’s biometric identifiers or biometric information;

B. Whether any Defendant properly informed Plaintiff and the Class of their
purposes for collecting, using, storing and disseminating their biometric
identifiers or biometric information;

C, Whether any Defendant obtained a written release (as defined in 740 ILCS
§ 14/10) to collect, use, store and disseminate Plaintiff's and the Class’s
biometric identifiers or biometric information;

D. Whether any Defendant has disclosed or re-disclosed Plaintiffs and the
Class’s biometric identifiers or biometric information;

E. Whether any Defendant has sold, leased, traded, or otherwise profited from
Plaintiff's and the Class’s biometric identifiers or biometric information;

F. Whether any Defendant developed a written policy, made available to the
public, establishing a retention schedule and guidelines for permanently
destroying biometric identifiers and biometric information when the initial
purpose for collecting or obtaining such identifiers or information has been

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satisfied or within three years of their last interaction with the individual,
whichever occurs first;

G. Whether any Defendant complies with any such written policy (if one
exists);

H. Whether any Defendant used Plaintiffs and the Class’s fingerprints to
identify them;

I. Whether any Defendant’s violations of BIPA have raised a material risk that
Plaintiff's biometric data will be unlawfully accessed by third parties;

J. Whether the violations of BIPA were committed negligently; and
Kk. Whether the violations of BIPA were committed intentionally and/or
recklessly.
59. Plaintiff anticipates that Defendants will raise defenses that are common to the
class.
Adequacy

60. Plaintiff will fairly and adequately protect the interests of all members of the class,
and there are no known conflicts of interest between Plaintiff and class members. Plaintiff,
moreover, has retained experienced counsel that are competent in the prosecution of complex
litigation and who have extensive experience acting as class counsel,

Typicality

61. The claims asserted by Plaintiff are typical of the class members she seeks to
represent. Plaintiff has the same interests and suffers from the same unlawful practices as the class
members,

62. Upon information and belief, there are no other class members who have an interest
individually controlling the prosecution of his or her individual claims, especially in light of the
relatively small value of each claim and the difficulties involved in bringing individual litigation

against one’s employer. However, if any such class member should become known, he or she can

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“opt out” of this action pursuant to 735 ILCS § 5/2-801,
Predominance and Superiority

63. The common questions identified above predominate over any individual issues,
which will relate solely to the quantum of relief due to individual class members. A class action is
superior to other available means for the fair and efficient adjudication of this controversy because
individual joinder of the parties is impracticable. Class action treatment will allow a large number
of similarly-situated persons to prosecute their common claims in a single forum simultaneously,
efficiently and without the unnecessary duplication of effort and expense if these claims were
brought individually. Moreover, as the damages suffered by each class member are relatively small
in the sense pertinent to class action analysis, the expenses and burden of individual litigation
would make it difficult for individual class members to vindicate their claims.

64. Additionally, important public interests will be served by addressing the matter as
a class action. The cost to the court system and the public for the adjudication of individual
litigation and claims would be substantially more than if claims are treated as a class action.
Prosecution of separate actions by individual class members would create a risk of inconsistent
and varying adjudications, establish incompatible standards of conduct for Defendants and/or
substantially impair or impede the ability of class members to protect their interests. The issues in
this action can be decided by means of common, class-wide proof. In addition, if appropriate, the
Court can and is empowered to fashion methods to efficiently manage this action as a class action.

FIRST CAUSE OF ACTION
Violation of 740 ILCS § 14/15(a): Failure to Institute, Maintain and Adhere to Publicly-
Available Retention Schedule

65. Plaintiff incorporates the foregoing allegations as if fully set forth herein.

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66. BIPA mandates that companies in possession of biometric data establish and
maintain a satisfactory biometric data retention — and, importantly, deletion — policy. Specifically,
those companies must: (i) make publicly available a written policy establishing a retention
schedule and guidelines for permanent deletion of biometric data (at most three years after the
company’s last interaction with the individual); and (ii) actually adhere to that retention schedule
and actually delete the biometric information. See 740 ILCS § 14/15(a).

67, Each Defendant fails to comply with these BIPA mandates.

68. Defendant Loews Chicago Hotel Inc., was a Delaware corporation registered to do
business in Illinois during the statutory period and thus qualifies as a “private entity” under BIPA.
See 740 ILCS 14/10.

69. Defendant Loews Corporation, the parent company of Loews Chicago Hotel, Inc.
and Loews COH Operating Company, LLC, is a Delaware corporation registered to do business
in Illinois and thus qualifies as a “private entity” under BIPA. See 740 ILCS 14/10.

70. Defendant Loews COH Operating Company, LLC is a Delaware limited liability
company registered to do business in Illinois and thus qualifies as a “private entity” under BIPA.
See 740 ILCS 14/10.

71. Defendant ADP, LLC is a Delaware limited liability company registered to do
business in [Hinois and thus qualifies as a “private entity” under BIPA. See 740 ILCS 14/10,

72. Plaintiff and the Class are individuals who have had their “biometric identifiers”
collected by each Defendant (in the form of their fingerprints), as explained in detail in Sections
II and Ill, supra. See 740 ILCS § 14/10.

73. Plaintiffs and the Class’s biometric identifiers were used to identify them and,

therefore, constitute “biometric information” as defined by BIPA. See 740 ILCS § 14/10.

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74, Each Defendant failed to provide a publicly available retention schedule or
guidelines for permanently destroying biometric identifiers and biometric information as specified
by BIPA. See 740 ILCS § 14/15(a).

75, Upon information and belief, each Defendant lacks retention schedules and
guidelines for permanently destroying Plaintiff's and the Class’s biometric data and have not and
will not destroy Plaintiff's and the Class’s biometric data when the initial purpose for collecting
or obtaining such data has been satisfied or within three years of the individual’s last interaction
with the company.

76. On behalf of herself and the Class, Plaintiff seeks: (1) declaratory relief; (2)
injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class by
requiring each Defendant to comply with BIPA’s requirements for the collection, storage, and use
of biometric identifiers and biometric information as described herein; (3) statutory damages of
$5,000 for each intentional and/or reckless violation of BIPA pursuant to 740 ILCS 14/20(2) or,
in the alternative, statutory damages of $1,000 for each negligent violation of BIPA pursuant to
740 ILCS 14/20€1); and (4) reasonable attorneys’ fees and costs and other litigation expenses
pursuant to 740 ILCS 14/20(3).

SECOND CAUSE OF ACTION
Violation of 740 ILCS § 14/15(b): Failure to Obtain Informed Written Consent and Release
Before Obtaining Biometric Identifiers or Information

77, Plaintiff incorporates the foregoing allegations as if fully set forth herein.

78.  BIPA requires companies to obtain informed written consent from employees
before acquiring their biometric data. Specifically, BIPA makes it unlawful for any private entity
to “collect, capture, purchase, receive through trade, or otherwise obtain a person’s or a customer’s

biometric identifiers or biometric information unless [the entity] first: (1) informs the subject...in

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writing that a biometric identifier or biometric information is being collected or stored; (2) informs
the subject.,.in writing of the specific purpose and length of term for which a biometric identifier
or biometric information is being collected, stored, and used; and (3) receives a written release
executed by the subject of the biometric identifier or biometric information.,.” 740 ILCS 14/15(b)
(emphasis added).

79, Each Defendant fails to comply with these BIPA mandates.

80. Defendant Loews Chicago Hotei Inc., was a Delaware corporation registered to do
business in Illinois during the statutory period and thus qualifies as a “private entity” under BIPA.
See 740 ILCS 14/10,

81. Defendant Loews Corporation, the parent company of Loews Chicago Hotel, Inc.
and Loews COH Operating Company, LLC, is a Delaware corporation registered to do business
in Ulinois and thus qualifies as a “private entity” under BIPA. See 740 ILCS 14/10.

82. Defendant Loews COH Operating Company, LLC is a Delaware limited liability
company registered to do business in Illinois and thus qualifies as a “private entity” under BIPA,
See 740 ILCS 14/10.

83. Defendant ADP, LLC is a Delaware limited liability company registered to do
business in Illinois and thus qualifies as a “private entity” under BIPA. See 740 ILCS 14/10.

84, ‘Plaintiff and the Class are individuals who have had their “biometric identifiers”
collected by Defendants (in the form of their fingerprints), as explained in detail in Sections II and
Ill, supra, See 740 ILCS § 14/10.

85. Plaintiffs and the Class’s biometric identifiers were used to identify them and,

therefore, constitute “biometric information” as defined by BIPA. See 740 ILCS § 14/10.

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86. Each Defendant systematically and automatically collected, used, stored and
disseminated Plaintiffs and the Class’s biometric identifiers and/or biometric information without
first obtaining the written release required by 740 ILCS 14/15(b)(3).

87. No Defendant ever informed Plaintiff and the Class in writing that their biometric
identifiers and/or biometric information were being collected, stored, used and disseminated, nor
did any Defendant inform Plaintiff and the Class in writing of the specific purpose(s) and length
of term for which their biometric identifiers and/or biometric information were being collected,
stored, used and disseminated as required by 740 ILCS 14/15(b)(1)-(2).

88. By collecting, storing, using and disseminating Plaintiffs and the Class’s biometric
identifiers and biometric information as described herein, each Defendant violated Plaintiff's and
the Class’s rights to privacy in their biometric identifiers and/or biometric information as set forth
in BIPA, See 740 ILCS 14/1, ef seq.

89. On behalf of herself and the Class, Plaintiff seeks: (1) declaratory relief; (2)
injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class by
requiring Defendants to comply with BIPA’s requirements for the collection, storage, use and
dissemination of biometric identifiers and biometric information as described herein; (3) statutory
damages of $5,000 for each intentional and/or reckless violation of BIPA pursuant to 740 [LCS
14/20(2) or, in the alternative, statutory damages of $1,000 for each negligent violation of BIPA
pursuant to 740 ILCS 14/20(1); and (4) reasonable attorneys’ fees and costs and other litigation
expenses pursuant to 740 ILCS 14/20(3)

THIRD CAUSE OF ACTION
Violation of 740 ILCS § 14/15(d): Disclosure of Biometric Identifiers and
Information Before Obtaining Consent

90. Plaintiff incorporates the foregoing allegations as if fully set forth herein.

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91.  BIPA prohibits private entities from disclosing a person’s or customer’s biometric
identifier or biometric information without first obtaining consent for that disclosure. See 740
ILCS 14/15(d)h).

92. Each Defendant fails to comply with this BIPA mandate.

93. Defendant Loews Chicago Hotel Inc., was a Delaware corporation registered to do
business in Illinois during the statutory period and thus qualifies as a “private entity” under BIPA,
See 740 ILCS 14/10.

94, Defendant Loews Corporation, the parent company of Loews Chicago Hotel, Inc.
and Loews COH Operating Company, LLC, is a Delaware corporation registered to do business
in [Jlinois and thus qualifies as a “private entity” under BIPA. See 740 ILCS 14/10.

95. Defendant Loews COH Operating Company, LLC is a Delaware corporation
registered to do business in Illinois and thus qualifies as a “private entity” under BIPA. See 740
ILCS 14/10.

96. Defendant ADP, LLC is a Delaware limited liability company registered to do
business in Iinois and thus qualifies as a “private entity” under BIPA. See 740 ILCS 14/10.

97. Plaintiff and the Class are individuais who have had their “biometric identifiers”
collected by each Defendant (in the form of their fingerprints), as explained in detail in Sections
II and ITI, supra. See 740 ILCS § 14/10.

98. Plaintiff's and the Class’s biometric identifiers were used to identify them and,
therefore, constitute “biometric information” as defined by BIPA. See 740 ILCS § 14/10.

99. Each Defendant systematically and automatically disclosed, redisclosed, or
otherwise disseminated Plaintiff's and the Class’s biometric identifiers and/or biometric

information without first obtaining the consent required by 740 ILCS 14/15(d)(1).

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100. By disclosing, redisclosing, or otherwise disseminating Plaintiff's and the Class’s
biometric identifiers and biometric information as described herein, Defendants violated Plaintiff's
and the Class’s rights to privacy in their biometric identifiers and/or biometric information as set
forth in BIPA. See 740 ILCS 14/1, et seq.

101. On behalf of herself and the Class, Plaintiff seeks: (1) declaratory relief; (2)
injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class by
requiring Defendants to comply with BIPA’s requirements for the collection, storage, use and
dissemination of biometric identifiers and biometric information as described herein; (3) statutory
damages of $5,000 for each intentional and/or reckless violation of BIPA pursuant to 740 ILCS §
14/20(2) or, in the alternative, statutory damages of $1,000 for each negligent violation of BIPA
pursuant to 740 ILCS § 14/20(1); and (4) reasonable attorneys’ fees and costs and other litigation
expenses pursuant to 740 ILCS § 14/20(3).

PRAYER FOR RELIEF
Wherefore, Plaintiff Tekita Bryant respectfully requests that this Court enter an Order:
A, Certifying this case as a class action on behalf of the Class defined above,
appointing Plaintiff Tekita Bryant as Class Representative, and appointing Stephan
Zouras, LLP, as Class Counsel;
B. Declaring that Defendants’ actions, as set forth above, violate BIPA;
C, Awarding statutory damages of $5,000 for each intentional and/or reckless

violation of BIPA pursuant to 740 ILCS § 14/20(2) or, in the alternative, statutory
damages of $1,000 for each negligent violation of BIPA pursuant to 740 ILCS §

14/2001);
D. Declaring that Defendants’ actions, as set forth above, were intentional or reckless;
E, Declaring that Defendants’ actions, as set forth above, constitute negligence;
F, Awarding injunctive and other equitable relief as is necessary to protect the

interests of Plaintiff and the Class, including an Order requiring Defendants to

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collect, store, use, destroy and disseminate biometric identifiers and/or biometric
information in compliance with BIPA;

G. Awarding Plaintiff and the Class their reasonable attorneys’ fees and costs and
other litigation expenses pursuant to 740 ILCS § 14/20(3);

H. Awarding Plaintiff and the Class pre- and post-judgment interest, to the extent

allowable; and,

I, Awarding such other and further relief as equity and justice may require.

Date: April 5, 2019

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Respectfully Submitted,

és/ Haley R. Jenkins
Ryan F. Stephan

James B. Zouras
Andrew C, Ficzko
Haley R. Jenkins
STEPHAN ZOURAS, LLP
100 N. Riverside Plaza
Suite 2150

Chicago, Illinois 60606
312.233.1550
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Firm ID: 43734
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Hearing Date; No hearing scheduled
Courtroom Number: No hearing scheduled
Location: No hearing scheduled

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EXHIBIT B

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4/5/2019 12:45 PM
DOROTHY BROWN
CIRCUIT CLERK
COOK COUNTY, IL
2018CH09477

 
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IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, CHANCERY DIVISION

TEKITA BRYANT, individually,
and on behalf of all others similarly situated,

Plaintiff,
Case No. 2018-CH-9477

LOEWS CHICAGO HOTEL, INC., LOEWS
CORPORATION, LOEWS COH OPERATING
COMPANY, LLC and ADP LLC,

Judge Pamela McLean Meyerson

<

Defendants.

ORDER ON PLAINTIFF’S MOTION FOR LEAVE TO FILE
FIRST AMENDED COMPLAINT

This matter coming to be heard on Plaintiff's Motion for Leave to File First Amended
Complaint, due notice having been given and the Court being duly advised on the premises, IT
IS SO ORDERED:

Plaintiff's Motion for Leave to File First Amended Complaint is GRANTED;

Defendants will answer or otherwise plead within 21 days hereof,

Submitted by: ENTERED:
Haley R. Jenkins

STEPHAN ZOURAS, LLP Dated:
100 North Riverside Plaza
Suite 2150

Chicago, IHinois 60606
312.233.1550 Honorable Pamela McLean Meyerson
312.233, 1560 f

Firm ID: 43734

hjenkins@stephanzouras.com

 

 

Counsel for Plaintiff

 

 
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Order (Rev. 02/24/05) CCG No02

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

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DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 

 
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Return Date: No return date scheduled
Hearing Date: No hearing scheduled
Courtroom Number: No hearing scheduled

Location: No hearing scheduled FILED

4/12/2019 12:38 PM
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS DOROTHY BROWN

. CIRCUIT CLERK
COUNTY DEPARTMENT, CHANCERY DIVISION COOK COUNTY. IL

FILED DATE: 4/12/2019 12:38 PM 2018CH09477

2018CH09477
TEKITA BRYANT, individually, )
and on behalf of all others similarly situated, ) 4670766
)
Plaintiff, )
) Case No. 2018-CH-9477
v )
)
LOEWS CHICAGO HOTEL, INC., LOEWS _ ) JURY TRIAL DEMANDED
CORPORATION, LOEWS COH OPERATING )
COMPANY, LLC and ADP LLC, )
)

Defendants.

FIRST AMENDED COMPLAINT

Plaintiff Tekita Bryant (“Bryant” or “Plaintiff’), by and through her attorneys, individually
and on behalf of all others similarly situated (the “Class”), brings the following Class Action
Complaint (“Complaint”) pursuant to the Illinois Code of Civil Procedure, 735 ILCS §§ 5/2-801
and 2-802, against Loews Chicago Hotel, Inc. (“Loews Chicago”), Loews Corporation (“Loews
Corp.”), Loews COH Operating Company, LLC (“Loews COH”) (collectively, “Loews”), and
ADP LLC (“ADP”) (together with Loews, “Defendants”), their subsidiaries and affiliates, to
redress and curtail Defendants’ unlawful collection, use, storage, and disclosure of Plaintiff's
sensitive biometric data. Plaintiff alleges as follows upon personal knowledge as to herself, her
own acts and experiences and, as to all other matters, upon information and belief, including
investigation conducted by her attorneys.

NATURE OF THE ACTION
L, Defendant Loews is a luxury hospitality company that owns and operates twenty-

five hotels in the United States and Canada, two of which are located in Illinois.

 

 
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2. When Loews hires an employee, he or she is enrolled in its ADP employee
database. Defendants use the employee database to monitor the time worked by Loews’ hourly
employees.

3. While many employers use conventional methods for tracking time worked (such
as ID badge swipes or punch clocks), Loews’ employees are required to have their fingerprints
scanned by a biometric timekeeping device,

4, Biometrics are not relegated to esoteric corners of commerce, Many businesses ~
such as Defendants’ ~ and financial institutions have incorporated biometric applications into their
workplace in the form of biometric timeclocks, and into consumer products, including such
ubiquitous consumer products as checking accounts and cell phones.

5, Unlike ID badges or time cards — which can be changed or replaced if stolen or
compromised — fingerprints are unique, permanent biometric identifiers associated with each
employee. This exposes Loews employees to serious and irreversible privacy risks. For example,
if a database containing fingerprints or other sensitive, proprietary biometric data is hacked,
breached, or otherwise exposed — like in the recent Yahoo, eBay, Equifax, Uber, Home Depot,
MyFitnessPal, Panera, Whole Foods, Chipotle, Omni Hotels & Resorts, Trump Hotels, and
Facebook/Cambridge Analytica data breaches or misuses — employees have no means by which
to prevent identity theft, unauthorized tracking or other unlawful or improper use of this highly
personal and private information,

é, In 2015, a data breach at the United States Office of Personnel Management
exposed the personal identification information, including biometric data, of over 21.5 million
federal employees, contractors, and job applicants. U.S. Off. of Personnel Mgmt., Cybersecurity

Incidents (2018), available at https://www.opm.gov/cybersecurity/cybersecurity-incidents.

 

 

 
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7. An illegal market already exists for biometric data. Hackers and identity thieves
have targeted Aadhaar, the largest biometric database in the world, which contains the personal
and biometric data — including fingerprints, iris scans, and a facial photograph — of over a billion
Indian citizens, See Vidhi Doshi, A Security Breach in India Has Left a Billion People at Risk of
identity Theft, The Washington Post (Jan. 4, 2018), available — at
https://Awww.washingtonpost.com/news/worldviews/wp/20 1 8/0 1/04/a-security-breach-in-india-
has-left-a-billion-people-at-risk-of-identity-theft/2utm_term=.b3c70259f138. In January 2018, an
Indian newspaper reported that the information housed in Aadhaar was available for purchase for
less than $8 and in as little as 10 minutes. Rachna Khaira, Rs 500, 10 Minutes, and You Have
Access to Billion Aadhaar Details, The Tribune (Jan. 4, 2018), available at
http://www. tribuneindia.com/news/nation/rs-500-10-minutes-and-you-have-access-to-billion-
aadhaar-details/523361.html.

8. Recognizing the need to protect its citizens from situations like these, IlJinois
enacted the Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1, et seq., specifically to
regulate companies that collect and store Illinois citizens’ biometrics, such as fingerprints.

9, Notwithstanding the clear and unequivocal requirements of the law, each
Defendant disregards Loews’ employees’ statutorily protected privacy rights and unlawfully
collects, stores, disseminates, and uses their employees’ biometric data in violation of BIPA.
Specifically, each Defendant has violated and continue to violate BIPA because they did not and
continue not to:

a. Properly inform Plaintiff and others similarly situated in writing of the specific
purpose and length of time for which their fingerprints were being collected, stored,
and used, as required by BIPA;

b. Receive a written release from Plaintiff and others similarly situated to collect,
store, or otherwise use their fingerprints, as required by BIPA;

 

 
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c. Provide a publicly available retention schedule and guidelines for permanently
destroying Plaintiffs and other similarly-situated individuals’ fingerprints, as
required by BIPA; and

d, Obtain consent from Plaintiff and others similarly situated to disclose, redisclose,
or otherwise disseminate their fingerprints to a third party as required by BIPA.

10. Accordingly, Plaintiff seeks an Order: (1) declaring that each Defendant’s conduct
violates BIPA; (2) requiring each Defendant to cease the unlawful activities discussed herein; and

(3) awarding statutory damages to Plaintiff and the proposed Class.

PARTIES
Hi. Plaintiff Tekita Bryant is a natural person and a citizen of the State of Illinois.
12, Defendant Loews Chicago Hotel Inc., was a corporation existing under the laws of

the State of Delaware during the statutory period, with its principle place of business in Chicago,
Illinois, Loews was registered with the Illinois Secretary of State and conducted business in the
State of [linois, including Cook County, during the statutory period.

13. Defendant Loews Corporation, the parent company of Loews Chicago Hotel, Inc.,
and Loews COH Operating Company, LLC is a corporation organized and existing under the laws
of the State of Delaware, with its principle place of business in New York, New York. Loews
Corp. is registered with the Illinois Secretary of State and conducts business in the State of Illinois,
including Cook County.

14. Defendant Loews COH Operating Company, LLC is a limited liability company
organized and existing under the laws of the State of Delaware, with its principle place of business
in New York, New York. Loews COH is registered with the IHinois Secretary of State and conducts

business in the State of Illinois, including Cook County,

 

 
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15. Defendant ADP LLC is a Delaware limited liability company that is registered to
do business in Illinois.

‘ JURISDICTION AND VENUE

16. This Court has jurisdiction over Defendants pursuant to 735 ILCS 5/2-209 because
they conduct business transactions in Hlinois, committed statutory violations and tortious acts in
Illinois, and are registered to conduct business in Illinois.

17. | Yenue is proper in Cook County because Defendants conduct business in Cook
County and committed the statutory violations alleged herein in Cook County.

FACTUAL BACKGROUND
I. The Biometric Information Privacy Act

18. In the early 2000s, major national corporations started using Chicago and other
locations in Iflinois to test “new applications of biometric-facilitated financial transactions,
including finger-scan technologies at grocery stores, gas stations, and school cafeterias.” 740 [LCS
§ 14/5(c), Given its relative infancy, an overwhelming portion of the public became weary of this
then-growing yet unregulated technology. See 740 ILCS § 14/5.

19, In late 2007, a biometrics company called Pay by Touch, which provided major
retailers throughout the State of Illinois with fingerprint scanners to facilitate consumer
transactions, filed for bankruptcy. That bankruptcy was alarming to the Illinois Legislature because
suddenly there was a serious risk that millions of fingerprint records — which, like other unique
biometric identifiers, can be linked to people’s sensitive financial and personal data — could now
be sold, distributed, or otherwise shared through the bankruptcy proceedings without adequate
protections for Illinois citizens. The bankruptcy also highlighted the fact that most consumers who

used the company’s fingerprint scanners were completely unaware that the scanners were not

 

 
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actually transmitting fingerprint data to the retailer who deployed the scanner, but rather to the
now-bankrupt company, and that their unique biometric identifiers could now be sold to unknown
third parties.

20. Recognizing the “very serious need [for] protections for the citizens of Illinois
when it [came to their] biometric information,” Illinois enacted BIPA in 2008. See Illinois House
Transcript, 2008 Reg. Sess, No, 276; 740 ILCS § 14/5.

21. Additionally, to ensure compliance, BIPA provides that, for each violation, the
prevailing party may recover $1,000 or actual damages, whichever is greater, for negligent
violations and $5,000, or actual damages, whichever is greater, for intentional or reckless
violations. 740 ILCS 14/20.

22.  BIPA is an informed consent statute which achieves its goal by making it unlawful
for a company to, among other things, collect, capture, purchase, receive through trade, or
otherwise obtain a person’s or a customer’s biometric identifiers or biometric information, unless
it first:

a. Informs the subject in writing that a biometric identifier or biometric information
is being collected, stored and used;

b. Informs the subject in writing of the specific purpose and length of term for which
a biometric identifier or biometric information is being collected, stored, and used;

and

c. Receives a written release executed by the subject of the biometric identifier or
biometric information.

See 740 ILCS § 14/15(b).
23, _BIPA specifically applies to employees who work in the State of Illinois. BIPA
defines a “written release” specifically “in the context of employment [as] a release executed by

an employee as a condition of employment.” 740 ILCS 14/10.

 

 
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24, Biometric identifiers include retina and iris scans, voiceprints, scans of hand and
face geometry, and — most importantly here — fingerprints, See 740 ILCS § 14/10. Biometric
information is separately defined to include any information based on an individual’s biometric
identifier that is used to identify an individual. Jd.

25. __ BIPA also establishes standards for how companies must handle Illinois citizens’
biometric identifiers and biometric information. See, e.g., 740 ILCS § 14/15(c)-(d). For example,
BIPA prohibits private entities from disclosing a person’s or customer’s biometric identifier or
biometric information without first obtaining consent for such disclosure. See 740 ILCS §
14/15(d)(1).

26, _BIPA also prohibits selling, leasing, trading, or otherwise profiting from a person’s
biometric identifiers or biometric information (740 ILCS § 14/15(c)) and requires companies to
develop and comply with a written policy -- made available to the public — establishing a retention
schedule and guidelines for permanently destroying biometric identifiers and biometric
information when the initial purpose for collecting such identifiers or information has been
satisfied or within three years of the individual’s last interaction with the company, whichever
occurs first. 740 ILCS § 14/15(a),

27. The Illinois legislature enacted BIPA due to the increasing use of biometric data in
financial and security settings, the general public’s hesitation to use biometric information, and —
most significantly — the unknown ramifications of biometric technology. Biometrics are
biologically unique to the individual and, once compromised, an individual is at heightened risk
for identity theft and left without any recourse.

28. BIPA provides individuals with a private right of action, protecting their right to

privacy regarding their biometrics as well as protecting their rights to know the precise nature for

 

 

 
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which their biometrics are used and how they are being stored and ultimately destroyed. Unlike
other statutes that only create a right of action if there is a qualifying data breach, BIPA strictly
regulates the manner in which entities may collect, store, use, and disseminate biometrics and
creates a private right of action for lack of statutory compliance.

29, Plaintiff, like the Illinois legislature, recognizes how imperative it is to keep
biometric information secure. Biometric information, unlike other personal identifiers such as a

social security number, cannot be changed or replaced if hacked or stolen.

Il. Defendants Violate the Biometric Information Privacy Act,

30. By the time BIPA passed through the Illinois legislature in mid-2008, most
companies who had experimented with using individuals’ biometric data stopped doing so.

31, However, each Defendant failed to take note of the shift in Iflinois law governing
the collection, use and dissemination of biometric data. As a result, each Defendant continues to
collect, store, use, and disseminate employees’ biometric data in violation of BIPA,

32, Specifically, when employees are hired by Loews, they are required to have their
fingerprints scanned to enroll them in its ADP employee database(s).

33. Loews uses an employee time tracking system supplied by ADP that requires
employces to use their fingerprint as a means of authentication. Unlike a traditional timeclock, all
Loews employees have to use their fingerprints to “punch” in and out of work.

34. Upon information and belief, Loews and Loews COH failed and continue to fail to
inform their employees that they disclose or disclosed their fingerprint data to Loews Corp.; failed
and continue to fail to inform their employees that they disclose or disclosed their fingerprints to
at least one out-of-state third-party vendor, ADP, and likely others; fail to inform their employees

that they disclose their fingerprint data to other, currently unknown, third parties, which host the

 

 
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biometric data in their data centers; fail to inform its employees of the purposes and duration for
which they collect sensitive biometric data; and fail to obtain written releases from employees
before collecting their fingerprints.

35, Upon information and belief, ADP failed and continues to fail to inform Loews
employees that it discloses their fingerprint data to other, currently unknown, third parties, which
host the biometric data in their data centers; fails to inform Loews employees of the purposes and
duration for which it collects their sensitive biometric data: and fails to obtain written releases
from Loews employees before collecting their fingerprints.

36. Furthermore, each Defendant fails to provide Loews’ employees with a written,
publicly available policy identifying their retention schedule and guidelines for permanently
destroying employees’ fingerprints when the initial purpose for collecting or obtaining their
fingerprints is no longer relevant, as required by BIPA.

37. The Pay by Touch bankruptcy that catalyzed the passage of BIPA highlights why
such conduct — where individuals are aware that they are providing a fingerprint but not aware to
whom or for what purposes they are doing so — is dangerous. That bankruptcy spurred Illinois
citizens and legislators into realizing that it is crucial for individuals to understand when providing
biometric identifiers, such as a fingerprint, who exactly is collecting their biometric data, where it
will be transmitted and for what purposes, and for how long. Each Defendant disregards these
obligations and Loews’ employees’ statutory rights and instead unlawfully collects, stores, uses,
and disseminates Loews’ employees’ biometric identifiers and information, without ever receiving
the individual’s informed written consent required by BIPA.

38, Upon information and belief, each Defendant lacks retention schedules and

guidelines for permanently destroying Plaintiffs and other similarly-situated individuals’

 

 
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biometric data and has not and will not destroy Plaintiff’s and other similarly-situated individuals’
biometric data when the initial purpose for collecting or obtaining such data has been satisfied or
within three years of the individual’s last interaction with each company.

39. Loews’ employees are not told what might happen to their biometric data if and
when any Defendant merges with another company or worse, if and when any Defendant’s entire
business folds, or when the other third parties that have received employees’ biometric data
businesses fold.

40. Since no Defendant publishes a BIPA-mandated data-retention policy or discloses
the purposes for their collection and use of biometric data, Loews’ employees have no idea the
extent to whom any Defendant sells, discloses, re-discloses, or otherwise disseminates their
biometric data. Nor are Plaintiff and the putative Class told to whom any Defendant currently
discloses their biometric data, or what might happen to their biometric data in the event of a merger
ora bankruptcy.

41, These violations have raised a material risk that Plaintiff's and other similarly-
situated individuals’ biometric data will be unlawfully accessed by third parties.

42. By and through the actions detailed above, each Defendant disregards Plaintiff's
and other similarly-situated individuals’ legal rights in violation of BIPA.

Wi. Plaintiff Tekita Bryant’s Experience

43. Plaintiff Tekita Bryant worked as a Star Service Agent at the Loews Hotel Chicago

Hare location located at 5300 North River Road, Rosemont, Illinois, 60018. Bryant worked for

Loews from January 2018 until July 2018.

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44. As a condition of employment, Bryant was required to scan her fingerprint so
Loews could use it as an authentication method to track her time. Loews subsequently stored
Plaintiff's fingerprint data in its ADP employee database(s).

45. Plaintiff was required to scan her fingerprint each time she clocked in for work and
clocked out of work.

46, Plaintiff has never been informed of the specific limited purposes or length of time
for which any Defendant collected, stored, used, and/or disseminated her biometric data.

47. Plaintiff has never been informed of any biometric data retention policy developed
by any Defendant, nor has she ever been informed of whether any Defendant will ever permanently
delete her biometric data.

48. Plaintiff has never been provided with nor ever signed a written release allowing
any Defendant te collect, store, use, or disseminate her biometric data.

49. Plaintiff has continuously and repeatedly been exposed to the risks and harmful
conditions created by Defendants’ multiple violations of BIPA alleged herein,

50. No amount of time or money can compensate Plaintiff if her biometric data is
compromised by the lax procedures through which Defendants captured, stored, used, and
disseminated her and other similarly-situated individuals’ biometrics. Moreover, Plaintiff would
not have provided her biometric data to Defendants if she had known that they would retain such
information for an indefinite period of time without her consent.

51. A showing of actual damages is not necessary in order to state a claim under BIPA.
See Rasenbach v. Six Flags Ent. Corp., 2019 IL 123186, ¥ 40 (“[A]n individual need not allege

some actual injury or adverse effect, beyond violation of her or her rights under the Act, in order

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to qualify as an “aggrieved” person and be entitled to seek liquidated damages and injunctive relief
pursuant to the Act”),

52. As Plaintiff is not required to allege or prove actual damages in order to state a
claim under BIPA, she seeks statutory damages under BIPA as compensation for the injuries
caused by Defendants. Rosenbach, 2019 IL 123186, § 40.

| CLASS ALLEGATIONS

53, Pursuant to the Illinois Code of Civil Procedure, 735 ILCS 5/2-801, Plaintiff brings
claims on her own behalf and as a representative of all other similarly-situated individuals pursuant
to BIPA, 740 ILCS § 14/1, ef seq., to recover statutory penalties, prejudgment interest, attorneys’
fees and costs, and other damages owed.

54. As discussed supra, Section 14/15(b) of BIPA prohibits a company from, among
other things, collecting, capturing, purchasing, receiving through trade, or otherwise obtaining a
person’s or a customer’s biometric identifiers or biometric information, unless it first (1) informs
the individual in writing that a biometric identifier or biometric information is being collected or
stored; (2) informs the individual in writing of the specific purpose and length of time for which a
biometric identifier or biometric information is being collected, stored, and used; and (3) receives
a written release executed by the subject of the biometric identifier or biometric information, 740
ILCS § 14/15,

55. Plaintiff seeks class certification under the Illinois Code of Civil Procedure, 735 §
ILCS 5/2-801 for the following class of similarly-situated individuals under BIPA:

All individuals working for Defendants Loews, Loews Corp., and/or Loews COH

in the State of Ulinois who had their fingerprints collected, captured, received,

obtained, maintained, stored, or disclosed by any Defendant during the applicable

statutory period.

56. This action ts properly maintained as a class action under 735 ILCS § 5/2-801

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because:

The class is so numerous that joinder of all members is impracticable;
There are questions of law or fact that are common to the class;
The claims of the Plaintiff are typical of the claims of the class; and,

The Plaintiff will fairly and adequately protect the interests of the class.

Numerosity

37, The total number of putative class members exceeds fifty (50) individuals, The

exact number of class members can easily be determined from Lowes’ payroll records.

Commonality

58. | There is a well-defined commonality of interest in the substantial questions of law

and fact concerning and affecting the Class in that Plaintiff and all members of the Class have been

harmed by Defendants’ failure to comply with BIPA. The common questions of law and fact

include, but are not hmited to the following:

A.

Whether any Defendant collected, captured or otherwise obtained
Plaintiff's and the Class’s biometric identifiers or biometric information;

Whether any Defendant properly informed Plaintiff and the Class of their
purposes for collecting, using, storing and disseminating their biometric
identifiers or biometric information;

Whether any Defendant obtained a written release (as defined in 740 TLCS
§ 14/10) to collect, use, store and disseminate Plaintiff's and the Class’s
biometric identifiers or biometric information;

Whether any Defendant has disclosed or re-disclosed Plaintiff's and the
Class’s biometric identifiers or biometric information;

Whether any Defendant has sold, leased, traded, or otherwise profited from
Plaintiff's and the Class’s biometric identifiers or biometric information;

Whether any Defendant developed a written policy, made available to the
public, establishing a retention schedule and guidelines for permanently
destroying biometric identifiers and biometric information when the initial
purpose for collecting or obtaining such identifiers or information has been

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satisfied or within three years of their last interaction with the individual,
whichever occurs first;

G. Whether any Defendant complies with any such written policy (if one
exists);

H. Whether any Defendant used Plaintiffs and the Class’s fingerprints to
identify them;

L Whether any Defendant’s violations of BIPA have raised a material risk that
Plaintiff's biometric data will be unlawfully accessed by third parties;

J. Whether the violations of BIPA were committed negligently; and
K, Whether the violations of BIPA were committed intentionally and/or
recklessly,
59, Plaintiff anticipates that Defendants will raise defenses that are common to the
class.
Adequacy

60. “Plaintiff will fairly and adequately protect the interests of all members of the class,
and there are no known conflicts of interest between Plaintiff and class members. Plaintiff,
moreover, has retained experienced counsel that are competent in the prosecution of complex
litigation and who have extensive experience acting as class counsel.

Typicality

61. The claims asserted by Plaintiff are typical of the class members she secks to
represent. Plaintiff has the same interests and suffers from the same unlawful practices as the class
members.

62. Upon information and belief, there are no other class members who have an interest
individually controlling the prosecution of his or her individual claims, especially in light of the
relatively small value of each claim and the difficulties involved in bringing individual litigation

against one’s employer. However, if any such class member should become known, he or she can

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“opt out” of this action pursuant to 735 ELCS § 5/2-801,
Predominance and Superiority
63. The common questions identified above predominate over any individual issues,
which will relate solely to the quantum of relief due to individual class members. A class action is
superior to other available means for the fair and efficient adjudication of this controversy because
individual joinder of the parties is impracticable. Class action treatment will allow a large number
of similarly-situated persons to prosecute their common claims in a single forum simultaneously,
efficiently and without the unnecessary duplication of effort and expense if these claims were
brought individually, Moreover, as the damages suffered by each class member are relatively small
in the sense pertinent to class action analysis, the expenses and burden of individual litigation
would make it difficult for individual class members to vindicate their claims.
64. Additionally, important public interests will be served by addressing the matter as
a class action. The cost to the court system and the public for the adjudication of individual
litigation and claims would be substantially more than if claims are treated as a class action.
Prosecution of separate actions by individual class members would create a risk of inconsistent
and varying adjudications, establish incompatible standards of conduct for Defendants and/or
substantially impair or impede the ability of class members to protect their interests. The issues in
this action can be decided by means of common, class-wide proof. In addition, if appropriate, the
Court can and is empowered to fashion methods to efficiently manage this action as a class action.
FIRST CAUSE OF ACTION
Violation of 740 ILCS § 14/15(a): Failure to Institute, Maintain and Adhere to Publicly-
Available Retention Schedule

65. Plaintiff incorporates the foregoing allegations as if fully set forth herein.

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66. BIPA mandates that companies in possession of biometric data establish and
maintain a satisfactory biometric data retention — and, importantly, deletion — policy. Specifically,
those companies must: (i) make publicly available a written policy establishing a retention
schedule and guidelines for permanent deletion of biometric data (at most three years after the
company’s last interaction with the individual); and (ii) actually adhere to that retention schedule
and actually delete the biometric information. See 740 ILCS § 14/15(a).

67. Each Defendant fails to comply with these BIPA mandates.

68. Defendant Loews Chicago Hotel Inc., was a Delaware corporation registered to do
business in lilinois during the statutory period and thus qualifies as a “private entity” under BIPA.
See 740 ILCS 14/10.

69. Defendant Loews Corporation, the parent company of Loews Chicago Hotel, Inc.
and Loews COH Operating Company, LLC, is a Delaware corporation registered to do business
in Illinois and thus qualifies as a “private entity” under BIPA, See 740 ILCS 14/10,

70. Defendant Loews COH Operating Company, LLC is a Delaware limited liability
company registered to do business in Illinois and thus qualifies as a “private entity” under BIPA.
See 740 ILCS 14/10,

71. Defendant ADP, LLC is a Delaware limited liability company registered to do
business in Illinois and thus qualifies as a “private entity” under BIPA. See 740 ILCS 14/10.

72. Plaintiff and the Class are individuals who have had their “biometric identifiers”
collected by each Defendant (in the form of their fingerprints), as explained in detail in Sections
IE and MII, supra. See 740 ILCS § 14/10.

73, Plaintiffs and the Class’s biometric identifiers were used to identify them and,

therefore, constitute “biometric information” as defined by BIPA, See 740 ILCS § 14/10,

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74. Hach Defendant failed to provide a publicly available retention schedule or
guidelines for permanently destroying biometric identifiers and biometric information as specified
by BIPA. See 740 ILCS § 14/15(a).

75. Upon information and belief, each Defendant lacks retention schedules and
guidelines for permanently destroying Plaintiff's and the Class’s biometric data and have not and
will not destroy Plaintiffs and the Class’s biometric data when the initial purpose for collecting
or obtaining such data has been satisfied or within three years of the individual’s last interaction
with the company.

76. On behalf of herself and the Class, Plaintiff seeks: (1) declaratory relief; (2)
injunctive and equitable relicf as is necessary to protect the interests of Plaintiff and the Class by
requiring each Defendant to comply with BIPA’s requirements for the collection, storage, and use
of biometric identifiers and biometric information as described herein; (3) statutory damages of
$5,000 for each intentional and/or reckless violation of BIPA pursuant to 740 ILCS 14/20(2) or,
in the alternative, statutory damages of $1,000 for each negligent violation of BIPA pursuant to
740 ILCS 14/20(1); and (4) reasonable attorneys’ fees and costs and other litigation expenses
pursuant to 740 [LCS 14/20(3).

SECOND CAUSE OF ACTION
Violation of 740 ILCS § 14/15(b): Failure to Obtain Informed Written Consent and Release
Before Obtaining Biometric Identifiers or Information

77. Plaintiff incorporates the foregoing allegations as if fully set forth herein.

78. BIPA requires companies to obtain informed written consent from employees
before acquiring their biometric data. Specifically, BIPA makes it unlawful for any private entity
to “collect, capture, purchase, receive through trade, or otherwise obtain a person’s or a customer’s

biometric identifiers or biometric information unless [the entity] first: (1) informs the subject...in

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writing that a biometric identifier or biometric information is being collected or stored; (2) informs
the subject...in writing of the specific purpose and length of term for which a biometric identifier
or biometric information is being collected, stored, and used; and (3) receives a written release
executed by the subject of the biometric identifier or biometric information...” 740 ILCS 14/15(b)
(emphasis added).

79, Each Defendant fails to comply with these BIPA mandates.

80. Defendant Loews Chicago Hotel Inc., was a Delaware corporation registered to do
business in Illinois during the statutory period and thus qualifies as a “private entity” under BIPA.
See 740 ILCS 14/10.

81. Defendant Loews Corporation, the parent company of Loews Chicago Hotel, Inc.
and Loews COH Operating Company, LLC, is a Delaware corporation registered to do business
in Illinois and thus qualifies as a “private entity” under BIPA, See 740 ILCS 14/10,

82. Defendant Loews COH Operating Company, LLC is a Delaware limited liability
company registered to do business in Illinois and thus qualifies as a “private entity” under BIPA.
See 740 ILCS 14/10.

83, Defendant ADP, LLC is a Delaware limited liability company registered to do
business in Illinois and thus qualifies as a “private entity” under BIPA. See 740 ILCS 14/10,

84. Plaintiff and the Class are individuals who have had their “biometric identifiers”
collected by Defendants (in the form of their fingerprints), as explained in detail in Sections II and
I], supra. See 740 ILCS § 14/10.

85. Plaintiff's and the Class’s biometric identifiers were used to identify them and,

therefore, constitute “biometric information” as defined by BIPA. See 740 ILCS § 14/10.

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86, Each Defendant systematically and automatically collected, used, stored and
disseminated Plaintiff's and the Class’s biometric identifiers and/or biometric information without
first obtaining the written release required by 740 ILCS 14/15(b)(3).

87, No Defendant ever informed Plaintiff and the Class in writing that their biometric
identifiers and/or biometric information were being collected, stored, used and disseminated, nor
did any Defendant inform Plaintiff and the Class in writing of the specific purpose(s) and length
of term for which their biometric identifiers and/or biometric information were being collected,
stored, used and disseminated as required by 740 ILCS 14/15(b)(1)-(2),

88.  Bycollecting, storing, using and disseminating Plaintiffs and the Class’s biometric
identifiers and biometric information as described herein, each Defendant violated Plaintiff's and
the Class’s rights to privacy in their biometric identifiers and/or biometric information as set forth
in BIPA. See 740 ILCS 14/1, et seq.

89, On behalf of herself and the Class, Plaintiff seeks: (1) declaratory relief; (2)
injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class by
requiring Defendants to comply with BIPA’s requirements for the collection, storage, use and
dissemination of biometric identifiers and biometric information as described herein; (3) statutory
damages of $5,000 for each intentional and/or reckless violation of BIPA pursuant to 740 ILCS
14/20(2) or, in the alternative, statutory damages of $1,000 for each negligent violation of BIPA
pursuant to 740 ILCS 14/20(1); and (4) reasonable attorneys’ fees and costs and other litigation
expenses pursuant to 740 ILCS 14/20(3)

THIRD CAUSE OF ACTION
Violation of 740 FLCS § 14/15(d): Disclosure of Biometric Identifiers and
Information Before Obtaining Consent

90. Plaintiff incorporates the foregoing allegations as if fully set forth herein.

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91. BIPA prohibits private entities from disclosing a person’s or customer’s biometric
identifier or biometric information without first obtaining consent for that disclosure. See 740
ILCS 14/15(d)(1).

92, Each Defendant fails to comply with this BIPA mandate.

93. Defendant Loews Chicago Hotei Inc., was a Delaware corporation registered to do
business in Illinois during the statutory period and thus qualifies as a “private entity” under BIPA.
See 740 ILCS 14/10.

94. Defendant Loews Corporation, the parent company of Loews Chicago Hotel, Inc.
and Loews COH Operating Company, LLC, is a Delaware corporation registered to do business
in Illinois and thus qualifies as a “private entity” under BIPA, See 740 ILCS 14/10.

95. Defendant Loews COH Operating Company, LLC is a Delaware corporation
registered to do business in Illinois and thus qualifies as a “private entity” under BIPA. See 740
ILCS 14/10.

96, Defendant ADP, LLC is a Delaware limited liability company registered to do
business in Illinois and thus qualifies as a “private entity” under BIPA. See 740 [LCS 14/10.

97. Plaintiff and the Class are individuals who have had their “biometric identifiers”
collected by each Defendant (in the form of their fingerprints), as explained in detail in Sections
Il and II, supra, See 740 ILCS § 14/10.

98. Plaintiffs and the Class’s biometric identifiers were used to identify them and,
therefore, constitute “biometric information” as defined by BIPA. See 740 ILCS § 14/10.

99, Each Defendant systematically and automatically disclosed, redisclosed, or
otherwise disseminated Plaintiff's and the Class’s biometric identifiers and/or biometric

information without first obtaining the consent required by 740 ILCS 14/15(d)(1).

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100. By disclosing, redisclosing, or otherwise disseminating Plaintiffs and the Class’s
biometric identifiers and biometric information as described herein, Defendants violated Plaintiff's
and the Class’s rights to privacy in their biometric identifiers and/or biometric information as set
forth in BIPA. See 740 ILCS 14/1, et seg.

101. On behalf of herself and the Class, Plaintiff seeks: (1) declaratory relief; (2)
injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class by
requiring Defendants to comply with BIPA’s requirements for the collection, storage, use and
dissemination of biometric identifiers and biometric information as described herein; (3) statutory
damages of $5,000 for each intentional and/or reckless violation of BIPA pursuant to 740 ILCS §
14/20(2) or, in the alternative, statutory damages of $1,000 for each negligent violation of BIPA
pursuant to 740 ILCS § 14/20(1); and (4) reasonable attorneys’ fees and costs and other litigation
expenses pursuant to 740 ILCS § 14/20(3).

PRAYER FOR RELIEF
Wherefore, Plaintiff Tekita Bryant respectfully requests that this Court enter an Order:
A. Certifying this case as a class action on behalf of the Class defined above,
appointing Plaintiff Tekita Bryant as Class Representative, and appointing Stephan
Zouras, LLP, as Class Counsel;
B, Deciaring that Defendants’ actions, as set forth above, violate BIPA;
C. Awarding statutory damages of $5,000 for each intentional and/or reckless

violation of BIPA pursuant to 740 ILCS § 14/20(2) or, in the alternative, statutory
damages of $1,000 for each negligent violation of BIPA pursuant to 740 ILCS §

14/20(1);
D, Declaring that Defendants’ actions, as set forth above, were intentional or reckless;
E. Declaring that Defendants’ actions, as set forth above, constitute negligence;
F. Awarding injunctive and other equitable relief as is necessary to protect the

interests of Plaintiff and the Class, including an Order requiring Defendants to

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Date:

collect, store, use, destroy and disseminate biometric identifiers and/or biometric
information in compliance with BIPA;

G. Awarding Plaintiff and the Class their reasonable attorneys’ fees and costs and
other litigation expenses pursuant to 740 ILCS § 14/20(3);

H. Awarding Plaintiff and the Class pre- and post-judgment interest, to the extent

allowable; and,

L Awarding such other and further relief as equity and justice may require.

April 12, 2019

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Respectfully Submitted,

/s/ Haley R. Jenkins
Ryan F, Stephan

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CERTIFICATE OF SERVICE
I, the attorney, hereby certify that on April 12, 2019, I electronically filed the attached with

the Clerk of the Court using the ECF system which will send such filing to all attorneys of record.

/s/ Haley R, Jenkins

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